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RECOVERING, REBUILDING, AND RENEWING:
   THE SPIRIT OF NEW YORK’S SCHOOLS
                     REOPENING GUIDANCE
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                                  Message from Chancellor Betty A. Rosa
                                    When the Board of Regents, the Education Department, and I decided to convene a
                                    Task Force to help create this guidance document, it became immediately clear that we
                                    needed to hear from as many voices as possible. New York is a large and diverse state,
                                    and we knew that our diversity had to be well-represented on the Task Force.

                                    By holding four separate regional meetings, we were able to ensure the work of the
                                    Task Force was done in a thorough and deliberative way. By including stakeholders
                                    with expertise in various substantive areas, we were able to elicit the critical input we
                                    needed to inform the decision-making that went into this guidance document.

                                    We also held a statewide Youth Forum to hear directly from students, because we must
                                    always consider their perspective and listen to their voices. The students did not disap-
                                    point; the Regents and I were absolutely amazed at their mature and thoughtful contri-
                                    butions. They told us what has worked for them and what has not, and they suggested
                                    actions the State can take to improve their educational experience next year and into
                                    the future. As with the adult stakeholders, the students’ input is reflected throughout this
                                    guidance document.

We are truly grateful to all the Task Force and Youth Forum participants for their time and rich contributions. As well, we
would like to thank the staff of the State Education Department for their valuable contributions to this document – with a
special note of appreciation for the extraordinary efforts of Dr. Kimberly Young Wilkins, Deputy Commissioner for P-12
Instructional Support, who oversaw every aspect of the project.

The COVID-19 pandemic has confirmed what many of us have always known: schools are an irreplaceable part of our
lives and our communities. We have come to rely on them to provide essential services that go far beyond traditional aca-
demics. Simply put, schools must function for our society to function.

Everybody wants our students back in school. But it would be reckless to return until it is safe to do so. That is why this
guidance document contemplates three possible reopening scenarios: in-person instruction, remote instruction, and a
combination of the two.

COVID-19 has had a particularly harmful impact on people of color and the poor – in terms of health, in terms of employ-
ment, and in terms of their ability to receive a meaningful education. Many poor students in poor communities simply did
not have access to the internet or the devices they needed to meaningfully participate in remote learning. This kind of un-
equal access to resources occurs throughout the entire education system and only serves to strengthen my resolve, and
the Regents’ resolve, to ensure educational equity for all students.

When you experience a tragedy – and to be sure, we are all living through a profound national tragedy – it is important to
try to take something meaningful from that experience and to build and grow from it. That is what we are hoping to accom-
plish as we work our way through this pandemic.

With the help of our fellow New Yorkers, we will recover, rebuild, and renew the spirit of our schools.




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        Message from Interim Commissioner Shannon Tahoe

On March 16, 2020, Governor Andrew Cuomo issued an Executive Order closing schools
for two weeks due to the COVID-19 crisis, and subsequent Executive Orders closed
schools for the remainder of the school year. These orders triggered fundamental chang-
es to New York’s education system.

Educators and students were forced to shift to remote learning overnight, parents had to
convert their living space into classrooms and become teachers, and students needed to
adjust to a new way of learning. Millions of meals were prepared and delivered, millions of
lessons have been taught virtually, millions of phone calls, texts, zoom calls and millions
of small gestures of dedication and compassion demonstrated the best of who we are as
New Yorkers.

My greatest thanks and admiration must be extended to students, parents, and the entire
education community for adapting and working collaboratively to overcome the unprece-
dented challenges we faced this past school year.

As the mother of three school-aged children, I know just how difficult this time has been, and continues to be, for so many
people, on so many levels. Like countless parents who worked from home while overseeing their children’s schoolwork this
past spring, I now have an even deeper respect for the work New York’s teachers and school leaders do every day to edu-
cate our children.

As we look to the next school year, we must be mindful of the many uncertainties we continue to face. The Board of Re-
gents and I are hopeful that this comprehensive guidance document, which was informed by the four regional task force
meetings and the student forum, will assist the field in developing their reopening plans so that they can be prepared for the
multiple circumstances that may exist over the next school year: whether it be in-person instruction, remote learning or a
blended learning situation. The guidance addresses numerous issues including health and safety; transportation, facilities,
and nutrition; teaching and learning; digital equity and access; budget and fiscal; social-emotional needs; special education;
bilingual education and the needs of multilingual learners and English language learners; and staffing and human resources.

The next school year may be even more challenging, but the educational community is strong and together the Board of
Regents and the Department are committed to do everything we can to support the educators, parents and students of this
State.

I would like to thank the Board of Regents for its leadership throughout this arduous journey. Finally, I must thank the staff
of the Education Department, not only for their exemplary work in putting this guidance document together, but also for their
tireless efforts to ensure instruction and meals continued through the crisis – and for ensuring that the needs of all students,
including English language learners, students with disabilities, homeless students, and migrant students were met. At the
same time, staff also worked to ensure districts and school leaders received much-needed guidance and flexibility during
this unprecedented time. I am forever grateful for your efforts.


The COVID-19 pandemic has pushed and challenged us in ways we never could have imagined. I am overwhelmed by the
compassion and caring I see every day from so many administrators, teachers, school staff, parents and students across the
State. I know in my heart that their strength and their spirit will carry us through these troubling times.




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Executive Summary
The closing of schools in March 2020 has profoundly affected the lives of New Yorkers. This impact will
continue through the 2020-21 school year and beyond. While no one can predict all the challenges that
may arise over the coming weeks and months, it is imperative that we plan for a safe and orderly return
to school.
Without question, our paramount concern is to ensure the health and safety of everyone in our schools,
children and adults alike. At the same time, we must also contend with a myriad of complex challenges
– catching up on months of lost in-person instruction; addressing students’ social and emotional needs
in the wake of this catastrophe; ensuring all students have the ability to participate equitably in remote
learning; planning for the possibility of deep budget cuts; and so many others.
The Board of Regents and Department's task was to create a framework to help guide schools and
school districts as they continue to plan for school to return in the fall, whether instruction takes place
in person, remotely, or through some combination of the two. That framework is presented here, in this
guidance document.
The guidance provides schools and districts with the flexibility they will need to develop and implement
creative solutions to their unique, local circumstances. It describes the reopening actions that schools
must take and those that are recommended best practices to be considered.

Regional Task Force Meetings and Youth Forum
Creating a framework to reopen schools is a monumental undertaking – made even more challenging
by the tremendous size and complexity of New York's education system, the vast array of languages
spoken by students and their families, and the uniquely devastating impact the pandemic has had here
in New York State.
To help guide this work, the Board of Regents convened four regional Task Force meetings, which
were conducted virtually, between June 15 and June 24, 2020. Each regional meeting included more
than 350 experts and stakeholders from health and education fields. In all, more than 1,650 parents,
students, teachers, administrators, school board members, and stakeholders, representing New York's
diversity, attended and provided valuable feedback. The meetings were conducted with the assistance
of the Region 2 Comprehensive Center, led by WestEd; the BOCES District Superintendents; and State
Education Department and BOCES staff. Every member of the Board of Regents attended and partici-
pated in at least one meeting.
Participants heard from Dr. Jack DeHovitz, an expert on infectious diseases, and from Natalie Walrond,
an expert on social-emotional learning and wellness; both stressed the connections between physical
and emotional health, and their importance to student success.


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To ensure that students’ voices are represented in the guidance, on June 23, 2020, the Department
held a virtual Youth Forum that was attended by over 100 students from across the State. The students
spoke about what worked for them and what didn’t during their time of remote learning and proposed
creative solutions to improve their educational experience going forward.

Development of the Guidance Document
At the conclusion of the Task Force and Youth Forum meetings, staff from WestEd synthesized the rich
and thoughtful input provided by participants. That input is reflected throughout this guidance. The doc-
ument also reflects the guidance provided by the Department to the field from early March through the
end of June. Finally, the document reflects the current work and best practice recommendations of our
P12 program offices.
The Board of Regents developed the following principles to guide the work of developing this guidance
document :
   •   The health, safety, and well-being of the children and adults in our schools is paramount.
   •   We will always keep the issue of educational equity at the forefront of our thinking and deci-
       sion-making.
   •   We recognize that one size does not fit all. New York is a large state, in population and size.
       We will always consider the tremendous diversity that exists among our people, our geographic
       regions, and our schools and school districts.
   •   While it is important to provide districts with guidelines and policies, it is important as well to give
       them appropriate leeway to develop creative solutions to their unique challenges.
   •   We will enable and encourage districts to work directly with parents, teachers, administrators,
       and their local communities to develop and deliver workable solutions to their unique needs. We
       will succeed through our collective effort.
   •   We will proceed with the understanding that planning for schools to reopen is not a one-time
       event. We will continuously monitor the situation and provide updated guidance, policies, and
       regulatory changes as the situation requires.
Reflecting all of these inputs and considerations, the guidance document presented herein is stu-
dent-centered, with equity and local flexibility at its core. Additionally, the guidance stresses the need for
regular and frequent communication between districts and parents and the critical importance of paren-
tal involvement and family engagement. Finally, the document reminds schools and districts that they
must always work to create and foster culturally responsive, student-centered learning environments
that affirm racial, linguistic and cultural identities; prepare students for rigor and independent learning;
develop students’ abilities to connect across lines of difference; elevate historically marginalized voices;
and empower students as agents of social change.



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Summary of the Guidance Document’s Provisions
•   Health and Safety
    Focused on preventive actions, schools and districts will be required to perform health checks
    and screenings, per DOH guidance, and recognize signs and symptoms of illness in students and
    staff; develop plans to maximize social distancing; develop plans to manage and isolate ill persons
    until they can be sent home; instruct students and staff in proper hand and respiratory hygiene;
    require wearing appropriate face coverings; and develop cleaning and disinfection procedures for
    the school in accordance with CDC and DOH guidance.
•   Facilities
    Schools and school districts should promote social distancing while maintaining existing safety
    requirements designed to protect students. To accomplish this, schools may expand their physical
    footprint or change the way they utilize space. Schools should also continue to meet or exceed
    ventilation requirements and may wish to consult with design professionals to increase ventilation
    and filtration.
    Schools must continue to conduct mandatory fire and lockdown drills according to the existing stat-
    utory schedule. School leaders will need to plan for these drills to be conducted in a manner that
    maintains social distancing at exits and gathering points outside the building, while still preparing
    students to respond in emergencies.
•   Nutrition
    Schools and school districts should include food service directors in reopening plan discussions
    so they are able to meet their requirements to provide all enrolled students with access to school
    meals each school day whether school is in-person or remote; address all applicable health and
    safety guidelines; ensure compliance with Child Nutrition Program requirements; and communicate
    with families through multiple means, in the languages spoken by those families.
•   Transportation
    The school bus is an extension of the classroom and services should be provided to all students
    with consistency and equity. Each district will be required to: perform regular school bus disinfec-
    tion measures; train students and school bus staff regarding social distancing on the bus, at stops,
    and at unloading times; and train students and staff regarding the wearing of masks. Both students
    and drivers will wear masks and social distance on the bus. Districts will continue to provide trans-
    portation to homeless students, students in foster care, those who attend religious, independent or
    charter schools – and those with disabilities – just as they always have.


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•   Social-Emotional Well-Being
    As school and district personnel adapt to environments that result in substantially less time spent
    interacting in-person, ensuring intentional and meaningful inclusion of social emotional learning
    (SEL) across all aspects of operating strategies is critical to support the well-being and success of
    students, staff, and families. Along with physical health and well-being, schools and districts must
    also prioritize social emotional well-being – not at the expense of academics, but in order to create
    the mental, social, and emotional space for academic learning to occur.
•   School Schedules
    Schools must create a comprehensive plan for a schedule that includes in-person instruction, re-
    mote instruction or a hybrid of both in-person and remote. All plans should be clearly communicat-
    ed, with as much advance notice as practicable, to students, families and staff.
    To adhere to state and local health and safety guidelines and ensure social distancing practices,
    schools may consider various reopening plans and schedules that stagger or alternate their stu-
    dents’ return to campus. Schools should collaborate with district stakeholders when considering
    alternate schedules.
•   Budget and Fiscal
    All schools and school districts must continue to meet existing state aid reporting requirements.
    Additionally, the content of data submissions, such as attendance data, will remain consistent with
    past practice, except where modified by law, regulation or executive order.
•   Attendance and Chronic Absenteeism
    Schools must develop a mechanism to collect and report daily teacher student engagement or at-
    tendance. While this requirement is straightforward in an in-person setting, a procedure should be
    developed to make daily contact with students in remote or hybrid settings. Schools may consider
    for instance, assigning the homeroom teacher or advisory teacher to be the point of contact to touch
    base with a specific group of students daily. Attendance data must be reported in the student infor-
    mation reporting system or SIRS. School policies and procedures must focus on the academic con-
    sequences of lost instructional time and address absences before students fall behind in school. It
    is critical for schools to use a variety of creative methods to reach out to students and their families
    who have not engaged in distance learning.
•   Technology and Connectivity



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    Adequate access to a computing device and high-speed broadband is essential for educational eq-
    uity. Schools and districts must determine the level of access all students and teachers have in their
    places of residence; to the extent practicable, address the need to provide devices and internet
    access to students and teachers who currently do not have sufficient access; and provide multiple
    ways for students to participate in learning and demonstrate their mastery of the learning standards
    in remote and hybrid instructional models.
    Schools and districts should provide instruction on using technology and IT support for students,
    teachers and families and provide professional development for teachers and leaders on designing
    effective online/remote learning experiences.
•   Teaching and Learning
    Mandatory teaching and learning requirements include providing clear opportunities for equitable
    instruction for all students; ensuring continuity of learning regardless of the instructional model
    used; providing standards-based instruction; ensuring substantive daily interaction between teach-
    ers and students; and clearly communicating information about instructional plans with parents and
    guardians.
    To allow for schools and districts to adapt to complications caused by the pandemic, certain flexi-
    bilities will be authorized, including: flexible student/staff ratio in prekindergarten; extended time for
    prekindergarten and kindergarten screening to be completed; a waiver allowing districts to convert
    UPK seats from full-day to half-day (not applicable to Statewide Universal Full Day Pre-K pro-
    grams); flexibility with the 180 minutes per week Unit of Study requirement; flexibility in the delivery
    of physical education; allowance for a blend of hands-on and virtual science laboratory experienc-
    es; and when appropriate, districts and charters may utilize remote or virtual work-based learning
    experiences for CTE and CDOS programs.
•   Special Education
    Schools and school districts are required to provide: a Free Appropriate Public Education consis-
    tent with the need to protect the health and safety of students with disabilities and those providing
    special education and services; meaningful parental engagement regarding the provision of ser-
    vices to their child; collaboration between the Committee on Preschool Special Education/Commit-
    tee on Special Education (CPSE/CSE) and program providers representing the variety of settings
    where students are served; access to the necessary instructional and technological supports to
    meet the unique needs of students; and documentation of programs, services and communications
    with parents.
    Schools and school districts should consider in-person services a priority for high-needs students
    and preschool students with disabilities whenever possible and consider contingency plans devel-
    oped by the CPSE/CSE to address remote learning needs in the event of intermittent or extended

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    school closures.
•   Bilingual Education and World Languages
    Reopening plans must address the learning loss experienced by many English language learners
    (ELLs), in both their English language development and their mastery of content area knowledge.
    The Department has identified the following requirements and considerations that will allow schools
    to provide ELL services that address the impact of last year’s school closures and prepare them for
    potential challenges in the coming year. Schools and districts must:
       •      provide all communications to parents/guardians of ELLs in their preferred language and mode
       of communication to ensure that they have equitable access to critical information about their children’s
       education;

       •       ensure that all ELLs receive appropriate instruction that supports their college, career, and civic
       readiness, by providing them the required instructional Units of Study in their English as a New Language
       or Bilingual Education program based on their most recently measured English language proficiency
       level;

       •      conduct ELL identification for all students who enrolled during COVID-related school closures in
       2019-20, during the summer of 2020, and during the first 20 days of the 2020-21 school year within 30
       days of the start of the school year; and

       •       recognizing that all teachers are teachers of ELLs, provide professional learning opportunities
       related to the instruction and support of ELLs to all educators, as required by Part 154 of the Commis-
       sioner’s regulations.

    Schools and districts should align their policies to the Blueprint for English language learner/Mul-
    tilingual learner (ELL/MLL) Success; adopt progress monitoring tools to measure ELL proficiency;
    provide social-emotional learning supports to ELLs in their home language; continue utilizing tech-
    nology in ELL instruction; support Students with Interrupted/Inconsistent Formal Education (SIFE)
    and other vulnerable populations; ensure the Emergent Multilingual Learners (EMLL) Profile sup-
    ports early learning; and support completion of the NYS Seal of Biliteracy.
•   Staffing and Human Resources
    As schools and school districts create their plans for the 2020-21 school year, they must ensure that all
    teachers, school and district leaders and pupil personnel service professionals hold a valid and appro-
    priate certificate for their assignment; can continue to utilize incidental teaching when determining how
    to staff their classrooms; can employ substitute teachers to address staffingneeds for the allowable
    amount of days given their qualifications and teaching assignment; should work with educator prepara-
    tion programs to identify appropriate ways in which student teachers can support classroom instruction;
    and should consider whether their currently approved APPR plans may need to be revised in order to
    be consistent with their plans for re-opening under an in-person, remote or hybrid instructional model.


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INTRODUCTION
The COVID-19 pandemic has affected all New Yorkers in myriad ways. Individuals, families, and communities
have suffered physically, emotionally, financially, and educationally. But, when New York’s schools were re-
quired to close their buildings in March, instruction and support services continued. School communities have
worked tirelessly with their local health agencies and community-based organizations to ensure that students
and their families continue to receive critical resources, like food and child care.

The 2020-21 school year will be our time to recover, rebuild and renew the spirit of New York’s schools. Work-
                                              ing together, educators, students, parents and communities will
                                              continue to address this challenge with resiliency, tenacity and
                                              grit.

                                                This document is intended to provide guidance to local education-
                                                al agencies (LEAs) as they plan to reopen their schools – whether
                                                instruction occurs in person, remotely, or in some combination of
                                                the two. Specifically, the document outlines the essential ele-
                                                ments that must be included in an LEA’s school reopening plan,
                                                as well as recommended best practices for moving forward in
                                                these unprecedented times.

                                              Please note that where guidance in this document differs from
COVID-19-related guidance previously issued by the NYS Education Department, the more recent guidance
shall apply. Further, should any health and safety-related guidance in this document conflict with guidance
issued by the NYS Department of Health (DOH), the DOH guidance shall apply.

The COVID-19 pandemic has highlighted the need for LEAs to always consider and address the health and
safety needs, as well as the social-emotional needs, of their students, families, and staff. Schools and districts
will need to coordinate with their local health departments and community stakeholders to ensure adherence to
all health and safety protocols, especially if their regional health status changes and they are required to de-
velop contingency plans. Identifying a site/district health/resource monitor can help LEAs to ensure compliance
with State and local health and safety requirements.

New York is a large and diverse state – so, there will be no “one size fits all” model for reopening schools. Each
LEA will have unique challenges and issues to be addressed within its reopening plan. These are unprecedent-
ed times and it is imperative that school leaders and their communities take this opportunity to build upon the
educational opportunities provided to students. This guidance document is intended to help make the return to
school in 2020-21 a safe and successful one for all.



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SUBMISSION OF REOPENING PLANS
As Reopening Plans are developed, LEAs must ensure that the mandatory elements outlined in this guid-
   ance document and in the guidance released by NYS Department of Health (DOH) on July 13, 2020
   are included.

Once finalized, Re-Opening Plans must be posted on the LEA’s public website in a location that is easily
  located by students, parents, teachers, administrators, and other community stakeholders. Re-Opening
  Plans for each school may be posted on individual school websites or centrally on one district-wide
  page. All efforts should be made to make the plans available in the dominant languages spoken by the
  school community.
On or around July 17, 2020 NYSED will issue a survey through the SED Monitoring and Vendor Reporting
System (“the Portal”) to collect essential information about the comprehensive Re-Opening Plans devel-
oped for the 2020-21 school year.1 Specifically, by July 31, 2020 LEAs must complete the survey to provide
NYSED with:
    •   A link to the public website where each school plan has been publicly posted; and
    •   A set of mandatory assurances completed by the Chief Executive Officer affirming that the LEA will
        address, in each re-opening plan, all of the mandatory elements outlined in this guidance document.
Within the Portal survey, assurances related to the mandatory elements will be addressed in the same order
as they appear in this guidance document.
Please note that unlike the previous processes used to collect Continuity of Learning, Child Care, and Child
Nutrition plans, the information submitted through the Portal will not include detailed narratives or descrip-
tions of specific actions to be taken by a school or district as part of their Re-Opening Plan. Instead, those
details must be articulated in the materials that are publicly posted on the school/district website. This ap-
proach will allow schools to develop plans in their preferred format, to rapidly address changes that may be
needed based on local needs, and to update their plan materials on a regular basis throughout the school.
Once LEAs have completed and submitted their survey within the Portal, a confirmation notice indicating
that the completed survey has been received by NYSED will be generated and sent to the Chief Executive
Office. Plans should be implemented with fidelity upon submission and should be considered as approved
unless the LEA is notified that modifications are necessary to ensure compliance with this guidance.
As a final step, by July 31, 2020, LEAs must complete a short companion Department of Health survey.
LEAs are encouraged to provide weblinks to the publicly posted plans within the “Plan Description” portion
of the DOH survey.


1       LEAs not able to submit through the Portal will be required to submit through alternate means developed by NYSED.




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COMMUNICATION/FAMILY AND COMMUNITY ENGAGEMENT
Regular and frequent communication between schools, families, and the wider community has always
been an essential element of effective family and community engagement. With all the uncertainty
surrounding COVID’s spread and its impact on local communities, communication and family engage-
ment will be more important than ever this year. When families, schools, and communities work to-
gether and keep each other informed, students are more successful, and everyone benefits.

As plans for reopening schools are being developed,
districts must work together with families to foster
trust and instill confidence. Building these strong
relationships takes regular, frequent, and transparent
two-way communications. These communications
should be clear and consistent, and families should
be encouraged to engage in the process.

NYS Communication Requirements
On July 13, 2020, New York State, the Reimagine
Education Advisory Council, and the NYS Depart-
ment of Health released finalized guidance and
guiding principles for reopening schools. Pursuant to this guidance, a school, district, or other party
responsible for developing the school’s reopening plan must sign an assurance that its plan includes
provisions to meet the following communication requirements:
•   Responsible Parties must engage with school stakeholders and community members (e.g., ad-
    ministrators, faculty, staff, students, parents/legal guardians of students, local health departments,
    local health care providers, and affiliated organizations, such as unions, alumni, and/or communi-
    ty-based groups) when developing reopening plans. Plans for reopening should identify the groups
    of people involved and engaged throughout the planning process.
•   Responsible Parties must develop a communications plan for students, parents or legal guardians
    of students, staff, and visitors that includes applicable instructions, training, signage, and a consis-
    tent means to provide individuals with information. Responsible Parties may consider developing
    webpages, text and email groups, and/or social media groups or posts.
•   Responsible Parties must ensure all students are taught or trained how to follow new COVID-19
    protocols safely and correctly, including but not limited to hand hygiene, proper face covering
    wearing, social distancing, and respiratory hygiene.



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•   Responsible Parties must encourage all students, faculty, staff, and visitors through verbal and
    written communication (e.g., signage) to adhere to CDC and DOH guidance regarding the use of
    PPE, specifically acceptable face coverings, when a social distance cannot be maintained.”
Additionally, communications must be provided in
the language(s) spoken at home among families and
throughout the school community. Written plans must
be accessible to those with visual and/or hearing im-
pairments.

Additional Considerations for Effective
Communications and Family Engagement
    •   Districts should provide regular updates about
        health and safety, scheduling, and all other
        information families should be aware of. When
        distributing plans and information, schools should
        make clear the ways that families can provide
        feedback.
    •   As suggested by the DOH guidance, schools should present information through a wide array of
        platforms, including, for example, traditional mail, email, telephone calls, texting, social media,
        news media, and website postings. It will be important for schools and districts to develop a hot-line
        and website for parents and families to access the latest information and updates.
    •   All families should have access to technology and there should be supports in place to help operate
        and maintain the equipment.

Additionally, the DOH guidance recommends that responsible parties “should designate a coordinator or
other point(s) of contact to be the main contact upon the identification of positive COVID-19 cases and to
be responsible for subsequent communication. Coordinators should be responsible for answering ques-
tions from students, faculty, staff, and parents or legal guardians of students regarding the COVID-19
public health emergency and plans implemented by the school.”

Resources
  • The Dual-Capacity Framework for Family-School Partnerships - Karen L. Mapp & Eyal Bergman




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HEALTH AND SAFETY
The health and safety of the children and adults in our schools is paramount. Health and safety con-
siderations must always come first in every decision made and every action taken by our schools and
districts.
Whether instruction is provided in-person, remotely, or through some combination of the two, schools
have an important role to play in educating and communicating with school communities about the
everyday preventive actions they can take to prevent the spread of COVID-19. Prevention is accom-
plished by following the recommendations of health authorities in the following areas:
   • Health Checks;
   • Healthy Hygiene Practices;
   • Social Distancing;
   • Personal Protective Equipment (PPE) and Cloth Face Coverings;
   • Management of Ill Persons; and
   • Cleaning and Disinfection.
In each of these categories, schools should note those recommendations that are essential as they
represent the minimum standards. Additional considerations are based on best practice or recommen-
dations from the Centers for Disease Control and Prevention (CDC) and the New York State Depart-
ment of Health (NYSDOH) and should also be reviewed and included as feasible in reopening plans.
Schools and districts must continually monitor the CDC and DOH websites to keep current with the
latest COVID information and guidance.


Reopening Plan Mandatory Requirements
   5 Districts/schools must review and consider the number of students and staff allowed to return in
     person. These factors should be considered when determining resumption of in person instruc-
     tion:
         5 Ability to maintain appropriate social distance
         5 PPE and cloth face mask availability
         5 Availability of safe transportation
         5 Local hospital capacity – consult your local department of health.
   5 Districts/schools must engage with school stakeholders and community members (e.g., admin-
     istrators, faculty, staff, students, parents/legal guardians of students, local health departments,
     local health care providers, and affiliated organizations, such as unions, alumni, and/or com-
     munity-based groups) when developing health and safety reopening plans. District/school plan
     should identify the groups of people involved and engaged throughout the planning process.
   5 District/school plan must include a communications plan for students, parents/guardians, staff, and


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   visitors that includes applicable instructions, training, signage, and a consistent means to provide
   individuals with information.
5 District/school plan has a written protocol developed in collaboration with the district or school’s
  director of school health services to instruct staff to observe for signs of illness in students and
  staff and requires symptomatic persons to be sent to the school nurse or other designated per-
  sonnel.
5 District/school plan has a written protocol for daily temperature screenings of all students and
  staff, along with a daily screening questionnaire for faculty and staff and periodic use of the
  questionnaire for students.

5 District/school plan requires that ill students and staff be assessed by the school nurse (regis-
  tered professional nurse, RN) or medical director and that if a school nurse or medical director
  is not available, ill students and staff will be sent home for follow up with a healthcare provider.

5 District/school plan has written protocol requiring students or staff with a temperature, signs of
  illness, and/or a positive response to the questionnaire to be sent directly to a dedicated isola-
  tion area where students are supervised, prior to being picked up or otherwise sent home.

5 District/school plan has written protocol to address visitors, guests, contractors, and vendors to
  the school which includes health screening.

5 District/school plan has a written protocol to instruct parents/guardians to observe for signs of
  illness in their child that require staying home from school.

5 District/school plan has written protocol and appropriate signage to instruct staff and students
  in correct hand and respiratory hygiene.

5 District/school plan has written protocol to ensure all persons in school buildings keep social
  distance of at least 6 feet whenever possible.

5 District/school plan has written protocol detailing how the district/school will provide accommo-
  dations to all students and staff who are at high risk or live with a person at high risk.

5 District/school plan has written protocol requiring all employees, adult visitors, and students to
  wear a cloth face covering whenever social distancing cannot be maintained.

5 District/school plan has written protocol regarding students taking mask breaks.

5 District/school has plan for obtaining and maintaining adequate supplies of cloth face coverings
  for school staff, students who forget their masks, and PPE for use by school health profession-
  als.


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  5 District/school plan has written protocol for actions to be taken if there is a confirmed case of
    COVID-19 in the school.

  5 District/school plan has written protocol that complies with CDC guidance for the return to school
    of students and staff following illness or diagnosis of confirmed case of COVID-19 or following
    quarantine due to contact with a confirmed case of COVID-19. Return to school will be coordinat-
    ed with the local health department.

  5 District/school plan has written protocol to clean and disinfect schools following CDC guidance.

  5 District/school plan has written protocol to conduct required school safety drills with modifications
    ensuring social distancing between persons.

  5 District/school has written plan for district/school run before and aftercare programs.
  5 District/school must designate a COVID-19 safety coordinator (administrator) whose responsibili-
    ties include continuous compliance with all aspects of the school’s reopening plan, as well as any
    phased-in reopening activities necessary to allow for operational issues to be resolved before activi-
    ties return to normal or “new normal” levels.


Considerations for Reopening
  •   District/school has designated a COVID-19 resource person(s) to assist each school building and
      the community.
  •   District/School plan should be translated into any additional languages spoken in the school
      community.
  •   District/school should consider limiting the number of visitors on school grounds or in school
      facilities.
  •   District/school plan should include steps that will be taken to instruct parents/guardians in
      screening students at home for signs of illness by multiple means which may include written
      communication, short videos and parent forums.
  •   District/school plans which rely on parent/guardian screening before school should take into ac-
      count the parent/guardian’s ability to access internet or complete a written check list accessible
      in the language spoken by the family.
  •   Alternatively, district/school plan should include written protocols to screen students before enter-
      ing school. Such protocols should meet CDC requirements for PPE and social distancing, have
      sufficient supplies to conduct screenings, along with ensuring waiting students are supervised.
  •   District/school plan encourages students to wear a cloth face covering at all times, unless other-
      wise inadvisable.
  •   District/school plan includes a requirement that school health personnel wear PPE when assess-


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        ing ill persons or conducting certain respiratory treatments.
    •   District/school plan will designate 2 rooms if available for school health service personnel. One
        room will be for healthy students to obtain medications and nursing treatments. The second
        room will be for isolating ill persons.
    •   District/school will use disposable equipment and supplies in the health office as much as prac-
        ticable.
    •   District/school plan includes providing PPE to custodial and other personnel cleaning and en-
        gaging in disinfection at the school if required by the manufacturer of the agent being used.
    •   District/school plan includes a daily checklist for school personnel to inspect their area and
        ensure they have sufficient supplies each day (e.g., face covering, tissues, hand hygiene sup-
        plies, cleaning supplies, etc.)
    •   It is recommended that all districts/schools designate a staff member to be the COVID-19 re-
        source person. Considerations include:

           o Resource person has a health background such as the school nurse or the district or
             schools’s director of school health services (a.k.a. medical director). If such person is not
             available, school administrator(s) familiar with the district plan may act as the resource
             person
           o Be the main contact upon the identification of positive COVID-19 cases and to be re-
             sponsible for subsequent communication
           o Information on how to contact the resource person should be readily available to the
             entire school community
           o Schools are strongly encouraged to include the resource person, the medical director if
             not the resource person, and other school health professionals in their reopening plan
             development

    •   Policies regarding district/school run before and aftercare programs, should consider social
        distancing, PPE usage, cleaning and disinfection requirements, as well as risk of COVID-19 trans-
        mission. Policies should consider how to maintain cohorts, if applicable, or group members of the
        same household.


Health Checks
Parents/guardians and staff members must be provided resources to educate them regarding the
careful observation of symptoms of COVID-19 and health screening that must be conducted each
morning before coming to school. Parents/guardians and school staff must be instructed that any stu-
dent or staff member with a fever of 100°F1 or greater and/or symptoms of possible COVID-19 virus
1       Centers for Disease Control and Prevention, Stay Home When You Are Sick. https://www.cdc.gov/flu/business/stay-home-


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infection should not be present in school. The Centers for Disease Control and Prevention (CDC)
keep an up to date list of symptoms of Coronavirus on its website. This list is not all inclusive as some
individuals may display other symptoms or none at all. As of 7/13/2020, the following are listed as the
most common symptoms of COVID-19:

                 •   Fever or chills (100°F or greater);

                 •   Cough;

                 •   Shortness of breath or difficulty breathing;

                 •   Fatigue;

                 •   Muscle or body aches;

                 •   Headache;

                 •   New loss of taste or smell;

                 •   Sore throat;

                 •   Congestion or runny nose;

                 •   Nausea or vomiting; and/or
                 •   Diarrhea.
It is strongly recommended that all staff are educated to observe students or other staff members for
signs of any type of illness such as:
                 •   Flushed cheeks;
                 •   Rapid or difficulty breathing (without recent physical activity);
                 •   Fatigue, and/or irritability; and
                 •   Frequent use of the bathroom.
Students and staff exhibiting these signs with no other explanation for them should be sent to the
school health office for an assessment by the school nurse. If a school nurse is not available, the
school should contact the parent/guardian to come pick up their ill child or send the staff member
home. Health screenings including daily temperature checks and completion of a screening ques-
tionnaire are required for staff, contractors, vendors, and visitors. Students are required to have a
daily temperature check and periodic completion of a screening questionnaire. Anyone who has a
temperature of 100°F or greater or has a positive response on the screening questionnaire must be

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isolated from others and sent home immediately. Students should be supervised in the isolated area
while awaiting transport home. Schools should refer such persons to a healthcare provider and provide
resources on COVID-19 testing.

Students and staff are required to notify the school when they develop symptoms or if their answers
to the questionnaire change during or outside school hours. Schools are advised to set up a means to
collect this information such as a dedicated email or telephone line.

Schools should encourage staff to complete required screenings prior to arrival at school and encour-
age parents/guardians to screen their child before sending them to school. Screening by the parent/
guardian prior to school is preferred in lieu of temperature checks and symptom screening being per-
formed after arrival to school. Screening of students includes a daily temperature check and periodic
completion of a screening questionnaire.

A screening questionnaire determines whether the individual has:
    ● knowingly been in close or proximate contact in the past 14 days with anyone who has tested 		
      positive through a diagnostic test for COVID-19 or who has or had symptoms of COVID-19;
    ● tested positive through a diagnostic test for COVID-19 in the past 14 days;
    ● has experienced any symptoms of COVID-19, including a temperature of greater than 100.0°F in
      the past 14 days: and/or
    ● has traveled internationally or from a state with widespread community transmission of 			
      COVID-19 per the New York State Travel Advisory in the past 14 days.
Per NYSDOH, schools are prohibited from keeping records of student, faculty, staff, and visitor health data
(e.g., the specific temperature data of an individual), but are permitted to maintain records that confirm
individuals were screened and the result of such screening (e.g., pass/fail, cleared/not cleared).

Schools should consider providing staff and parents/guardians periodic reminders of the requirement.
This may be accomplished by:

    •   Providing weekly or daily reminders - such as an automated telephone message, email, or text;
        and

    •   Weekly written notices to homes in the parent/guardian’s native language where it is known that
        families cannot access the information through the other methods.

Schools may collect screening information from staff and parents/guardian using:


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    •    Texting apps;

    •    Phone systems;

    •    Online reporting; and/or

    •    Paper checklists.

Schools should have a designated staff person (administrative assistant, attendance person, or school
nurse - only if they can handle this additional duty with other job duties) to review the incoming reports
of screening by staff and parent/guardians and attesting that they are completed. This person may
also be the contact for staff or students to inform if they later experience COVID-19 symptoms.

Procedures which require the parent/guardian to report the results of such screening rely on the
parent/guardian to complete the report. If the parent/guardian symptom screen evaluation is done at
home the school must:

     •   Ensure all students are treated equally; and

     •   Ensure students whose parent/guardian did not complete the screening are not singled out.

Remember, it may not be possible for some families to conduct screenings at home for the following
reasons:

     •   The family may not have access to use of an online system or phone app;

     •   The information may not be in their primary language;

     •   The home environment may not be conducive to this process each morning; and/or

     •   The family may not remember to complete the screening.

Schools must take steps to ensure that any process has multiple avenues of completion and is not
used as a basis to exclude students from school. Students who may require screening to be com-
pleted at school must be treated in a confidential manner and must have the screening completed as
quickly as possible to minimize time away from class.




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Screenings

Temperature
In some cases, it will not be practical for temperature checks to be performed prior to students arriving
at school.2 Therefore schools will need to develop plans for checking temperatures of students whose
parent/guardian did not perform the screening. Schools should also implement screenings for un-
scheduled visitors.
Schools conducting temperature screenings should have:
   ●    Staff members to supervise students who are waiting their turn. While waiting, students must 		
        be socially distanced;
   ●    Trained staff members to perform temperature screenings;
   ●    Sufficient supplies for taking temperatures such as disposable thermometer probes; and
   ●    PPE or barriers for staff members conducting the screening. Depending on the availability of 		
        trained staff and supplies, the following methods are recommended by the CDC3 for conducting
        temperature screenings4.

Reliance on Social Distancing
    •   Ask parents/guardians to take their child’s temperature either before coming to the facility or
        upon arrival at the facility. Upon their arrival, stand at least 6 feet away from the parent/guard-
        ian and child.

    •   Ask the parent/guardian to confirm that the child does not have fever, shortness of breath or
        cough.
    •   Make a visual inspection of the child for signs of illness which could include flushed cheeks, rapid
        breathing or difficulty breathing (without recent physical activity), fatigue, or extreme fussiness.

2         American Academy of Pediatrics, COVID-19 Planning Considerations: Guidance for School Re-entry. https://services.aap.org/
en/pages/2019-novel-coronavirus-covid-19-infections/clinical-guidance/covid-19-planning-considerations-return-to-in-person-education-
in-schools/. Accessed 6/30/2020.
3         Centers for Disease Control and Prevention, Guidance for Childcare Programs that Remain Open. Updated April 21, 2020.
https://www.cdc.gov/coronavirus/2019-ncov/community/schools-childcare/guidance-for-childcare.html#ScreenChildren. Accessed
6/30/2020.

4         Centers for Disease Control and Prevention, Guidance for Childcare Programs that Remain Open. Updated April 21, 2020.
https://www.cdc.gov/coronavirus/2019-ncov/community/schools-childcare/guidance-for-childcare.html#ScreenChildren. Accessed
6/30/2020.



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Use of Barriers/Partition Controls for conducting temperature screenings:
   • Stand behind a physical barrier, such as a glass or plastic window or partition that can serve to
       protect the staff member’s face and mucous membranes from respiratory droplets that may be
       produced if the child being screened sneezes, coughs, or talks;
    • Perform hand hygiene;
    • Wash your hands with soap and water for 20 seconds. If soap and water are not available, use
      a hand sanitizer with at least 60% alcohol;
    • Put on disposable gloves;
    • Check the child’s temperature, reaching around the partition or through the window;
    • Make sure your face stays behind the barrier at all times during the screening;
    • If performing a temperature check on multiple individuals, ensure that you use a clean pair of 		
      gloves for each child and clean the thermometer thoroughly between each check;
    • If disposable or non-contact (temporal or infrared) thermometers are used and there was no 		
      physical contact with the child, you do not need to change gloves before the next check; and
    • If non-contact thermometers are used, clean them with an alcohol wipe (or isopropyl alcohol on
      a cotton swab) between each student. You can reuse the same wipe if it remains wet.

Use of Personal Protective Equipment when Barriers/Partition Controls are not available
 If social distancing or barrier/partition controls cannot be implemented during screening, personal
 protective equipment (PPE) can be used when within 6 feet of a child. However, reliance on PPE
 alone is a less effective control and more difficult to implement, given PPE shortages and training
 requirements.

    •   Upon arrival, wash your hands and put on a facemask, eye protection (goggles or disposable
        face shield that fully covers the front and sides of the face), and a single pair of disposable
        gloves. A gown could be considered if extensive contact with a child is occurring;

    •   Take the child’s temperature;

    •   If performing a temperature check on multiple individuals, ensure that you use a clean pair of
        gloves for each child and clean the thermometer thoroughly between each check;

    •   If disposable or non-contact (temporal or infrared) thermometers are used and there was no
        physical contact with an individual, you do not need to change gloves before the next check.


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    •   If you use non-contact thermometers, clean them with an alcohol wipe (or isopropyl alcohol on
        a cotton swab) between each client. You can reuse the same wipe if it remains wet;

    •   After each screening, remove and discard gloves; and
    •    Use an alcohol-based hand sanitizer that contains at least 60% alcohol or wash hands with
        soap and water for at least 20 seconds.


Healthy Hygiene Practices
Healthy hygiene practices should be taught and re-taught in school settings for both students and
staff. Schools are strongly encouraged to provide instruction to the school community in hand and re-
spiratory hygiene, along with providing adequate supplies and time to allow for frequent hand hygiene.
Additionally, schools must post signs throughout the school and should regularly share messages with
the school community. Signage should be used to remind individuals to:
           •    Stay home if they feel sick.
           •    Cover their nose and mouth with an acceptable face covering when
                unable to maintain social distance from others or in accordance with any
                stricter policy implemented by the school.
           •    Properly store and, when necessary, discard PPE.
           •    Adhere to social distancing instructions.
           •    Report symptoms of, or exposure to, COVID-19.
           •    Follow hand hygiene, and cleaning and disinfection guidelines.
           •    Follow respiratory hygiene and cough etiquette.
Teaching healthy hygiene practices can be accomplished in person, by videos, announcements, and
posters or signs. Schools must post signage in highly visible areas such as:
           ● Entrances
           ● Restrooms
           ● Cafeteria or other dining areas
           ● Classrooms
           ● Administrative offices


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           ● Auditorium
           ● Janitorial staff areas
The CDC provides sample announcements on reducing the spread of COVID-19, videos about be-
haviors that prevent the spread of COVID-19, and print and digital resources on CDC’s communica-
tions resources main page, along with the NYSDOH COVID-19 signage.


Hand Hygiene
Students and staff must practice good hand hygiene to help reduce the spread of COVID-19. Schools
should plan time in the school day schedule to allow for hand hygiene. Hand hygiene includes:
   •   Traditional hand washing (with soap and warm water, lathering for a minimum of 20 seconds),
       which is the preferred method;

   •   Use of alcohol-based hand sanitizers (60% alcohol or greater) when soap and water are not
       available, and hands are not visibly dirty. NYSED’s Memo: Handwashing Recommendations
       and Alcohol-based Hand Sanitizer Use in Schools provides information to schools regarding
       the use of alcohol-based hand sanitizers;

   •   Provide hand sanitizer throughout common areas (e.g. entrances, cafeteria), near high touch
       surfaces, and use touch free dispensers when able;

   •   Signage should be placed near hand sanitizer indicating visibly soiled hands should be washed
       with soap and water; and

   •   Some students or staff may be unable to use alcohol-based hand sanitizers for health reasons
       therefore they must be permitted to wash their hands with soap and water.
As noted in prior NYSED memos, hand sanitizers contain alcohol and are flammable. Alcohol-based
hand sanitizer dispensers are permitted to be installed in rooms and corridors in limited quantities in
accordance with FCNYS 2020 Section 5705.5.

The CDC guidance on when and how to wash your hands provides information on when handwashing
should occur, how to wash hands correctly, and how to correctly use alcohol-based hand sanitizers.
Schools should provide the following:
   •   Adequate facilities and supplies for hand washing including soap and water;
   •   Paper towels or touch free paper towel dispensers where feasible (hand dryers are not recom-


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       mended as they can aerosolize germs);
   •   No-touch/foot pedal trash can;
   •   Alcohol based hand sanitizers with at least 60% alcohol or disinfectant hand wipes;
   •   Time in the schedule to allow for frequent hand washing; and
   •   Promotion of proper hand washing before meals, after recess or physical education, before and
       after removing PPE, and other times, as appropriate.
Portable sinks may be an option for schools to increase access to soap and water. At a minimum,
students and staff should wash hands, as follows:
   •   Upon entering the building and each classroom;
   •   After using shared objects or surfaces (e.g. electronic devices, musical instruments, writing
       utensils, tools, toys, desks or table tops);
   •   Before and after snacks and lunch;
   •   After using the bathroom;
   •   After helping a student with toileting;
   •   After sneezing, wiping or blowing nose, or coughing into hands;
   •   Upon coming in from outdoors; and
   •   Anytime hands are visibly soiled.



Respiratory Hygiene
Processes and procedures for respiratory hygiene must be included in reopening plans.
The COVID-19 virus spreads from person to person in droplets produced by coughs and sneez-
es. Therefore, it is important that students and staff cover their mouths or noses with a tissue when
coughing or sneezing and dispose of the tissue appropriately.
A supply of tissues and no touch/floor pedal trash cans should be available in each room when feasi-
ble. If no tissue is available, using the inside of the elbow (or shirtsleeve) to cover the mouth or nose
is preferable to using the hands. Always perform hand hygiene after sneezing, coughing and handling
dirty tissues or other soiled material.


Social Distancing
Social Distancing also called “physical distancing” means keeping a six foot space between yourself
and others. Schools are to develop, implement, and enforce social distancing in all school facilities
and on school grounds, including transportation.
Ensure that student groupings are as static as possible by having the same group/cohort of students

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stay together. Additionally,
•   It is recommended that the size of groups/cohorts of students be determined by the number of
    students who can be in each classroom while maintaining 6 feet social distancing.
•   Stagger arrival and/or dismissal times to allow increased social distancing on buses as well as in
    classrooms. Consider dividing up student entry points rather than funneling all students through
    the same entry space, to limit the amount of close contact between students in high-traffic situa-
    tions and times.
•   Schools should follow all safety requirements when considering the use of other entrances and
    ensure that all entrances are monitored and are locked after use.
•   Making arrival schedule changes for students who walk or are dropped off at school by a parent or
    caregiver is another possibility;
•   Establish designated areas for student drop-off and pick-up, limiting contact and entry of parents/
    guardians into the building, to the greatest extent possible.
•   Reduce in-school movement where possible by keeping students within a defined area or class-
    room and modifying class schedules or class transitions using these recommendations:
            o If possible, have the same cohort of students with the same teacher each day
            o Special area teachers (e.g., music, art, physical education) may go to individual class-
               rooms versus rotating all students through a shared space that is not able to be cleaned
               with each new use. Whenever possible, hold physical education and music classes
               outside and encourage students to spread out
            o Stagger the use of restrooms, allowing use at other times when necessary. Bathrooms
               may be monitored by staff to ensure social distancing, that it is clean, and students are
               washing hands after use.
•   Turn desks (including teachers) to face in the same direction rather than facing each other to re-
    duce transmission caused by virus-containing droplets (e.g., from talking, coughing, sneezing);
•   Open windows to improve ventilation. Do not open windows if there is a health or safety risk (e.g.,
    allergies, or potential fall);
•   Keep individual student belongings separated. Limit use of shared supplies to one group of stu-
    dents, clean between use by cohorts of students;
•   Consider using visual aids (e.g., painter’s tape, stickers, posters, cones etc.) to illustrate traffic flow
    and appropriate spacing to support social distancing;
•   Explore the use of alternate spaces (e.g., classroom) for eating lunch and breakfast. If alternate
    spaces are not available, ensure classroom groups are together in lunchrooms while adhering to
    the social distancing rules;



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•   Restrict the use of classrooms and other places where students, faculty, and staff gather (e.g.,
    lockers, cubbies, entryways, hallways), so that individuals can be socially distanced. Assign lockers or
    other student storage areas by cohort or eliminate their use – however, students should not carry an
    unreasonable number of books or materials throughout the day;
•   Limit gathering in small spaces (e.g., elevators, faculty offices) by more than one individual at a time,
    unless all individuals in such space are wearing acceptable face coverings;
•   Playgrounds may continue to be used when proper safeguards are in place. In elementary school
    settings, consider staggering playground use rather than allowing multiple classes to play togeth-
    er. Limit other activities where multiple groups interact. Wash hands before and after touching play
    structures and keep 6 feet of space from other children as much as possible. When possible, build in
    visual cues that demonstrate physical spacing;

•   Ensure that a distance of twelve feet in all directions is maintained between individuals while partic-
    ipating in activities requires projecting the voice (e.g., singing), playing a wind instrument, or aerobic
    activity.
•   Cancel/limit student assemblies, athletic events/practices, performances, school-wide parent meet-
    ings. Consider transitioning field trips to free virtual opportunities. Consider changing in-school
    events to a virtual format; and
•   Limit visitors to school buildings. Consider using online meetings with parents and other persons
    when feasible.
The Kentucky Department of Education (KDE) has released a classroom capacity calculator to assist
schools. The link to this calculator is https://education.ky.gov/comm/Documents/RoomCapacityCalculator.
xlsx.



Medically Vulnerable/High-Risk Groups
The following groups are at increased risk for complications from COVID-19 and may need added or
alternative provisions for social distancing. Students who have family members who are in high risk
groups may also need to attend school remotely. Schools will need to make accommodations and be
able to accommodate the needs of these students in the school community.
Persons in these groups should consult with their healthcare provider regarding prevention:

•   Individuals age 65 or older;

•   Pregnant individuals;

•   Individuals with underlying health conditions including, but not limited to:
    o chronic lung disease or moderate to severe asthma


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   o   serious heart conditions
   o   immunocompromised
   o   severe obesity (body mass index [BMI] of 30 or higher)
   o   diabetes
   o   chronic kidney disease undergoing dialysis
   o   liver disease
   o   sickle cell anemia
   o   children who are medically complex, who have neurologic, genetic, metabolic conditions, or
       who have congenital heart disease are at higher risk for severe illness from COVID-19 than
       other children.

Students with special needs or students who are medically fragile may not be able to maintain social
distancing, hand or respiratory hygiene, or wear a face covering or mask. It is important for parents/
guardians to work with their child’s healthcare providers so that an informed decision can be made
on how best to meet the child’s needs at school while protecting their health and safety. Transitioning
these students back to school requires:
  •  Planning and coordination of:
         o school health services personnel
         o special education personnel
         o pupil personnel services and
         o administration.
   • Being aware that such families are already under significant stress and COVID-19 has made
      their situations more critical.
Alternate plans created in consultation with school health personnel on how to meet the needs of the
child while keeping social distancing may include:
   • Additional PPE for staff caring for such students;
   • Assigning only one staff member to care for the student; and/or
   • Decreased students in a classroom, alternating schedules, and provision of related services to
     an individual instead of group setting.

Finally, if the parents/guardians choose not to send their child back to school, schools will need to pro-
vide instruction remotely. Please see the section on Special Education for more details.


Personal Protective Equipment (PPE)
Schools should review the OSHA COVID-19 guidance for information on how to protect staff from
potential exposures, according to their exposure risk pursuant to their Exposure Control Plan . The
OSHA guidance also sets forth when PPE is needed by staff pursuant to the OSHA standards.


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The CDC recommends that school-based health personnel use Healthcare Facilities: Managing Oper-
ations During COVID19 Pandemic Updated June 29, 2020 guidance when providing care to ill persons
as part of infection control protocols:
   •   Licensed healthcare professionals must utilize standard precautions at all times;
   •   Transmission- based precautions should be used when assessing persons suspected of having
       COVID-19;
   •   Schools should ensure they have adequate supplies of PPE for use by school health profession-
       als to assess and care for ill students and staff members;
   •   Such PPE includes, but is not limited to:
           o face masks (disposable surgical masks)
           o respirators (N95) masks that are fit tested
           o eye protection or face shields
           o gloves
           o disposable gowns.
 For optimal protection, when worn, the face shield must be used with a face mask and:
   •   Extend below the chin anteriorly;
   •   To the ears laterally;
   •   There should be no exposed gap between the forehead and the shield’s headpiece;
   •   Only be worn one person per shield;

   •   Be cleaned between use; and

   •   The wearer should wash their hands after removing the shield and before putting it on.

Obtaining PPE may be difficult due to high demand. To assist schools in meeting these requirements
they are encouraged to consult their BOCES or County or City Emergency Manager and use a tool to
calculate how much PPE is needed. One available tool was developed by the Massachusetts Depart-
ment of Education.




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                              DISPOSABLE MASKS
        Initial recommended quantities per 100 individuals per group per school

                 Quan-         12-week  12-week 12-week
                tity per      Supply at Supply at Supply at
Group                                                                            Assumptions
                100 per       100% At-   50% At-   25% At-
                 group        tendance tendance tendance
                                                                           1 disposable mask per
Students          100                                                      week per student (to
                 masks          1,200            600            300        supplement the cloth
                per week                                                   masks provided by par-
                                                                           ent/guardian).
Teachers                                                                   5 disposable masks per
and other          500          6,000           3,000          1,500       week per teacher.
staff
School                                                                     10 disposable masks
nurses and                                                                 per week per school
                  1,000         12,000          6,000          3,000
health pro-                                                                nurse.
viders




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 MATERIALS FOR STAFF MEMBERS WILL WHO MAY BE IN HIGH-INTENSITY CONTACT WITH
                       STUDENTS OR HANDLING WASTE MATERIALS
Initial recommended quantities calculated per 1 staff (e.g. nurses, custodians, and some special edu-
                                   cation teachers and other staff)



                                                 1-week
                                                 Supply          12-week
                      Item                                                             Assumptions
                                                  for 1           Supply
                                                  Staff
                                                                                10 pairs disposable nitrile
       Disposable Nitrile Gloves                    10              120         gloves per week, per
                                                                                staff.
                                                                                10 disposable gowns per
       Disposable Gowns                             10              120
                                                                                week, per staff.
                                                                                2 re-usable eye protec-
       Eye Protection                                2              n/a
                                                                                tion per staff total.
                                                                                2 reusable face shields
       Face Shields                                  2              n/a
                                                                                per staff total.
       Waste Disposal Medium                         1              n/a         1 unit per staff total.
       N-95 Ventilating Masks*
       Note: N-95 masks are recom-
       mended only if staff will be                                             10 N-95 masks per week,
       in contact with a suspected                  10              120
                                                                                per staff.
       COVID-19 positive case and/or
       performing aerosol-generating
       procedures

PPE is recommended when performing aerosolized treatments, assessing and caring for a person
who is suspected of having COVID-19. Health care professionals should review the CDC guidance
on the correct use of PPE. Face shields worn without other face coverings are not considered adequate
protection against COVID-19 and should not be used alone.




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Aerosol Generating Procedures
Respiratory treatments administered by nurses generally result in aerosolization of respiratory secre-
tions. These aerosol generating procedures (AGPs) potentially put healthcare personnel and others at
an increased risk for pathogen exposure and infection. The CDC recommends PPE use when adminis-
tering AGPs. PPE consists of:
    ● Gloves;
    ● N95 or surgical facemask;
    ● In lieu of N95 - a surgical mask with face shield;
    ● Eye protection; and
    ● A gown (if necessary).
PPE should be used when:
    ● Suctioning;
    ● Administering nebulizer treatments; or
    ● Using peak flow meters with students who have respiratory conditions.
Treatments such as nebulized medication treatments and oral or tracheostomy suctioning should be
conducted in a room separate from others with nursing personnel wearing appropriate PPE. For neb-
ulizer treatments, if developmentally appropriate, the nurse could leave the room and return when the
nebulizer treatment is finished. Due to limited availability of data, it is uncertain whether aerosols gener-
ated by nebulizer treatments are potentially infectious.5 Cleaning of the room should occur between use
and cleaning of the equipment should be done following manufacturer’s instructions after each use. The
CDC recommends6 during the COVID-19 pandemic that respiratory medications utilizing metered dose
inhalers (MDI) with a spacer or valved holding chamber be used over nebulizer treatments whenever
possible. Based on limited data, use of MDIs (with or without spacers or valved holding chambers) is
not considered an aerosol-generating procedure. Nebulizer treatments at school should be reserved for
children who cannot use an MDI (with or without spacer or valved holding chamber). Use of peak flow
meters, including in the school setting, includes forceful exhalation. Based on limited available data,
forceful exhalation is not considered an aerosol-generating procedure associated with increased risk of
transmitting the virus that causes COVID-19. However, for some people with asthma, using a peak flow
5        Centers for Disease Control and Prevention- Healthcare Infection Prevention and Control FAQs for COVID-19 https://www.cdc.
gov/coronavirus/2019-ncov/hcp/infection-control-faq.html. Accessed 6/20/2020.

6        Centers for Disease Control and Prevention- K-12 Schools and Child Care Programs FAQs for Administrators, Teachers, and
Parents.https://www.cdc.gov/coronavirus/2019-ncov/community/schools-childcare/schools-faq.html. Accessed 6/30/2020.



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meter can trigger coughing.


Cloth Face Coverings
Cloth face coverings are meant to protect other people in case the wearer is unknowingly infected but
does not have symptoms. Cloth face coverings are not surgical masks, respirators, or other medical
personal protective equipment. All individuals in school facilities and on school grounds must be pre-
pared to put on a face covering if another person unexpectedly cannot socially distance. All students
and staff members must wear cloth face coverings:
   •   Whenever they are within 6 feet of someone;
   •   In hallways;
   •   In restrooms; and
   •   In other congregate settings, including buses.
Schools must provide acceptable face covering to employees (and students if they forget their own) and
have an adequate supply in case of need for replacement per Executive Order 202.16. Schools should
allow an employee to wear their own acceptable face covering but may not require they supply their
own face coverings. Employees with healthcare provider documentation stating they are not medically
able to tolerate face covering cannot be required to do so.

Face coverings may be challenging for students (especially younger students) to wear in all-day set-
tings such as school, so scheduling mask breaks is important. Face coverings should not be placed on:

   •   Children younger than 2 years old;

   •   Students where such covering would impair their health or mental health, or where such covering
       would present a challenge, distraction, or obstruction to education services and instruction;

   •   Anyone who has trouble breathing or is unconscious; or

   •   Anyone who is incapacitated or otherwise unable to remove the cloth face covering without as-
       sistance.

Schools should instruct students, parents/guardians and staff, contractors and vendors on:

   •   The proper way to wear face coverings;

   •   Washing hands before putting on and after removing their face covering;

   •   Proper way to discard disposable face coverings;


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    •    The importance of routine cleaning of reusable face coverings; and

    •    Face coverings are for individual use only and should not be shared.

Information and resources to assist schools in instructing on the proper use and cleaning of facemasks
are on the CDC webpage on cloth face coverings.

Students and staff may use alternate PPE (i.e., face coverings that are transparent at or around the mouth)
for instruction or interventions that require visualization of the movement of the lips and/or mouths (e.g.,
speech therapy). These alternate coverings may also be used for certain students (e.g., hearing impaired)
who benefit from being able to see more of the face of the staff member.


Management of Ill Persons
Students and staff with symptoms of illness must be sent to the health office. Ideally a school nurse
(Registered Professional Nurse, RN) is available to assess individuals as chronic conditions such
as asthma and allergies or chronic gastrointestinal conditions may present the same symptoms as
COVID-19 but are neither contagious nor pose a public health threat.
If a school nurse is not available, schools will have to isolate and dismiss any student or staff member
who has a fever or other symptoms of COVID-19 that are not explained by a chronic health condition for
follow up with a health care provider. Administrators should work collaboratively with school nurses to
determine if additional staff is needed to assist with non-nursing tasks such as:
    •    Student supervision;
    •    Telephone calls, text, or emails to parent/guardians; and
    •    Assistance with completing any required paperwork other than nursing documentation.


If Students or Staff become Ill with Symptoms of COVID-19 at School
        Schools should follow Education Law § 906, which provides [w]henever…a student in the
           public schools shows symptoms of any communicable or infectious disease reportable
           under the public health law that imposes a significant risk of infection of others in the
           school, he or she shall be excluded from the school and sent home immediately, in a
           safe and proper conveyance. The director of school health services shall immediately
           notify a local public health agency of any disease reportable under the public health
           law7. The director of school health services, or other health professionals acting upon
7        Effective February 1, 2020, the 2019-Novel Coronavirus was added to the Public Health Law as a significant threat to the public
health, and the NYS Commissioner of Health designated 2019-Novel Coronavirus as a communicable disease under 10 NYCRR Section
2.1.




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        direction or referral of such director, may make such evaluations of teachers and any
        other school employees, school buildings and premises as, in their discretion, they
        may deem necessary to protect the health of the students and staff.
School staff must immediately report any illness of students or staff to the school nurse or other des-
ignated school staff. Such reports should be made in compliance with FERPA, and Education Law
2-d. If nurses choose to go to classrooms to make assessments of students, this also should be done
in a manner that protects the student’s confidentiality. If there are several students waiting to see
the school nurse, arrangements should be made to have students wait at least 6 feet apart. Ideally
schools should have two rooms for school health personnel - one room for healthy students who have
injuries or need their medications or nursing treatments, and another room for assessing and caring
for ill students and staff. Both rooms require a supervising adult to be present and should have easy
access to a bathroom and sink with hand hygiene supplies. School nurses and other school health
professionals assessing or providing care to ill students and staff should follow Transmission- based
precautions which includes the use of appropriate PPE (see section on PPE).
Students suspected of having COVID-19 awaiting transport home by the parent/guardian must be
isolated in a room or area separate from others, with a supervising adult present utilizing appropriate
PPE. Multiple students suspected of COVID-19 may be in this isolation room if they can be separated
by at least 6 feet
The CDC and NYSDOH recommend:

   •   Closing off areas used by a sick person and not using these areas until after cleaning and dis-
       infection has occurred;
   •   Opening outside doors and windows to increase air circulation in the area.
   •   Waiting at least 24 hours before cleaning and disinfection. If waiting 24 hours is not feasible,
       wait as long as possible;
   •   Clean and disinfect all areas used by the person suspected or confirmed to have
       COVID-19, such as offices, classrooms, bathrooms, lockers, and common areas.

                    Once the area has been appropriately cleaned and disinfected
                     it can be reopened for use.
                    Individuals without close or proximate contact with the person sus-
                     pected or confirmed to have COVID-19 can return to the area and
                     resume school activities immediately after cleaning and disinfec-
                     tion.
                    Refer to DOH’s “Interim Guidance for Public and Private Em-
                     ployees Returning to Work Following COVID-19 Infection or
                     Exposure” for information on “close and proximate” contacts.


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           •    If more than seven days have passed since the person who is suspected or confirmed to have
                COVID-19 visited or used the facility, additional cleaning and disinfection is not necessary, but
                routine cleaning and disinfection should continue.

If a separate room is not available, keep at least a 6-foot distance between ill students and other per-
sons. If they cannot be isolated in a separate room from others, it is recommended that a facemask
(e.g., cloth or surgical mask) be provided to the student if the ill person can tolerate wearing it and does
not have difficulty breathing, to prevent the possible transmission of the virus to others while waiting for
transportation home. It is recommended that:
•   Students should be escorted from isolation area to the parent/guardian;
•   The parent or guardian be instructed to call their health care provider, or if they do not have a health
    care provider, to follow up with a local clinic or urgent care center;
•   Symptomatic students or staff members follow CDC’s Stay Home When You Are Sick guidance
    unless otherwise directed by a healthcare provider or the local department of health. If the student or
    staff member has emergency warning signs such as trouble breathing, persistent pain or pressure in
    the chest, new confusion, inability to arouse, bluish lips or face, call 911 and notify the operator that
    the person may have COVID-19;
    •   School staff be aware of the symptoms of Multisystem Inflammatory Syndrome in Children
        (MIS-C) associated with COVID-19 which is a serious condition associated with COVID-19 in
        children and youth. Schools should notify the parent/guardian if their child shows any of the fol-
        lowing symptoms and recommend the child be referred for immediate follow up with a healthcare
        provider:

            o   fever

            o   abdominal pain

            o   vomiting

            o   diarrhea

            o   neck pain

            o   rash

            o   bloodshot eyes
            o   feeling extra tired
    •   Schools must call for emergency transport (911) following district policies, for any student show-
        ing any of these emergency warning signs of MIS-C or other concerning signs:



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           o    trouble breathing

           o    pain or pressure in the chest that does not go away

           o    new confusion

           o    inability to wake or stay awake

           o    bluish lips or face
           o    severe abdominal pain
   •   If a student or staff member reports having tested positive for COVID-19, school administra-
       tors or his/her designee should notify the local health department to determine what steps are
       needed for the school community.


Return to School after Illness
Schools must follow CDC guidance for allowing a student or staff member to return to school after
exhibiting symptoms of COVID-19. If a person is not diagnosed by a healthcare provider (physician,
nurse practitioner, or physician assistant) with COVID-19 they can return to school:
   •   Once there is no fever, without the use of fever reducing medicines, and they have felt well for
       24 hours;

   •   If they have been diagnosed with another condition and has a healthcare provider written note
       stating they are clear to return to school.
If a person is diagnosed with COVID-19 by a healthcare provider based on a test or their symptoms or
does not get a COVID-19 test but has had symptoms, they should not be at school and should stay at
home until:
   •   It has been at least ten days since the individual first had symptoms;
   •   It has been at least three days since the individual has had a fever (without using fever reduc-
       ing medicine); and
   •   It has been at least three days since the individual’s symptoms improved, including cough and
       shortness of breath.
The CDC provides specific guidance for individuals who are on home isolation regarding when the
isolation may end.Discontinuation of Isolation for Persons with COVID-19 Not in Healthcare Settings.
CDC recommendations for discontinuing isolation in persons known to be infected with COVID-19


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could, in some circumstances, appear to conflict with recommendations on when to discontinue quar-
antine for persons known to have been exposed to COVID-19. CDC recommends 14 days of quaran-
tine after exposure based on the time it may take to develop illness if infected. Thus, it is possible that
a person known to be infected could leave isolation earlier than a person who is quarantined because
of the possibility they are infected.


COVID-19 Testing
It is strongly recommended that schools comply with CDC guidance and not conduct COVID-19
testing or require testing or antibody testing of students or staff members. The decision of whether a
test needs to be conducted should be determined by a healthcare provider or the local department of
health. CDC Interim Considerations for K-12 School Administrators for SARS-CoV-2 Testing

Schools should identify who in the community is responsible for referring, sourcing, and administer-
ing testing (e.g., local health department testing site, physician offices, hospital system) particularly in
the event that large-scale testing at the school is needed. Schools wanting to perform COVID-19 test-
ing must apply and be approved as a limited service laboratory (LSL). Please refer to the instructions
and application materials, and if applicable, the worksheet for multiple locations.


Contact Tracing
Contact tracing is a public health function performed by local public health departments to trace all
persons who had contact with a confirmed case of COVID-19. This allows public health officials to put
in place isolation or other measures to limit the spread of the virus. Schools must cooperate with state
and local health department contact tracing. Schools can assist public health departments in knowing
who may have had contact at school with a confirmed case by:

   •   keeping accurate attendance records of students and staff members;

   •   ensuring student schedules are up to date;

   •   keeping a log of any visitors which includes date, time and where in the school they visited; and

   •   Assist local health departments in tracing all contacts of the individual at school in accordance
       with the protocol, training, and tools provided through the New York State Contact Tracing
       Program. This does not mean schools are required to have staff members take the contract tracing
       program. Questions should be directed to the local health department.

Confidentiality must be maintained as required by federal and state laws and regulations. School staff


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should not try to determine who is to be excluded from school based on contact without guidance and
direction from the local department of health.


School Closures
Schools must collaborate with their local health department to determine the parameters, conditions or
metrics (e.g., increased absenteeism or increased illness in school community) that will serve as early
warning signs that positive COVID-19 cases may be increasing beyond an acceptable level.
School administrators should consider closing school if absentee rates impact the ability of the school
to operate safely. Schools may choose to modify operations prior to closing to help mitigate a rise in
cases. Schools should consult their medical director and/or the local department of health when making
such decisions.


Cleaning and Disinfection
The CDC provides Reopening Guidance for Cleaning and Disinfection with specific guidance for
schools along with the Cleaning and Disinfection Decision Tool to aid in determining what level of
cleaning and/or disinfection is necessary. School wide cleaning must include classrooms, restrooms,
cafeterias, libraries, playgrounds, and busses. The guidance provides a general framework for cleaning
and disinfection practices. The framework is based on doing the following:

   •   Normal routine cleaning with soap and water will decrease how much of the virus is on surfaces
       and objects, which reduces the risk of exposure;

   •   Disinfection using US Environmental Protection Agency (EPA)-approved disinfectants against
       COVID-19. Where disinfectants are used, products should be registered with EPA and the NYS
       Department of Environmental Conservation (DEC). Frequent disinfection of surfaces and objects
       touched by multiple people is important;
   •   When EPA-approved disinfectants are not available, alternative disinfectants can be used (e.g.,
       1/3 cup of bleach added to 1 gallon of water or 70% alcohol solutions). Do not mix bleach or
       other cleaning and disinfection products together. This can cause fumes that may be extremely
       dangerous to breathe in. Keep all disinfectants out of the reach of children;
   •   Schools must identify cleaning and disinfection frequency for each facility and area type; and
   •   Schools must maintain logs that include the date, time, and scope of cleaning and disinfection in
       a facility or area.
Cleaning plans should include considerations regarding the safety of custodial staff and other people

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who are carrying out the cleaning or disinfection. In order to disinfect areas frequently, additional staff
may need to be trained. For more information on concerns related to cleaning safety, including training
staff, see the Occupational Safety and Health Administration’s website on Control and Prevention.
High touch surfaces should be cleaned and disinfected frequently though out the day. Examples of
high touch surfaces include:

   •   Tables;

   •   Doorknobs;

   •   Light switches;

   •   Countertops;

   •   Handles;

   •   Desks;

   •   Phones;

   •   Keyboards and tablets;

   •   Toilets and restrooms; and
   •   Faucets and sinks.
Students should not be present when disinfectants are in use and should not participate in cleaning
and/or disinfection activities.

   •   It is important to establish a schedule for cleaning and/or changing heating/air conditioning
       system filters. Opening windows, if it can be done safely, and conducting classes outdoors are
       other strategies to increase airflow;
   •   Follow the manufacturer’s instructions for cleaning and disinfection of electronic devices such
       as laptops, iPads or Chromebooks, keyboards and computer mice, etc., between use. Con-
       sider the use of wipeable covers for electronics. If the manufacturer’s guidance is unavailable,
       consider the use of alcohol-based wipes or spray having at least 70% alcohol per CDC Guid-
       ance. Dry surfaces thoroughly to avoid the pooling of liquids;
   •   Shared wind musical instruments should be cleaned between use per the manufacturer’s direc-
       tions;
   •   Playgrounds should be cleaned per CDC guidance:
       o   outdoor areas, like playgrounds in schools and parks generally require normal routine
           cleaning, but do not require disinfection


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       o   do not spray disinfectant on outdoor playgrounds- it is not an efficient use of supplies and is
           not proven to reduce risk of COVID-19 to the public
       o   high touch surfaces made of plastic or metal, such as grab bars and railings should be
           cleaned routinely
       o   cleaning and disinfection of wooden surfaces (play structures, benches, tables) or ground-
           covers (mulch, sand) is not recommended
   ●   sidewalks and roads should not be disinfected.
   ●   Shared athletic/gym equipment (e.g., balls, protective gear) should be cleaned between use
       per manufacturer’s directions.

School Health Office Cleaning
School health office cleaning must occur after each use of:
   •   Cots;
   •   Bathroom; and
   •   Health office equipment (e.g. blood pressure cuffs, otoscopes, stethoscopes, etc.) should be
       cleaned following manufacturer’s directions.
Disposable items should be used as much as possible including:
   •   Disposable pillow protectors; or
   •   Disposable thermometers, or disposable thermometer sheaths or probes, and disposable oto-
       scope specula.

More information on cleaning health office equipment is on the New York State Center for School
Health’s website under COVID-19.


Other Considerations

Health Physicals and Screenings
Due to the COVID-19 pandemic and the effect it is having on healthcare providers, the Department
released the memo Health Examinations in Light of COVID-19 Pandemic, which provides direction
to schools when students are delayed in obtaining required health physical examinations, along with
information on the required health exam form Required NYS School Health Examination Form.
The memo states:


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   •   Schools are to continue to accept proof of a health examination regardless of the form it is
       completed on for exams conducted on or before January 31, 2021;
   •   Parents/guardians are provided with additional time to provide the completed health exam to
       the school;
   •   Student athletes are able to participate in the fall 2020 sports season even if they do not have a
       current health examination if they meet certain criteria;
   •   Beginning February 1, 2021 health examinations for schools are to be completed on the NYS
       Required Health Examination Form or an electronic health record equivalent form. This direc-
       tive may change depending on the status of the COVID-19 pandemic in the fall; and
   •   Hearing, vision, and scoliosis screenings will be waived for the 2020-2021 school year due to
       the COVID-19 crisis, unless such screening has otherwise been deemed necessary, pursuant
       to an amendment to Commissioner’s Regulations section 136.3(e).


Safety Drills
Education Law § 807 requires that schools conduct 8 evacuation and 4 lockdown drills each school
year. When planning drills, consideration should be given to how a school may modify their drill proce-
dures to minimize risk of spreading infection. Conducting drills is an important part of keeping stu-
dents and staff safe in an emergency, however, steps should be taken to minimize the risk of spread-
ing infection while conducting drills. As such, it may be necessary for schools to conduct drills in the
2020-21 school year using protocols that are different than they are used to.

Regardless of the modification used when conducting a drill, students should be instructed that if it
was an actual emergency that required evacuation or lockdown, the most imminent concern is to get
to safety; maintaining social distancing in an actual emergency that requires evacuation or lockdown
may not be possible and should not be the first priority.

Modifications to evacuation drill protocols may include, but are not limited to:
   •   Conducting drills on a “staggered” schedule, where classrooms evacuate separately rather
       than all at once, and appropriate distance is kept between students to the evacuation site.
       Staggering by classroom, minimizes contact of students in hallways, stairwells, and at the
       evacuation site. If conducting drills using a modified procedure, it is required that the drill be
       conducted with all students in the school building on that school day, it may be necessary to do
       so during a class period that is extended for this purpose; and
   •   If schools re-open with a “hybrid” in-person model, such as one where students attend school
       alternate school weeks to reduce the occupancy of the school building, schools must be certain
       that all students are receiving instruction in emergency procedures, and participating in drills


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       while they are in attendance in-person.
Modifications to Lockdown Drills may include, but are not limited to:
   •   Conduct lockdown drill in classroom setting while maintaining social distancing and using
       masks;
   •   Conducting lockdown drills on a “staggered” schedule with smaller numbers of students pres-
       ent to maintain social distancing, however schools must be certain that all students are receiv-
       ing instruction in emergency procedures and participating in drills while they are in attendance
       in-person; and
   •   Conduct lockdown drill in classroom without “hiding”/ “sheltering” but provide an overview of
       how to shelter or hide in the classroom.




FACILITIES   
When students and adults return to their school buildings for
in-person instruction, it will be vitally important that the phys-
ical spaces they occupy are configured and maintained in
a way that provides the maximum possible protection from
spreading the coronavirus.     
School districts will follow health guidance related to social distancing and other safety measures that
must be put in place to slow the spread of COVID-19. To meet the requirements of that guidance,
school districts or other applicable schools may need to rearrange or re-purpose physical space within
their buildings, expand buildings’ or districts’ footprints or alter existing spaces through construction
or changes in programming or operation. Several of these alternatives have implications for fire code
compliance and may require code review by the New York State Education Department’s (NYSED’s)
Office of Facilities Planning.  
Many questions will arise as districts or other applicable schools balance fire safety and building secu-
rity needs with efforts to prevent the spread of COVID-19. NYSED’s team is in consultation with other
state agencies to ensure that all factors are fully considered, and the risks to building occupants are
minimized across the full range of potential concerns.          

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Reopening Mandatory Requirements

General Health and Safety Assurances
     5 School districts or other applicable schools must follow all guidance related to health and
         safety. This will include meeting social distancing requirements and cleaning frequently
         touched spaces regularly to prevent spread of infection. These requirements will be ad-
         dressed in more detail in other parts of the NYSED Re-Opening Guidance. The Facilities
         portion of the district’s, or other applicable school’s, reopening plan will seek assurance that
         school districts or other applicable schools will meet all requirements associated with building
         space related changes that they may elect to make.   

Fire Code Compliance
      5 Changes or additions to facilities require review by the Office of Facilities Planning (OFP),
         since all spaces to be occupied by public school students and staff must meet the require-
         ments of the 2020 New York State Uniform Fire Prevention and Building Code (BC) and
         the State Energy Conservation Code. In their plans, districts or other applicable schools will
         provide assurances that, should alterations be made, districts and other applicable schools
         will submit the proposed changes to the OFP for review and approval - just as with any other
         project.   

Doorways
     5 Many stairs and corridor doors have closers with automatic hold opens. These doors are nor-
       mally held in the open position and are automatically released by the fire alarm system. The
       function, position, and operation of those doors must remain unchanged. Fortunately, they
       need not be touched during normal use.

Emergency Drills
     5 Districts or other applicable schools shall conduct standard operations and procedures to the
       best of their abilities without deviating from current requirements. Fire (evacuation) Drills and
       Lockdown Drills are required by Education Law and regulation and the Fire Code and they
       must be conducted without exceptions. Fire Code Section 404 requires that schools maintain
       Fire Safety, Evacuation, and Lockdown Plans and these plans include how lockdown and
       evacuation drills are conducted. Methods to promote and provide for social distancing during
       the evacuation drills are ultimately the district’s or other applicable school’s decision and re-
       sponsibility. Those changes must be included in the Fire Safety plans.




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Inspections
      5 Statute has not been changed to provide an extension to the submission deadline for the
         Building Condition Survey or Visual Inspections. These deadlines must be met.

Lead Testing due in 2020
      5 At present, the statutory requirement that lead testing occur in 2020 continues. NYS DOH 		
      regulation 67-4, Lead-In-Water Testing, DOH requires lead-in-water testing to be conducted 		
      when the building is “normally occupied.” Sampling should not be conducted when the build-
      ing is vacant or has been vacant for an extended period due to COVID-19 closure. Simulation
      of “normally occupied operation” for the purpose of lead-in-water testing is not permitted. NYS
      DOH advises that schools follow recommended procedures to the extent possible to provide
      clean and safe drinking water upon reopening.


Considerations for Reopening Plans

Means to Control Infection
These are arrangements that can be considered to reduce transmission of infection:  
•   Time Management: School leaders should manage time and schedules to reduce student use
    of the corridors. The traditional practice of changing classes between periods results in congested
    hallways and creates challenges to precludes social distancing.   
•   Leave Doors Open: To reduce the spread of the virus from touching door levers and knobs,
    doors may be fixed in the open position. This is only permitted at doors without door closers and
    doors which are not fire rated.  
•   Plastic Separators: The use of light-transmitting plastics is recommended in locations where
    social distance or mask requirements cannot be complied with or easily regulated. For example,
    to separate individual lavatory sinks from each other. Light-transmitting plastics must comply with
    2020 BCNYS Section 2606 to mitigate the negative impact of life and safety features of a school.
•   Alcohol-based Hand Rub Dispensers: Districts or other applicable schools should assess each
    building’s capacity to provide adequate hand washing facilities and determine if the use of alco-
    hol-based hand rub dispensers is required. Alcohol-based Hand-Rub Dispensers are permitted to
    be installed in rooms and corridor in limited quantities in accordance with FCNYS 2020 Section
    5705.
•   Dividers at doors and other points of congregation: It may be advisable to use dividers at


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    queue lines and other areas subject to overcrowding to control the groups. These dividers must
    be approved by the OFP. Consult your architect and submit floor plans to OFP for approval. This
    review is required because improperly placed dividers could obstruct escape during an emergency.


Required Square Footage
While recommendations on social distancing suggest that maintaining a six-foot distance from others
is optimal, the building code itself does not mandate a minimum square footage per person on which
districts or other applicable schools must base the number of students and staff in a building. Code
sets standards for individual rooms and it varies on room function. If contemplating a change in class
size use 20 square foot (SF) per person for a classroom, 15 SF per person for cafeterias, 50 SF Voca-
tional, Tech and Special Ed., 150 SF for offices, 5-15 SF at gymnasiums.  
Contact an architect at the OFP with questions pertaining to change of room use and occupant load or
if a proposed change in occupancy of a space results in an occupant count greater than 49. A higher
expected number of occupants may change the requirements for exits.


Facility Alterations and Acquisition   
Districts or other applicable schools may choose to ease social distancing by changing the way they
use space in their existing buildings or by acquiring additional space. All spaces to be occupied by
school students and staff must meet the requirements of the 2020 New York State Uniform Fire Pre-
vention and Building Code and the State Energy Conservation Code.


Changes to Space Utilization and/or Alterations

Alterations Mandatory Requirements
If districts/schools expect to make space alterations to the physical space or the building, these items
will be required:      
5   Alterations to the configuration of existing classrooms or spaces or the introduction of temporary
    and/or movable partitions, the change must be submitted to OFP, the local municipality and/or code
    enforcement officials for review.
5   Means of egress, fire alarm system, ventilation, and lighting may be affected and must be indicated
    on all submitted plans.
5   Consult your architect and submit floor plans to OFP for approval.

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5   COVID-19 Projects shall be indicated as “COVID-19 Reopening” when submitted to the OFP. This
    will allow NYSED to expedite those reviews.
5   The installation of movable partitions (gym, cafeteria, Library classroom dividers) and queue barri-
    cades shall require an abbreviated submission consistent with the Form FP-AU Request for Approv-
    al of Use of a Facility.
5   Use of Cafeterias, Libraries, Auditoriums and Gymnasiums: A floor plan of the entire room showing
    the furniture layout with egress aisles shall be submitted to OFP for approval. Lighting, ventilation,
    means of egress, and fire alarm coverage must be indicated.
Districts or other applicable schools can utilize available space in the cafeteria, gyms, auditorium, and
libraries (or sections thereof), as classroom space. Minor alterations and the use of space dividers
may be utilized in existing classrooms. The need for social distancing may be enhanced by alterations
to a lobby or corridor and /or interior spaces/rooms.  


Space Expansion

Space Expansion Mandatory Requirements

If districts or other applicable schools choose to expand their square footage in order to enable im-
proved social distancing (e.g. building additions, lease space, transportable classroom units or spaces
such as tents) the following requirements apply for all spaces to be occupied by school district staff
and students:

5      Code Review: Per statute, NYSED’s Office of Facilities Planning must review and approve the
       above types of projects to ensure that the proposed spaces meet the fire code.
5      Offsite Lease Requirements:   For offsite facilities, the district or other applicable schools must 		
       contact their project manager at NYSED Office of Facilities Planning (OFP) and submit a 		
       Temporary Quarters (TQ) Project submission.
To ensure that these sites meet all requirements, TQ submissions require submission of:
       5   OFP Form FP_AU-Request for Approval of Use of a Facility;
       5   architectural quality floor plan;
       5   site plan;
       5   AHERA Plan;


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       5   Fire Safety Report;
       5   Confirmation of Americans with Disabilities Act compliance;
       5   Local Code Authority Certificate of Occupancy; and
       5   Approval of use of space.  
       5   Please note – if a Change of Occupancy in the Existing Building Code applies (e.g. office
           or B-occupancy to E-occupancy) code requirements such as rescue windows; accessibility;
           fire protection systems such as sprinkler or emergency voice alarm communication systems;
           ventilation – may make it infeasible.  
       5   Districts or other applicable schools should identify COVID-19 Projects as “COVID-19 Re-
           opening” when required materials are submitted to OFP for review.  
       5   Consult with OFP for a preliminary evaluation of all facilities under consideration for leasing.
           All leased facilities must be submitted to OFP for review and approval.
       Please consult with your architect/engineer of record.
       Districts or other applicable schools should identify COVID-19 Projects as “COVID-19 Reopen-
       ing” when required materials are submitted to OFP for review.  


Tents for Additional Space

Tents for Additional Space Mandatory Requirements
If tents are used as alternate spaces, then the following requirements apply:
Tents, both temporary and permanent are regulated by code and must be submitted for a building
permit.
5 Temporary structures and tents are those erected for 180 days or less. The Building Code Section 3103.1
   indicates, “tents and membrane structures erected for a period of less than 180 days shall comply with the
   Fire Code of NYS”.

5 The Fire Code (FC) Chapter 31 contains extensive requirements for Tents and Other Membrane Structures.
   FC Section 3103.2 indicates that a permit and approval of temporary tents is required. FC Section 3103
   contains requirements for temporary tents and Section 3104 has requirements for permanent tents. They
   include requirements for construction documents, access roads, location, seating plans, means of egress,
   illumination, exit signs, construction, use.  



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5 Permanent tents are considered a membrane structure and are regulated by Building Code Section 3102
    and other applicable sections.
5   Districts or other applicable schools must consult their design professional to prepare submission
    drawings for approval by OFP.
5   The following information must be shown on the drawings: Dimensions, Minimum separation
    distance to other structures, Tent sides (yes) (no), Duration of use, Type of use/activity, Anchor-
    age, Number of Exits, Width of each exit, Table/Chair/Contents, layout, Fire extinguisher Location,
    Occupant load, Heating or Cooking equipment, Utilities, Exit signs, NFPA 701 testing/label/certifi-
    cation.
5   If the tent is used for E-occupancy, consult with local municipalities and/or code enforcers provide
    code-compliant design for mechanical heat and ventilation; lighting; emergency lighting; power; fire
    alarm; plumbing; etc. as required.
5   Districts or other applicable schools must consult their architect and submit to OFP for approval. The
    district, or other applicable school, must provide an architectural quality floor plan, which clearly in-
    dicates existing and proposed use of space showing the furniture layout with egress aisles. Lighting,
    ventilation, means of egress, and fire alarm coverage must be indicated.


Plumbing Facilities and Fixtures  
Toilet and Sink Fixtures:   Districts or other applicable schools may consider reducing the number
of toilet fixtures in a building in order to facilitate frequent cleaning. However, the minimum number of
toilet fixtures that must be available for use in a building is established in the building code.  
The usual minimum requirement may be reduced by certain circumstances that may be relevant: (1)
the building’s aggregate number of toilet fixtures already exceeds the minimum amount required by
the Building Code or (2) the building occupancy is reduced using partial remote learning or reductions.   
Reminder: frequent handwashing is a key component to avoiding the spread of COVID-19, so sinks
and soap must be available to building occupants at all times.  

Plumbing Facilities and Fixtures Mandatory Requirements
5 The number of toilet and sink fixtures must meet the minimum standards of the New York State
   Building Code. In order to ensure compliance, a design professional should be consulted prior to any
   modifications to layouts or number of fixtures.
5   All temporary facilities must be approved through the Office of Facilities Planning.


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Drinking Water Facilities: Districts or other applicable schools may wish to reduce number of drink-
ing fountains available, in order to facilitate frequent cleaning. However, drinking fountains are a code
required plumbing fixture. One fountain is required for each one hundred occupants.
In the event drinking fountains need to be taken out of service, the following should be considered to
provide potable drinking water to all occupants of the building:   
•   Drinking fountains may be replaced with units with bottle fillers.
•   Supplying students with bottled drinking water or water in disposable cups at specified locations is
    an acceptable alternative source.  
The district or other applicable school may provide student with personal containers to fill at home.


Ventilation

Ventilation Mandatory Requirements
 5     Maintain adequate, code required ventilation (natural or mechanical) as designed.
If other air cleaning equipment is proposed, submit to OFP for review and approval.
Districts and schools are encouraged to increase the fresh air ventilation rate to the extent possible
to aid in maintaining a healthy indoor air quality. We recognize there are many different types of venti-
lation systems, natural or mechanical, that may be limited for increasing ventilation outside air due to
available heat or fan/relief airflow capacity. Schools may consider installing a higher efficiency filter. A
higher efficiency filter may require a larger filter housing and will create greater resistance to airflow,
and the fan and HVAC system may require rebalancing to maintain the code required ventilation rate.




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New Technology

Some school leaders may have been contacted by vendors promoting new technology that claims to
purify air. Some of these systems may be proven over time to have merit, but the use of new technolo-
gies in school facilities must be stringently reviewed prior to the installation and issuance of permits for
those technologies. Some of them could have a negative impact on the building occupants’ health and
safety. New technologies must be proven safe by independent and impartial studies by a nationally rec-
ognized governing body, and the equipment must be listed/labeled for the intended use by a Nationally
Recognized Testing Laboratory.


NYSED Procedures
Projects that are labeled as “COVID-19 Reopening” will be expedited. Leased facilities, modular build-
ings, tents, additions, and alterations require an LOI and typical project submission requirements; pre-
screening will be waived. Questions can be directed to the OFP.



CHILD NUTRITION
A successful nutrition program is a key component to a successful educational environment. Children
cannot focus on learning when they are hungry. School meals boost learning, and studies show that
students perform best academically when they are well nourished. School districts around the State
did an incredible job, with tremendous community support, in ensuring that students received nutritious
meals while schools were closed this past year. No child should ever go hungry, and school reopening
plans must provide for the feeding of all students who require food assistance.
As school food service operations transition from serving meals during unanticipated school clo-
sures and summer meals to serving school meals, School Food Authorities (SFAs) will need to consider
                                              national, state, and local health and safety guidelines. It is
                                              important that SFAs engage school food service directors
                                              in district or system wide discussions regarding plans for
                                              reopening schools to ensure that students participating in
                                              all learning models have access to healthy meals.
                                                   SFAs will need to consider the resources and flexibilities
                                                   necessary to transition food service operations to an on-
                                                   site or off-site student meal delivery system or operate
                                                   both at the same time. This includes utilizing state or na-

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tionwide waivers and updating school policies, standard operating procedures, and trainings to ensure
compliance with Child Nutrition Program requirements.


Reopening Plan Mandatory Requirements  
5 District/School Plan must provide all students enrolled in the SFA with access to school meals
  each school day. This must include:
      5 students in attendance at school; and
      5 students learning remotely.
5 District/School Plan must address all applicable health and safety guidelines.
5 District/School Plan must include measures to protect students with food allergies if providing meals
  in spaces outside the cafeteria.
5 District/School Plan must include protocols and procedures for how students will perform hand hy-
  giene before and after eating, how appropriate hand hygiene will be promoted, and how sharing of
  food and beverages will be discouraged.
5 District/School Plan must include protocols and procedures that require cleaning and disinfection
  prior to the next group of students arriving for meals, if served in the same common area.
5 District/School Plan must ensure compliance with Child Nutrition Program requirements.
5 District/School Plan must include protocols that describe communication with families through mul-
  tiple means in the languages spoken by families.  

Considerations for Reopening Plans
The following considerations should be taken into account when developing the reopening plan.
These best practices are intended to highlight additional actions that the SFA may take to communi-
cate with and ensure families understand the processes to ensure access to meals as needed:
•   Follow SFA policies to communicate about school meal service, eligibility, options, and changes in
    operations;
•   During the public health emergency, meal benefits have been available to many students that may
    not usually have access to free meals. As school returns, it will be important to communicate to
    families that all meals may not be available at no cost to all children;
•   Use a variety of communication methods (e.g., website, social media, emails, robocalls, news-
    letters) and ensure communications are translated into the languages spoken by families in the
    district;
•   Identify a specific contact person(s) to receive and respond to communications from families.
    The contact’s information should be included in all written materials that are provided to families
    and to school staff;
•   Assess areas where additional or clearer information may be needed to enhance communication


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    about the program. Provide links to directly access documents and answers to frequently asked
    questions. Ensure that information is presented in a user-friendly format including language trans-
    lations where appropriate;
•   Develop program-specific information that details program activities that affect families such as:
        o availability of meals
        o payment methods
        o use of vending machines
        o a la carte sales
        o outside food brought into the building, and
        o restrictions on visitors during the meal service.
•   More families may now qualify for benefits than prior to the public health emergency due to chang-
    es in the economy. Before school starts, remind families that they can submit a new application for
    free or reduced-price meals right now and at any time during the school year;
•   Provide multiple opportunities for families to complete meal benefit applications;
•   Assess if new technology may be needed in order to provide online household applications, obtain
    electronic signatures or transfer protected student identifying information;
•   Provide meal benefit applications with summer meals;
•   Make applications available online and at the front office of each school site; and
•   Provide phone and in-person support to assist families in applying.


Safety and Sanitation
•   Update standard operating procedures for sanitation of school kitchens, cafeterias, food warehouses, and
    central production kitchens;
•   Identify any additional equipment or supplies such as thermometers, alcohol wipes or other equipment that
    may be needed to keep food, students, and staff safe;
•   Consider the special feeding needs of students with severe disabilities whose safety and sanitation needs
    at mealtimes may differ from those of their peers;
•   Install barriers at the point of sale/point of pickup (see the Facilities Guidance section);
•   Have adequate supplies of face masks, soap, hand sanitizer, and tissues in food service areas (see the
    Health and Safety section);
•   Routinely clean and disinfect high-touch surfaces including tables, chairs, carts used in transportation, and
    point-of-service touch pads;
•   Use timers for cleaning reminders;
•   Wear single-use gloves when handling or delivering all foods;
•   Wear a disposable apron when handling or delivering foods;
•   Allow only program staff, custodial staff, and approved volunteers to enter program areas.




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Food Service Staff  
•   Evaluate staffing and make any needed adjustments;
•   Ensure staff are trained on district policies and protocols on health and safety;
•   Review, and retrain staff as needed on standard operating procedures for food service;  
•   Consider cross-training program staff to perform essential activities in the event of key absences or emer-
    gency situations.


Contact Vendors and Suppliers
•   The unexpected closures may have impacted food supply chains or availability of certain services and it will
    be important to account for any of these changes prior to the start of operations;
•   Work with food service vendors to determine the safest way to handle deliveries;
•   Have supplies on hand for in person and grab and go meal delivery.   


USDA Waivers approved for the National School Lunch Program and School
Breakfast Program, July 1, 2020 – June 30, 2021
•   Notify the NYSED Office of Child Nutrition of the SFA’s plan to use any of the following waivers
    necessary for operations:
       o Non-Congregate Feeding
       o Meal Service Time Flexibility
       o Bulk meals require both non-congregate and meal service time waivers
       o Parent/Guardian Meal Pick Up
       o Meal Pattern Flexibility
       o “Offer Versus Serve” Flexibility for Senior High Schools.

Contact your NYSED Child Nutrition Program Representative to ensure operations are within waiver
allowances.


Meal Service
•   Revise district, charter, and site food safety plans to include standard operating procedures for meal service
    in classroom, additional meal service procedures in the cafeteria, social distancing and PPE during meal
    prep and delivery, and receiving and storage;
•   Ensure meals meet meal pattern requirements;
•   Production records must be completed for each meal;
•   Develop meal counting procedures for meals served outside of the cafeteria. Procedures will depend on


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    eligibility determinations – CEP, Provision 2, or Free/Reduced/Paid status;
•   Consider how to handle transactions that normally would occur in a cafeteria line – how payments will be
    collected, receipts issued, and money secured;
•   Documented requests for children with special dietary needs (e.g., food allergies) must be accommodated;
•   Strongly encourage the use of the online school payment system;  
•   Rather than payment submitted by each child in the cafeteria line, consider cash or check payment collect-
    ed and sent to the cafeteria by classroom teachers.


Meals Consumed Onsite
•   Assess where meals will be served (classroom, cafeteria, other);
•   Remove or suspend the use of share tables, salad bars and other self-service refrigerators and buffets for
    food and condiments;
•   Discourage food sharing between students;
•   Coordinate with custodians to establish sanitation procedures;
•   Clean and disinfect tables, chairs and other frequently touched hard surfaces between groups of students;
•   Consider increasing access points for providing meal service;
•   Provide physical distancing guides in food service areas such as:
        o tape on floors
        o signage
        o increase table spacing, remove tables, mark tables as closed, or provide a physical barrier between
            tables
•   Plan for one class at a time to go through the cafeteria line and return to the classroom if meals will be eat-
    en in the classroom;
•   Use pre-portioned condiments that cashiers & servers place on each tray;
•   Place meals on a counter or tray line for quick pick up;
•   Consider “Grab and Go” kiosks in hallways or gymnasiums;
•   Consider whether teachers can take meal orders in classrooms and send orders to the kitchen via email,
    Google Docs, SharePoint, etc;
•   Consider student meal pick up at building entrances or security checkpoints;
•   Coordinate with school personnel in order to meet the feeding safety needs of students with disabilities;
•   When students eat in classrooms:
        o train teachers on food allergies, including symptoms of allergic reactions to food
        o train all non-food service staff on any meal service-related activities they will be responsible for
        o obtain or develop posters or other aids to assist non-food service staff to implement meal service.


Meals Consumed Offsite (with election of waivers)
•   Assess service methods (grab and go, curb-side pick-up, delivery, etc.);
•   Determine if there are students who are unable to access school meal distribution sites and identify ways to


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    address these gaps;
•   Bulk meals packaged in boxes or containers for multiple days of meals picked up/delivered at one time;
•   In hybrid situations, where students are attending in person and remotely, create an area with cones or
    signs where families can easily pull in to receive foods away from where students will be entering;
•   Place meals for curb-side pick-up on a table or place in the trunk of the vehicle.


Additional Food Service Resources
    •   The NYSED Child Nutrition Office website
    •   USDA Food and Nutrition Service
    •   Institute of Child Nutrition
    •   New York State Department of Health Food Saftey Guidance
    •   CDC Guidance for Schools



TRANSPORTATION
The school bus is an extension of the classroom; therefore,
many of the recommendations that apply to school build-
ings (like social distancing and frequent cleaning) should be
applied to the school bus, as well. Pupil transportation also
presents certain unique challenges, especially with regard
to the transportation of homeless students, students in
foster care, students in nonpublic and charter schools, and
students with disabilities. So, it is critical that schools and
school districts must be sure to include Transportation De-
partment staff in all school re-opening planning.


School District Policies/Practices

Reopening Mandatory Requirements
    5 School districts and other applicable schools are expected to fulfill existing mandates regarding


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   the safe and effective transportation of students who are homeless (McKinney-Vento), in foster
   care, have disabilities and attend non-public schools and charter schools. Although meeting these
   obligations will certainly pose challenges, these expectations continue to be in place. Districts and
   other applicable schools should plan accordingly.


The School Bus

School Bus Mandatory Requirements
Assurances of the following will be required when submitting the Reopening Plan:
   5 Students who are able will be required to wear masks and social distance on the bus;
   5 All buses (conforming and non-conforming to Federal Motor Carrier Safety Standards, as well
     as type A, C or D) which are used every day by districts and contract carriers must be cleaned/
     disinfected once a day. High contact spots must be wiped down after the am and pm run de-
     pending upon the disinfection schedule. (For example, some buses might be cleaned between
     the am and pm runs while other buses may be cleaned/disinfected after the pm run);
   5 School buses shall not be equipped with hand sanitizer due to its combustible composition and
     potential liability to the carrier or district. School bus drivers, monitors and attendants must not
     carry personal bottles of hand sanitizer with them on school buses;
   5 Wheelchair school buses must configure wheelchair placement to ensure social distancing of 6
     feet.


School Bus Considerations

Districts and other applicable schools may want to consider adding the following best practices to their
reopening plan:
   •   School bus companies may choose to install sneeze guards by the driver’s seat and in be-
       tween each seat to protect children and increase capacity. If installed, the sneeze guards must
       be made of a material approved by the Department of Transportation. Sneeze guards will need
       to be disinfected every day;
   •   Sneeze guards may be installed on wheelchair buses between securement stations with the
       approval of the Department of Transportation;
   •   When temperatures are above 45 degrees, school buses should transport passengers with roof
       hatches or windows slightly opened to provide air flow.



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School Bus Staff

School Bus Staff Mandatory Requirements


   5 School bus drivers, monitors, attendants and mechanics shall perform a self-health assess-
     ment for symptoms of COVID-19 before arriving to work. If personnel are experiencing any of
     the symptoms of COVID-19 they should notify their employer and seek medical attention;
   5 School bus drivers, monitors, attendants and mechanics must wear a face covering along with
     an optional face shield;
   5 Transportation staff (drivers, monitors, attendants, mechanics and cleaners) will be trained and
     provided periodic refreshers on the proper use of personal protective equipment and the signs
     and symptoms of COVID-19;
   5 Transportation departments/carriers will need to provide Personal Protective Equipment such
     as masks and gloves for drivers, monitors and attendants in buses as well as hand sanitizer for
     all staff in their transportation locations such as dispatch offices, employee lunch/break rooms
     and/or bus garages.
   5 Drivers, monitors and attendants who must have direct physical contact with a child must wear
     gloves.

Considerations for Reopening Plans
Districts and other applicable schools may want to consider adding the following best practices to their
reopening plan:
   •   The driver, monitor, and attendant may wear gloves if they choose to do so but are not required
       unless they must be in physical contact with students;
   •   Transportation staff should be encouraged to wash their hands with soap and water before and
       after am and pm runs to keep healthy and prevent the spread of respiratory and diarrheal infec-
       tions from one person to the next. Germs can spread from other people or surfaces when you:
           o touch your eyes, nose, and mouth with unwashed hands
           o touch a contaminated surface or objects
           o blow your nose, cough, or sneeze into hands and then touch other people’s hands or
               common objects




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Students on Transportation

Students on Transportation Mandatory Requirements
   5 As was outlined in the Health and Safety section of this guidance, all parents/guardians will
     be required to ensure their child/children are not experiencing any signs and symptoms of
     COVID-19 and do not have a fever of 100 degrees or more prior to them boarding their method
     of transportation to school;
   5 Students must wear a mask on a school bus if they are physically able. Students who are unable
     to medically tolerate a face covering, including students where such covering would impair their
     physical health or mental health are not subject to the required use of a face covering;
   5 Students must social distance (six feet seperation) on the bus;
   5 Students who do not have a mask can NOT be denied transportation;
   5 Students who do not have masks must be provide one by the district;
   5 Students with a disability which would prevent them from wearing a mask will not be forced to do
     so or denied transportation.

Students on Transportation Considerations

Districts and other applicable schools may want to consider adding the following best practices to their
reopening plan:
   • Siblings or children who reside in the same household should be encouraged to sit together.
   • A student without a mask may be provided a mask by the driver/monitor/attendant. Students
        who are unable to medically tolerate a face covering, including students where such covering
        would impair their physical health or mental health are not subject to the required use of a face
        covering. In such a situation the seating will have to be rearranged so the student without a
        mask is socially distanced from other students.
   • Students who are transported in a mobility device should use seating positions that provide the
        required social distancing or have NYS-approved sneeze guards installed.
   • Students should be reminded of the bus rules, like, to not eat or drink on the school bus, which
        would require them to remove their mask.
   • When students embark and disembark the bus, they should follow social distancing protocols.
        This will increase the time required to load and unload buses at stops.


Protocols Once Students Disembark from Transportation
Districts and other applicable schools may want to consider adding the following best practices to their
reopening plan:


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   •   When students embark and disembark the bus, they should follow social distancing protocols.
       This will increase the time required to load and unload buses at schools in the morning and
       afternoon.
   •   Schools should consider staggered arrival and departure times to ensure social distancing.
   •   Schools should reconfigure the loading and unloading locations for students who are transport-
       ed by bus, car or are pedestrians.
   •   Since hand sanitizer is not permitted on school buses, schools should consider policy to dis-
       pense hand sanitizer when students enter the building or classroom.


Pupil Transportation Routing

Pupil Transportation Routing Mandatory Requirements
  5 If the school district is in session remotely or otherwise, pupil transportation must be provided
      to nonpublic, parochial, private, charter schools or students whose Individualized Education
      Plans have placed them out of district whose schools are meeting in in-person sessions when/
      if the district is not;
  5 All students are entitled to transportation by the district to the extent required by law. Trans-
      portation departments do not have the ability or the right to deny transportation for children
      who are in foster care, homeless or attend private or charter schools. Parents who may have
      missed the due date to request out of district transportation due to a reasonable excuse may
      file a 310 appeal with the Commissioner of Education.

Pupil Transportation Routing Considerations
Districts and other applicable schools may want to consider adding the following best practices to their
reopening plan:
   •   School districts and other applicable school transportation departments that use contract trans-
       portation should consider the use of add and delete clauses to configure their routing needs
       depending upon school scheduling, staggering start times and virtual learning days. Districts or
       other applicable schools should submit addendums to the Pupil Transportation Unit when the
       increased routing requires an increased cost in a pupil transportation contract.
   •   School districts should pursue every avenue to provide transportation for their student popu-
       lations using creative means of district routing, municipal contracts, piggybacking contracts,
       parent contracts or public transportation.
   •   Districts or other applicable entities which consider the use of mass transit to provide pupil
       transportation may want to strongly suggest that students on these vehicles wear masks and
       practice social distancing. If a mass transit vehicle is used solely for pupil transportation routes


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       all the applicable mandatory requirements and considerations must be applied.



SOCIAL EMOTIONAL WELL-BEING

                                                             Communities and schools are facing unprecedent-
                                                             ed challenges as they respond to the compound-
                                                             ed difficulties of a global pandemic, an economic
                                                             recession, and civic unrest in response to structural
                                                             racism. But these challenges also offer unprece-
                                                             dented opportunities to re-envision and renew the
                                                             capacity of our schools and communities to be
                                                             welcoming, supportive, inclusive, and equitable
                                                             environments.
                                                    To meet these challenges, individuals must start
                                                    with the inner work of healing their own hearts and
                                                    minds, finding the capacity within themselves to
                                                    support healing for students, families, peers, and
communities. While district and school personnel cannot solve every problem, collectively they are a
powerful force in improving the well-being of themselves and those around them.
As district and school personnel adapt to environments that result in substantially reduced time spent
interacting in-person, ensuring intentional and meaningful inclusion of social emotional learning (SEL)
across all aspects of operating strategies is critical to supporting the well-being and success of stu-
dents, staff, and families. Along with physical health and well-being, schools and districts must prioritize
social emotional well-being -- not at the expense of academics, but in order to create the mental, social,
and emotional space for academic learning to occur.
It is unrealistic to expect that students will return to instruction as they left it months ago. Students have
experienced an extremely stressful, and for many, traumatic experience while isolated from school,
friends, and community.
Some students have had positive experiences during school closures, learning, growing, and discover-
ing new identities as activists, caregivers, and leaders in their communities. Schools should support and
nurture new skills and mindsets.
Students known to be vulnerable, as well as those not previously on district and school radars, may
return to instruction anxious, fearful, withdrawn, grieving, and/or unprepared to self-manage new or
exacerbated negative behaviors. And some students have thrived in an on-line environment, as school

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anxiety has lessened. Should additional periods of remote learning be required, students who had an
adult available to assist them previously may now be home alone as adults return to work. Older stu-
dents may be tasked with the care of younger family members. Schools and districts must be prepared
to meet students where they are, regardless of the circumstances in which they find themselves.
During the Regional Task Force Meetings, stakeholders discussed the variety of student, family, and
school personnel needs that must be addressed during transitions back to school in the fall, whether
that is in-person, remote, or a hybrid. Overall, worry was expressed that many students, families, and
staff will return with fear or anxiety, and school and district staff will need to balance physical safety with
social and emotional needs.
Stakeholders expressed concern over local capacity to address increased social and emotional needs
with existing staff, and discussed opportunities to better position existing staff to build capacity around
student and family engagement, trauma-responsive practices, social emotional learning, restorative
practices, and fostering relationships, within both in-person and virtual environments. They further ex-
pressed concerns about screen time for students should remote or hybrid learning be necessary, and
the ability of students and families to access resources during periods of remote learning.
Stakeholders stressed the importance of clear communication with all stakeholders including students,
families, staff, and community, and considered how community partnerships could be leveraged to
increase capacity. They recommended that social and emotional well-being be prioritized during transi-
tions back to school and for as long as necessary to appropriately support student needs; physical and
emotional safety is necessary for the brain and body to be ready to learn.
Finally, stakeholders stressed the critical need to address adults’ social and emotional needs before the
return to school and on an ongoing basis. Adults must have systems of support including meaningful
peer relationships, opportunities to connect, and resources to support self-care. Without these supports
in place, adults will not have optimal capacity to support the needs of students and families.
The following considerations are intended to assist in creating a welcoming and caring school communi-
ty that ensures its members are met with compassion and the support they need to achieve and thrive.
Academic learning cannot be effective until the basic human needs for physical and emotional safety
are met. This is an embodied practice. Breathe, notice, feel, and be present.
Except where otherwise noted, the considerations outlined below are relevant regardless of whether
instruction is in-person, remote, or hybrid.


Reopening Plan Mandatory Requirements
   5 Ensure that a district-wide and building-level comprehensive developmental school counseling
     program plan, developed under the direction of certified school counselor(s), is reviewed and


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      updated to meet current needs.
  5 Establish an advisory council, shared decision-making, school climate team, or other collabora-
    tive working group comprised of families, students, members of the board of education, school
    building and/or district/charter leaders, community-based service providers, teachers, certified
    school counselors, and other pupil personnel service providers including school social workers
    and/or school psychologists to inform the comprehensive developmental school counseling pro-
    gram plan.
  5 Address how the school/district will provide resources and referrals to address mental health,
    behavioral, and emotional support services and programs.
  5 Address professional development opportunities for faculty and staff on how to talk with and
    support students during and after the ongoing COVID-19 public health emergency, as well as
    provide supports for developing coping and resilience skills for students, faculty, and staff.


Considerations for Reopening Plans
  •   Deepen your understanding of mental health, well-being, trauma-responsive and restorative
      practices, and SEL through professional learning, and work collaboratively with staff, students,
      and families to strengthen partnerships and plan for implementation.
  •   Communicate social emotional well-being and learning as a priority and engage members of the
      school community in implementation efforts.
  •   Identify or build a team that will lead your implementation. Decide how students, staff, and family
      will contribute.
  •   Determine how you will build upon existing strengths as a foundation for growth.
  •   Examine opportunities to leverage community school strategies to support and sustain the work.
  •   Leverage mental health and social emotional well-being strategies to support and sustain in-
      creased educational equity.
  •   Leverage collaborative community partnerships to strengthen your initiatives.
  •   Use data to identify SEL needs and incorporate strategies to meet those needs in the district’s or
      school’s comprehensive school counseling plan.
  •   The district's or school's counseling/guidance program should be reviewed and revised to plan,
      develop, and implement a Multi-Tiered System of Supports (MTSS).
  •   As part of an MTSS framework, SEL, mental health, and well-being supports offered at all levels


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       should reflect school-wide implementation of effective, efficient, and evidence-based practices
       and strategies that all students can access.

   •   Pupil personnel staff should develop or adopt a screening tool that, administered with parental
       consent and student assent, can assist the district or school with identifying the needs of re-
       turning students.

   •   Once student needs are broadly and individually identified, tier 1, 2 and 3 activities and ser-
       vices can be developed or adopted to address those needs.


Mental Health and Trauma-Responsive Practices
Adverse childhood experiences (ACEs) and trauma can have a negative impact on young people’s
social emotional well-being, and consequently, their capacity to learn. Students and adults are grap-
pling with new and exacerbated traumas that can have far-reaching impacts on health and education-
al outcomes. In addition, anxiety and depression may present or worsen in response to these addi-
tional stressors and traumas.
Trauma-responsive practices help shift negative reactions to inappropriate student behavior to
thoughtful responses that consider the root causes of behavior and help to support individual student
needs to address those causes.


Multi-Tiered Systems of Support (MTSS)
MTSS is an evidence-based approach to comprehensive program delivery that addresses academ-
ic and behavioral challenges including proactive activities for all students (universal interventions),
targeted activities for students identified at-risk (secondary interventions) and intensive activities for
students identified at high risk (tertiary interventions). MTSS is grounded in the belief that all students
can learn, and all school professionals must be responsive to the academic and behavioral needs of
all students. MTSS focuses on evidence-based practices, relies on student progress data to inform
instructional decisions, and ensures that each student, based on their unique needs, receives the lev-
el and type of support necessary to be successful. It is an important means of addressing equity and
most importantly, ensures that all young people are provided with the support they need to thrive.
A strong set of universal interventions designed to support social emotional well-being will be crucial
to our collective success as students and adults return to instruction and the school environment with
increased needs. The supports represented in the universal tier are foundational to secondary and
tertiary supports. In general, universal interventions should be effective for most students, but targeted
and intensive supports will be needed to address student needs that could not be met with universal


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interventions. A strong foundational tier helps ensure that schools are not overidentifying students and
adults for tier 2 and 3 supports, which allows them to more strategically allocate resources for the high-
er tiers. An example of aligned social emotional well-being supports in chart format is included on page
42 of Social Emotional Learning: Essential for Learning, Essential for Life.

Pupil Personnel Services (PPS) Roles within MTSS
Pupil personnel service (PPS) staff, which include school counselors, school social workers, school
psychologists, mental health counselors and school nurses are uniquely poised to be the primary
source of expertise upon which the entire school community can draw. These professionals have over-
lapping skills, such as counseling, assessment, consulting, collaboration, parent/school liaison, profes-
sional development for faculty and staff, and crisis response. They share in facilitating social emotional
and physical well-being, strengthening family, school, and community partnerships, increasing access
to instruction and promoting a positive school climate.
A key function of the school counselor’s Tier 1 role is to promote a safe and supportive learning envi-
ronment for everyone in the school community. School counselors utilize their specialized knowledge of
curriculum and child and adolescent development to design and implement comprehensive programs to
help all students build fundamental academic, career development, and social emotional skills. School
counseling programs are most effective when there is collaboration among the school counselor, oth-
er PPS staff, teachers, administrators, and families to promote a school climate that facilitates student
achievement, student engagement, and equitable
access to educational opportunities so that all students
can reach their full potential in school and beyond.
At the secondary and tertiary levels, supports become
increasingly targeted to meet students’ specific needs.
At the Tier 2 level, some of these supports may be
provided by school counselors but are often referred
to school social workers and school psychologists
and are targeted to students identified as vulnerable
due to academic, social emotional, and mental health
challenges. At the Tier 3 level, school social work-
ers, school psychologists, and licensed mental health
counselors address a smaller number of high need students who require more specialized individual
interventions and/or referral to community-based counseling and resources. It should be noted that spe-
cific roles can become overburdened when the full complement of PPS professionals are not available
in a school. For example, if a school does not have the services of a certified school social worker, the
school counselor and psychologist must then compensate for the missing service provider.




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Social Emotional Learning (SEL) and
Transformative SEL
The Collaborative for Academic, Social, and Emotion-
al Learning (CASEL) defines SEL as, “the process
through which children and adults understand and
manage emotions, set and achieve positive goals, feel
and show empathy for others, establish and maintain
positive relationships, and make responsible deci-
sions.”8 By developing core intra- and inter-personal
competencies, including self-awareness, self-manage-
ment, social awareness, relationship skills, and re-
sponsible decision-making, students and adults build
capacity to thrive by building a variety of protective factors, including increased resilience, stronger
empathy, heightened self-efficacy and agency, and more. SEL is not synonymous with mental health,
but it does provide a foundational set of competencies that serve as tools to navigate challenges in
healthy, productive ways.
SEL must be culturally and linguistically responsive and sustaining to equitably meet the needs of our
young people and adults. Transformative SEL elaborates on the core competencies from an educa-
tional equity lens and envisions their operationalization to better prepare young people and adults for
critical, active citizenship, and considers the roles and implications of culture, identity, agency, belong-
ing, and engagement.9 Youth Participatory Action Research (YPAR) and Project-Based Learning (PBL)
offer opportunities for young people to shape their own learning and can support transformative SEL.
A variety of resources for understanding SEL, including developmentally appropriate benchmarks and
a whole school implementation guide are available on NYSED’s SEL web page.


Restorative Practices
Considering implementation of restorative practices within your school community invites an oppor-
tunity to reflect on school culture, discipline policies, practices, and disparities, and how policies and
practices may contribute to the school to prison pipeline.
Addressing behavior that is inappropriate from a whole child perspective requires students’ and adults’
acquisition of, and practice in using, all five SEL core competencies, and is strengthened by an un-
8         Collaborative for Academic, Social, and Emotional Learning. (2020) What is SEL?

9         Jagers, R., Rivas-Drake, D. & Williams, B. (2019) Transformative Social and Emotional Learning (SEL): Toward SEL in Service of Educational
Equity and Excellence, Educational Psychologist, 54:3, 162-184.


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derstanding of and sensitivity toward Adverse Childhood Experiences (ACEs) and trauma-informed
practices.
Restorative practices are processes and approaches designed to build community and meaningful
relationships, develop shared values, help students better understand their behavior, how it impacts
themselves and others, and ultimately to use that self- and social awareness to repair damage caused
to relationships as a result of inappropriate behavior. It focuses on strategies and skills such as un-
derstanding and managing one’s emotions and behavior, negotiating conflict constructively, building
empathy, making constructive decisions about personal behavior, and realistically evaluating the con-
sequences of one’s behavior.
Replacing traditional discipline with restorative alternatives offers opportunities for youth to learn from
mistakes and may reduce disciplinary disparities and negative outcomes.


Planning and Capacity Building
Central to a school or district’s effective reopening or re-envisioning strategy is clear prioritization of
mental health, well-being, and SEL that is communicated clearly and consistently to staff, students,
family, and community. Whether the district or school has established SEL and well-being initiatives or
are just beginning to formalize strategies, you can find areas of strength to build on.
Developing the comprehensive school counseling plan and reviewing it annually with stakeholder in-
put is an appropriate vehicle for districts or charter schools to coordinate their efforts around ensuring
a positive school climate and the social emotional well-being of students returning to school in the fall.
To help schools and districts achieve these important expectations, a variety of resources are offered
in this guidance, such as Guidance Programs and Comprehensive Developmental School Counsel-
ing/Guidance Programs Commissioner’s Regulation §100.2(j).
It is important that an annual process of gathering, reviewing, and responding to data is established
allowing for ongoing program development that is directly responsive to student need. With students
returning in the fall, no matter which method is adopted, assessing student needs is the first objective
that should be met, followed by being prepared to meet those needs. Pupil personnel staff should
be utilized to develop or adopt a screening tool that, administered with parental consent and student
assent, can assist the district or charter school with identifying the needs of returning students. Once
needs are broadly and individually identified, tier 1, 2 and 3 activities and services can be developed
or adopted to address those needs.
Consider the following recommendations to engage staff, students, families, and community as you
address the foundational learning that needs to happen and the work that needs to be done.




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Resources
   •   Social Emotional Learning: A Guide to Systemic Whole School Implementation and other Social Emo-
       tional Learning Benchmarks, Guidance, and Resources from the New York State Education Department
       -NYSED

   •   Reunite, Renew, and Thrive: Social and Emotional Learning Roadmap for Reopening School - CASEL

   •   Visit our companion webpage for additional social emotional well-being resources to support this guid-
       ance.


Adult SEL & Well-Being
Adults in our school communities must take care of themselves and our peers, both for their own
well-being and so that they may be better able to help young people heal. Adults in the school commu-
nity have experienced stress, anxiety, grief, and trauma. It is important to consider the impact this will
have on their return to an in-person or virtual school environment.
Additionally, adults need access to professional learning opportunities that can better prepare them to
support their own well-being as well as the well-being of the students and families they serve.
For students, investing in strong tier one social emotional supports for adults will reduce reliance on
more resource-intensive tier 2 and 3 supports. Before school reopens, and throughout the school year,
consider the following:
   •   School leadership is faced with overwhelming challenges. Consider district/school-level supports
       for school leaders, especially those new to their roles, to provide mentorship.
   •   Build school community structures that encourage human connection, and that acknowledge
       it is necessary for us to take care of our physical and emotional safety and comfort before we
       can effectively teach and learn. Offer ongoing embedded opportunities for adults to develop and
       strengthen their own social and emotional competencies.
   •   Offer all staff opportunities to heal together, to build strong, mutually supportive relationships, and
       to process their own emotions, including bus drivers, cafeteria workers, office workers, nurses,
       pupil personnel services staff, and administrators.
   •   Offer professional learning opportunities to all staff. Address critical topics related to personal,
       student, and community well-being, including trauma-responsive practices, social emotional
       learning, restorative practices, mental health education, culturally and linguistically respon-
       sive-sustaining practices, implicit bias and structural racism, and facilitating difficult conversa-
       tions about race.


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   •   Prior to the re-entry of students, invite the staff into the building to talk about differences, loss-
       es, and newness of preparation for teaching and learning.
   •   Survey staff regularly. Ask about their needs. Do not wait for people to come to you. Be pre-
       pared to respond with assistance or referrals.
   •   Support access to mental health and trauma supports for adults in the school community.
   •   Leverage Transformative SEL to support the work of adult anti-racism and anti-bias work. Nur-
       ture SEL competencies to improve cultural and linguistic responsiveness and sustainability.

Resources
   • Advancing Adult Compassion Resilience: A Toolkit for Schools - WISE Wisconsin and Rogers
   InHealth
    • SEL Online Learning Module: Creating a Well-Rounded Educational Experience: American
    Institutes for Research
    • Visit our companion webpage for additional social emotional well-being resources to support
    this guidance.


Student SEL and Well-Being
Improving school climate promotes critical conditions for learning, including an engaged school com-
munity responsive to culture, race, ethnicity, language, and socio-economic status; safe and inclusive
academic environments that recognize and value the languages and cultures of all students; caring
connections, trust, respect, and activities and curricula that engage and challenge young people. All
these conditions are improved by socially and emotionally competent adults and young people in the
school community. Schools may wish to:
   •   Consider a prolonged orientation or transition period to support the social and emotional
       well-being and resiliency of students before beginning to phase in academic content. Encour-
       age connection, healing, and relationship-building.
   •   Use community-building circles to ensure all voices can be heard.
   •   Foster increased resiliency for students to help prepare them for the possibility of additional
       transitions between in-person and remote learning.
   •   Create safe, supportive, engaging learning environments that nurture students’ social and emo-
       tional learning.


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•   Consider how community school strategies might be leveraged for greater impact. Community
    Schools are public schools that emphasize family and community engagement, collaborative
    leadership, expanded learning, and integrated student supports. These areas of emphasis
    comprise the context for effective SEL competency development, and stronger SEL competen-
    cies increase the effectiveness of community school initiatives.
•   Nurture adult-student relationships to ensure that every student has a trusted adult at their
    school, and that the adult checks in on the student regularly, regardless of the mode of instruc-
    tion.
•   Offer opportunities for movement and physical activity to the extent possible. Social emotional
    and physical well-being are interconnected.
•   Survey students regularly. Ask about their needs. Do not wait for them to come to you. Be pre-
    pared to respond with assistance or referrals.
•   Leverage transformative SEL to support the work of anti-racism and anti-bias.
•   Support access to mental health and trauma supports for students.
•   Leverage the expertise of all school community members, including pupil personnel services
    staff, to support students. Gather input from staff delivering or distributing meals. They can pro-
    vide valuable insights about what they have seen and heard.
•   Provide professional learning to support all staff in developing a deeper understanding of their
    role in supporting student social emotional competencies and well-being.
•   Scaffold SEL to best support the developmental needs of students at all grade levels, from
    Pre-K through high school.
•   Implement explicit SEL lessons and embed opportunities to develop and practice SEL compe-
    tencies within academic lessons.
•   Embed SEL and trauma-responsive practices in restorative discipline policies.
•   Consider ways to mitigate the absence of school social activities, like sports or clubs, with so-
    cially distanced or online replacements.
•   Consider teaching teams that work with the same cohort of students, with teacher teams meet-
    ing and communicating regularly. Consider a case-management style of checking in on stu-
    dents in the cohort.
•   Collaborate with community partners such as afterschool program providers, tapping into their


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       expertise to provide additional support services, to increase the school’s capacity to meet stu-
       dent needs and know students and families, including their strengths, needs, and aspirations.


Using Data for Continuous Improvement
Data collection for continuous improvement and reflection means data is used to understand what
is happening, to identify challenges or roadblocks, and to figure out what is working. Districts must
assess immediate needs but recognize the need to continue to reassess regularly as circumstances
are likely to change frequently in this tumultuous time. Continuing to collect data to ensure accurate
understandings of need is necessary to continue providing the most effective and efficient response.
Districts may want to:
   •   Consider first why they are collecting data and what they want to learn from it;
   •   Collect and use data to support deeper relationships and improved supports for students, staff,
       and families;
   •   Engage stakeholders in the collection and review of data; and
   •   Support staff in reflecting upon data to inform continuous improvement.
A more thorough overview of issues surrounding social and emotional data collection and use is avail-
able on pages 44-47 of Social Emotional Learning: A Guide to Systemic Whole School Implementa-
tion.

Resources
  • NYS Mental Health Education Resource & Training Center
   •   NYS Safe and Supportive Schools Technical Assistance Centers
   •   Mental Health Education Literacy in Schools: Linking to a Continuum of Well-Being Compre-
       hensive Guide - New York State Education Department
   •   Guidance Programs and Comprehensive Developmental School Counseling/Guidance Pro-
       grams Commissioner’s Regulation §100.2(j) - New York State Education Department
   ● Visit our companion webpage for additional social emotional well-being resources to support 		
     this guidance.




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SCHOOL SCHEDULES
COVID-19 required schools to make critical
adjustments to their instructional model in
March 2020 with little or no time to plan. As
schools devise their re-opening plans for the
2020-21 school year, plans must address
resuming in-person instruction. However,
scheduling decisions must be informed by
health and safety standards and the most up
to date guidance from the New York State
Department of Health.
Consideration must also be given to the
needs of students, families, and staff as well
as the realities of available space and stu-
dent enrollment in each unique school and
district. Schools are given the ability to restructure their programs using flexible scheduling models—
taking advantage of in-person, remote, or hybrid learning models—and to provide synchronous and/or
asynchronous instruction.
Per the New York State Department of Health guidance, plans should address a combination of
in-person instruction and remote learning to facilitate a phased-in approach or hybrid model, which
may be necessary at various times throughout the 2020-2021 school year. In cases where in-person
instruction is not feasible, phased-in and hybrid models of education will need to consider if certain
students will be prioritized for in-person instruction first or more frequently based on educational or
other needs (e.g., early grades, students with disabilities, English language learners), and must bal-
ance this with equity, capacity, social distancing, PPE, feasibility, and learning considerations. These
priorities if applicable shall be determined at the individual school or district level based upon the
needs of student populations within such schools or districts.
If COVID-19 cases develop, schools/districts may consider restricting access within school facilities
and across school grounds, particularly in affected areas to avoid full school closures. In such instanc-
es, schools/districts may choose to temporarily move classes where an individual has tested positive
for COVID-19 to remote/virtual format until all contacts can be identified, notified, tested, and cleared.
To maximize in-person instruction, Schools/districts should consider measures that can be implement-
ed to decrease density and congregation in school facilities and on school grounds, when possible,
such as:
        •      finding alternative spaces in the community to allow for more in-person instruction;


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        •      adjusting class or work hours, where appropriate and possible;
        •      limiting in-person presence to only those staff who are necessary to be at the school 		
               during normal school hours;
        •      maintaining or increasing remote workforce (e.g., administrative staff) to accommodate 		
               social distancing guidelines;
        •      staggering schedules and allowing more time between classes to reduce 				
               congestion in hallways, walkways, and buildings; and/or
        •      shifting design of class schedules to accommodate social distancing 				
               guidelines, including cohorts (e.g., alternative classroom schedules, full-time 			
               in-person learning for younger students, and part-time distance learning for 			
               older students).
Schools/districts should collaborate with stakeholders including, but not limited to, teachers, staff
members, parents, and community groups when considering alternate schedules. Plans must in-
clude how schedules will be shared and made available to the school community. Schools should
share their scheduling plans with students, families, and staff as soon as possible before the start of
the school year and anytime a change is required in order to allow families to plan childcare and work
arrangements. If schools/districts begin to implement in-person and hybrid learning models, they
must also be prepared to shift back to fully remote learning models should circumstances change and
school buildings are required to close.
Regardless of the instructional model implemented, equity and access must be the priority for all stu-
dents including, but not limited to, students with disabilities, English language learners, and students
experiencing homelessness.



BUDGET AND FISCAL MATTERS


Economic Overview
Both the national economy and New York State’s economy have been dramatically impacted by the
COVID-19 crisis and the various mitigation efforts that have been undertaken since March 2020.
What is still unknown is the extent to which the impact will improve or worsen, how long it will last, and
which sectors of the state economy will be most severely impacted.


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It is important to understand the fundamentals of education finance policy in New York State to de-
velop the most responsible—and flexible—budget plans for reopening schools. The economic demo-
graphics of school districts across the state vary widely, from some of the wealthiest districts in the
country to some of the poorest. The various state aid formulas work to complement that reality, with
the wealthiest district receiving less state aid and the districts with less local fiscal capacity receiving
more.
New York State government operations are funded through a blend of many revenue sources, in-
cluding the personal income tax, sales tax, corporate taxes, user fees, and federal grants and entitle-
ments. Each of these sources is impacted in different ways by the changes in economic activity in the
state due to COVID-19.


School District Fiscal Preparedness
Another major factor in the fiscal outlook for school districts is the availability of undesignated reserve
funds, which districts set aside for times of fiscal hardship. Again, the individual district circumstance
can vary widely. According to the most recent data available to the Department, overall unexpended
fund balances total 13.83 percent of all school spending outside the big five city school districts,10 but
the level available in individual districts ranged from 0.04 percent to 86.19 percent.
These reserves are approximately two thirds capital, retirement, and employee benefit accrued lia-
bility reserve (EBALR) reserves. Unrestricted reserves total approximately 4.5% of total proposed
spending, again excluding the five dependent city school districts. Relaxing rules around withdrawals
from certain purpose driven reserves would provide districts additional flexibility in budgeting for the
upcoming years with a diminished prospect of increases in state aid, but such changes would require
enactment of legislation.
When districts consider how much of those reserve funds should be tapped into during any single
school year or crisis, they should remember that this situation has the potential to be long-lasting.


2020-21 Enacted State Budget
Governor Cuomo’s Executive Budget proposal in January 2020 initially called for a statewide in-
crease in school aid for the 2020-21 school year of $825 million, or 3 percent. As the COVID-19 crisis
emerged prior to the enactment of the final budget, that planned increase did not materialize, resulting
in a school aid apportionment that held unrestricted funds flat for districts and maintained reimburse-
ments at statutory levels. A reduction in state-funded aid was partially offset by an increase in emer-
gency federal funds.
10     Source: PTRC balance divided by budgets


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Pandemic Adjustment and CARES Act Funds
State Aid was reduced in the 2020-21 school year by a total of $1.13 billion through a “Pandemic
Adjustment”, which reduced school district aid allocations at their bottom line, commensurate with
the amount of federal Coronavirus Aid, Relief and Economic Security (CARES Act) funds each dis-
trict was projected to receive. Districts were then allocated an amount of federal funding through the
combination of the CARES Act Elementary and Secondary School Emergency Relief Fund (ESSERF)
and the Governors Emergency Education Relief Fund (GEERF). As a result, school districts will expe-
rience a decrease in state aid payments but will be eligible to apply for an amount from these federal
grants. However, it should be noted that the CARES Act requires a portion of the funds to be used to
provide equitable services to non-public schools.


Potential Further Aid Reductions
The 2020-21 Enacted Budget also included provisions that will allow the Director of the Budget, sub-
ject to amendment by the Legislature, to reduce appropriations across any and all program areas of
the state budget should actual revenues come in at levels that are below the assumptions made in the
Executive Budget. As of April 2020, this projected total shortfall was $13.3 billion for the 2020-21 state
fiscal year. The actions noted above reduced this gap by nearly $1.2 billion.11 Combined with other
budget actions, the remaining gap was projected to be $8.2 billion. Absent additional federal support,
the Division of Budget has stated that further reductions to school aid, Medicaid, social services, and
transportation might be necessary to eliminate that projected budget gap.


180 Day Calendar and Attendance Reporting for State Aid Purposes
School districts report certain enrollment, attendance, and school calendar information through the
State Aid Management System (SAMS). While this data submission process differs from other pro-
cedures, the underlying data provided should be consistent with all other attendance reporting and
requirements.
The minimum annual instructional hour requirement and 180 days of session requirement are also
both reported through SAMS. For both the 2019-20 and 2020-21 school years, school districts will be
required to continue the same information, based on the schedule provided for the average student,
rather than reporting for each individual student. Under regulatory changes adopted as an emergency
rule by the Board of Regents on July 13, 2020, school districts may be eligible to apply for a waiv-
er from the minimum instructional hour requirement for both the 2019-20 and 2020-21 school years
11      See: https://www.budget.ny.gov/pubs/archive/fy21/enac/fy21-enacted-fp.pdf page 14




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to the extent that “the district is unable to meet such requirement as a result of an Executive Order(s)
of the Governor pursuant to the State of emergency declared for the COVID-19 crisis, or pursuant to
Education Law §3604(8), as amended by Chapter 107 of the Laws of 2020, or reopening procedures
implemented as a result of the COVID-19 crisis”. Successful application of the waiver will shield school
districts from a reduction in aid for failure to meet the minimum instructional hour requirement. However,
the 180 days of session requirement is in statute, and for the 2020-21 school year there are currently no
statutory provisions that would allow a school district to provide fewer than 180 days of instruction over
the course of the full school year.


Impact of Low Attendance on State Aid
School districts have expressed concerns about the impact that students choosing to stay home during
the pandemic will have on their state aid calculations. State Aid formulas use multiple attendance
counts in the calculation of aid apportionments for school districts. Statewide over 70 percent, largely
in Foundation Aid, is based on Average Daily Membership or district enrollment, which is a measure of
student registration in the district and does not take attendance into account. These aid formulas should
not be impacted by attendance rates. Some formulas use Average Daily Attendance in the calculation of
reimbursement rates, and Education Law §3602(1)(d)(2) provides for the commissioner to exclude from
that calculation “days on which school attendance was adversely affected because of an epidemic...”.
NYSED plans to advance a proposed COVID-specific change to such regulations in September for con-
sideration by the Board of Regents.


Flexibility in Non-NYSED-Governed Activities
While budget and fiscal matters have implications in nearly all operational and instructional program
areas, the laws, regulations, and business rules are largely outside of the discretion of the State Educa-
tion Department. Below are a few areas where recommendations have been made to NYSED staff that
deserve further consideration by state policymakers:
   •   Reserve funds: consideration for providing temporary flexibility in the immediate use of designat-
       ed or restricted reserve funds, and requirements to repay funds over a set period of time;
   •   Transportation issue: as mentioned in the Transportation section of this guidance, providing flex-
       ibility on the adoption of contracts with providers and pursuing a streamlined bus driver licensing
       process with the Department of Motor Vehicles to ease the burden of hiring new bus drivers;
   •   Personal Protective Equipment (PPE) and technology purchases: provide more avenues for
       shared service agreements and ease burdens on BOCES to expanding service in this area.




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Flexibility for Budgetary Transfers
It is anticipated that there may be costs in 2020-21 that districts did not budget for in necessarily the
correct account codes. In particular, the need for additional equipment has been noted above. Flexibil-
ity for budget transfers in the 2020-21 school year only for additional equipment needed (associated
with re-opening and the maintaining of buildings primarily) would help school districts in that position.
Historically, school districts have been advised that money cannot be transferred into an equipment ac-
count code because equipment is considered a non-contingent expense (generally) and transfers into
non-contingent line items are prohibited. This determination appears to be based primarily on Formal
Opinion of Counsel No. 213 (www.p12.nysed.gov/mgtserv/budgeting/handbook/appendixg.html).
In addition, school districts are encouraged to maximize their state-aided hardware in order to ensure
that all necessary equipment is being purchased.


Tax Collection
School districts that rely on banks or other outside entities, such as a town, to collect school taxes, could
face an issue of capacity for in-person collection. Limited staffing or hours may make it more difficult for
taxes to be paid in the period without penalty. In addition, at least one instance of a bank not wanting to
have citizens coming in to pay taxes and bank staff having to handle all of that paper has resulted in a
district needing to have to come up with a new process. Having to change to a collection process that
is all in-district may not be feasible, either due to costs or staffing.
Districts should be reviewing their tax collection process to try and anticipate any issues or problems
that they may face based on the ability of residents to pay taxes in person and without penalty.


Other Considerations
All existing state aid reporting requirements and deadlines must be maintained; the content of data
submissions will largely remain consistent with past practice, except where modified by law, regulation,
or executive order.
Additional costs for PPE, transportation, food service, and other mitigation needs will likely be neces-
sary. Districts should not assume additional state or federal support will be available beyond what has
already been budgeted for the 2020-21 school year and should plan those needs accordingly.


Charter Schools
District schools should continue to process charter school per pupil invoices as required by Education


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Law § 2856 and Commissioner’s Regulation §119.1. Although many of the considerations above are
applicable to all schools, charter schools should consult with the school’s authorizer regarding specific
budgetary requirements.
All existing state aid reporting requirements and deadlines must be maintained; the content of data sub-
missions will largely remain consistent with past practice, except where modified by law, regulation, or
executive order.
Additional costs for PPE, transportation, food service, and other mitigation needs will likely be neces-
sary. Districts should not assume additional state or federal support will be available beyond what has
already been budgeted for the 2020-21 school year and should plan those needs accordingly.


Resources
Flexibility in Maximizing Instructional Materials Aid, including Hardware Aid
Smart Schools Bond Act



ATTENDANCE AND CHRONIC ABSENTEEISM
As described in the Technology and Connectivity section of this guidance, remote learning did not work
for everyone during the spring 2020 school closures. In many schools and districts, large numbers of
students did not log on or otherwise participate in online learning opportunities. It is therefore critical
for schools to use a variety of creative methods to reach out to students and their families who did not
engage in distance learning. School policies and procedures must focus on the academic consequenc-
es of lost instructional time and address absences before students fall behind in their learning. Initiating
an educational neglect or Person in Need of Supervision (PINS) proceeding should be a last resort;
schools and districts should work with their local departments of social services prior to bringing any
legal action against students or their families.


Attendance for Instructional Purposes

Reopening Mandatory Requirements
   5 Schools are responsible for developing a mechanism to collect and report daily teacher/student engage-
     ment or attendance regardless of the instructional setting.



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Attendance Considerations
Certain hybrid models may not lend themselves to every content teacher connecting with every student en-
rolled in their class every day. This is true especially in departmentalized settings. Schools may wish to assign
each homeroom teacher or advisory teacher as the daily point of contact for attendance purposes;

   •   Flexibility should be considered when monitoring attendance in a remote model. Parent schedules,
       availability of technology or other barriers may preclude students from connecting with teachers at a
       certain time;
   •   When in the remote mode of a hybrid in-person/remote learning model, districts should to the greatest
       extent possible record students’ attendance in mandated units of English as a New Language and Bilin-
       gual Education.


Attendance for Reporting Purposes

Reopening Mandatory Requirements
  5 Attendance of any school-age student of compulsory age, who resides in the district or is
     placed by a parent/guardian in another public school district, a charter school, or is placed by a
     district administrator or the CSE of the school district in educational programs outside the dis-
     trict (such as, another school district, BOCES, approved private in-State or out-of-State school,
     and State supported school) must be reported in SIRS. To date, the reporting of daily atten-
     dance of Prekindergarten students is not required;
  5 Attendance must be reported by any reporting entity that is required to take attendance;
  5 Resident students of compulsory age who were not in attendance in a public school, including
     charter schools, nonpublic school, or approved home schooling program in the current school
     year must be reported until they exceed compulsory school age, they no longer reside in the
     district, or the district has documentation that the student has entered another educational pro-
     gram leading to a high school diploma;
  5 Students who drop out while still of compulsory school age must be kept on the school atten-
     dance register until they exceed compulsory school age or move out of the district.


Attendance for State Aid Purposes
School districts report certain enrollment, attendance, and school calendar information through the
State Aid Management System (SAMS). While this data submission process differs from other pro-
cedures, the underlying data provided should be consistent with all other attendance reporting and
requirements.
As discussed in the Budget and Fiscal Matters section of this guidance, the minimum annual instruc-

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tional hour requirement and 180 days of session requirement are also both reported through SAMS. For
both the 2019-20 and 2020-21 school years, school districts will be required to continue to submit the
same information through SAMS that has been required in previous years, namely aggregate instruc-
tional days and hours, as well as daily calendars. Under regulatory changes adopted as an emergency
rule by the Board of Regents on July 13, 2020, school districts may be eligible to apply for a waiver
from the minimum instructional hour requirement for both the 2019-20 and 2020-21 school years to
the extent that “the district is unable to meet such requirement as a result of an Executive Order(s)
of the Governor pursuant to the State of emergency declared for the COVID-19 crisis, or pursuant to
Education Law §3604(8), as amended by Chapter 107 of the Laws of 2020, or reopening procedures
implemented as a result of the COVID-19 crisis”. Successful application of the waiver will shield school
districts from a reduction in aid for failure to meet the minimum instructional hour requirement. However,
the 180 days of session requirement is in statute, and for the 2020-21 school year there are currently no
statutory provisions that would allow a school district to provide fewer than 180 days of instruction over
the course of the full school year.
For charter schools, instructional time requirements are set forth in Education Law Section 2851(2)(n)
and Commissioner’s Regulation Section 175.5. These requirements were effectively waived as stated
above. See the Budget and Fiscal Matters section of this guidance for additional details.


Chronic Absenteeism
Extensive research indicates that missing ten percent of school days tends to be the “tipping point”
when student achievement declines.12 Chronic absence, or absenteeism, is defined as missing at least
ten percent of enrolled school days, which in New York State is eighteen days per school year, or two
days per month.
     •   Chronic absence includes all absences from instruction, both excused and unexcused. Instead of school
         policies and procedures focusing on truancy, it is essential for school attendance policies to focus on the
         academic consequences of lost instructional time and for the school procedures to address absences
         before students fall behind in school.
     •   During these challenging times, the development of positive school relationships may be a lifeline for stu-
         dents disconnected from school.
     •   Although flexibility is recommended when monitoring attendance in a remote instructional model, for stu-
         dents who have not engaged in remote learning and school staff outreach to parents/guardians has been
         unsuccessful, districts and other schools should explore a variety of methods for reaching out such as:
             o phone calls to families are often the simplest solution and provide an immediate opportunity to
                 offer resources and assess student and family needs
12       Balfanz, Robert & Byrnes, Vaughan, Chronic Absenteeism: Summarizing What We Know from Nationally Available Data, John
Hopkins University Center for Social organization of Schools, May 2010.



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          o   where families do not respond to phone calls, texting may offer a lower-stress alternative and a
              subsequent phone call can be arranged
          o   seeking out adults in the school who have established a connection with the student and/or fam-
              ily may yield improved results. Counselors, coaches, social workers, and psychologists are often
              logical choices, in addition to teaching staff. Social media contact or using friends to reach out can
              also be effective strategies.

   •   Assign each student an “ally” – an adult who is responsible to check in on the student every day, whether
       instruction is in-person, remote, or online.

School districts and other school entities have the responsibility to provide translation for families who
speak a language other than English in the home. Once contact is made, emphasis should be on ad-
dressing the student’s or family’s barriers to “attendance” or engagement with instruction.


Educational Neglect
An allegation of educational neglect may be warranted when a custodial parent or guardian fails to en-
sure a child’s prompt and regular attendance in school or keeps the child out of school for impermissible
reasons resulting in an adverse effect on the child’s educational progress, or imminent danger of such
an adverse effect. Educational neglect should not be considered where the parent/guardian has kept
their child home because they believe it is unsafe for their child to attend school in person during the
pandemic, and the child is participating in remote learning opportunities.
Schools and districts are urged to reach out to their local departments of Social Services (LDSS) with
any questions or concerns related to child welfare. The LDSS point of contact (POC) for your area may
be found through the following link: LDSS POCS. The Statewide Central Register of Child Abuse and
Neglect, the hotline to report child abuse and neglect, should be contacted only as a last resort, after
you have exhausted all other strategies to connect with students and families.
Reporting and investigation of suspected cases of educational neglect present a range of complex
issues and challenges for local social services districts and school districts. It is in the best interest of
these agencies, school districts, and the families they serve, to collaborate in addressing their concerns.
From the process of reporting - a school responsibility - and throughout the process of investigation,
which is the purview of Child Protective Services (CPS), there will be numerous opportunities for timely
intervention and collaboration involving students, parents, school officials, and CPS staff. This collabo-
rative approach should lessen the need for Family Court referral and proceedings.




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Persons in Need of Supervision (PINS)
Under the Family Court Act Article 7, a PINS proceeding may, in certain circumstances, be initiated
to have a person under eighteen years of age, who does not attend school, is incorrigible, ungovern-
able, habitually disobedient and beyond the lawful control of a parent, or other person legally respon-
sible for such child’s care, or appears to be a sexually exploited child, adjudicated by the Family Court
as a PINS.
Before taking such drastic action, outreach to the appropriate LDSS may provide the student and fam-
ily access to additional services designed to prevent a young person from being adjudicated a PINS.
Family Support Services programs have been established to provide comprehensive services to chil-
dren and families. The LDSS point of contact (POC) for your area may be found through the following
link: LDSS POCS.

Resources
Attendance Playbook: Smart Solutions for Reducing Chronic Absenteeism in the COVID Era



TECHNOLOGY AND CONNECTIVITY
For New York State students to lead produc-
tive and successful lives upon graduation,
they must understand and know how to use
digital technologies. Technology knowledge
and skills are vital for full participation in 21st
Century life, work, and citizenship. Sufficient
access to computing devices and high-speed
internet are essential for educational equity.
Even before the COVID-19 pandemic, the
inequitable access to technology and internet
services in students’ places of residence was
a priority to be addressed. The closure of New
York schools and subsequent shift to remote
learning only highlighted this urgent need. The
period of remote learning due to school closures presented significant challenges, especially due to
the digital divide, but also unprecedented opportunity for schools, students, and families to leverage
technology to support instruction, learning, communication, and meaningful connections. The effec-
tive use of digital technology can assist educators in differentiating and personalizing learning; provide


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flexibility in scheduling and pace; and provide multiple entry points for students to engage in learning.
As schools plan for reopening, technology and connectivity must remain essential areas of focus.
Regardless of whether in-person, remote, or hybrid models are utilized, schools should seek to pro-
vide students and teachers, for use in their places of residence, with access, to the extent practicable,
to:
   •   A computing device, such as a laptop, desktop, Chromebook, iPad, or full-size tablet, for their
       exclusive use; and
   •   Consistent, reliable access to high-speed internet at a sufficient level to fully participate in re-
       mote/online learning (e.g., a hotspot).
In alignment with the Board of Regents’ vision for teaching and learning, as articulated in the USNY
Statewide Learning Technology Plan (2010), NYSED is committed to working with schools and part-
ners to help ensure students have “all the time, everywhere” access to devices and high-speed inter-
net, both at school and at their places of residence. NYSED is aware that in specific, limited areas of
the state, high-speed internet is not yet available. Students’ places of residence may not be connect-
ed to fiber, and/or cellular service may not be available. In these limited cases, assisting students in
obtaining access to high-speed internet may not be possible at the school or district level at this time.


In the limited cases where students may still lack internet access in their places of residence, despite
best efforts, districts and schools must ensure that all efforts are being made to provide some form of
internet access availability, such as by boosting WIFI signals to parking lots.


Reopening Plan Mandatory Requirements
School and District Reopening Plans must include information on how the school will:
   5 Have knowledge of the level of access to devices and highspeed broadband all students and
     teachers have in their places of residence;
   5 To the extent practicable, address the need to provide devices and internet access to students
     and teachers who currently do not have sufficient access; and
   5 Provide multiple ways for students to participate in learning and demonstrate mastery of Learn-
     ing Standards in remote or blended models, especially if all students do not yet have sufficient
     access to devices and/or high-speed internet.
While the mandatory shift to remote learning in Spring 2020 has highlighted the work that must be
done to ensure all New York State students have equitable access to technology, it also revealed a
significant capacity for innovation. Districts and schools are encouraged to reflect on lessons learned


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during remote learning, and to assess the effectiveness of digital tools, platforms, and resources uti-
lized.


Considerations for Reopening Plans
The following recommendations should be considered as schools develop reopening plans:
   •   Survey parents and guardians to determine the level of access to computing devices and high-
       speed internet to which students have access in their places of residence.
   •   Ensure surveys are crafted to gather useful data.
           o An indication of “access” to a device in the home, in many circumstances, does not
               ensure the student is able to access the device at the specific times and/or for the length
               of time necessary to be successful in a remote or online setting. In many families, “ac-
               cess” could mean multiple children sharing a single device, sometimes with one or more
               adults who themselves are attempting to work remotely.
           o Similarly, craft questions about internet access to produce usable data. Merely asking
               whether a not a student has “access” would not provide useful context for informing de-
               cisions on instruction. Many students are in situations where multiple household mem-
               bers are connecting to the internet through a prepaid cell phone with a limited data plan,
               or the student has to drive fifteen miles to a parking lot where WIFI is free.
   •   Provide professional development for leaders and educators on designing effective remote/on-
       line learning experiences and best practices for instruction in remote/online settings.
   •   Provide instruction to students to build digital fluency.
   •   Adjust Information Technology (IT) Support as necessary to support teachers, students, and
       families. The following innovative strategies identified by NYS educators may be possible con-
       siderations for increasing IT support:
           o Tech-Savvy Staff: Designate staff members to provide ongoing support with technolo-
               gy to students, teachers and families. Consider developing a schedule and assigning a
               technology point person to teachers by grade level or content area.
           o Student Technology Support: Several schools across NY have student technology sup-
               port programs. The May 2018 Edition of NYSED’s Ed Tech Innovators Newsletter high-
               lighted several examples.
           o Video Library: Create a video library on tech tutorials for student, teacher, and family
               technology use.
   •   Ensure student data privacy and security will be maintained and that the school and/or district
       are in compliance with Federal and State laws related to student technology use, including NY
       Education Law 2-d and Part 121 of the Commissioner’s Regulations.
   •   Consider streamlining the number of different tools that students will be expected to utilize


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       after an assessment of the effectiveness of digital tools, platforms, and resources utilized during
       school closures.
   •   Provide both support and flexibility to students when designing remote/blended/online learning
       experiences.
           o Work with colleagues, students, and families to identify multiple effective structures and
              supports. Open deadlines, ambiguous expectations, and/or lack of direct support from
              a qualified educator are difficult conditions for students and families. Students who par-
              ticipated in the Regents’ Reopening Task Force Meetings indicated that students who
              felt supported by their teachers and schools were more likely to have increased levels of
              engagement during remote learning.
                    Examples of structures and supports could include, but are not limited to, consis-
                      tent methods of communication and times that communications are sent, predict-
                      able deadlines, and the provision of instruction in multiple modalities (recorded
                      video, recorded audio, written translation).
           o Provide flexibility to decrease stress and increase equitable access for students and
              families. Older students may be taking on responsibilities such as caregiving or working
              outside of the home and may not be available during traditional school hours. Younger
              students may not be supervised by a parent or guardian during the school day, and their
              caregivers may not be in a position to effectively guide remote/online instruction.
                    One area requiring flexibility is printing. Many students do not have access to a
                      printer, especially if libraries are closed. Consider alternative learning activities that
                      do not require students to print.
                    Other examples of flexibility include, but are not limited to, weekly instead of daily
                      deadlines and choice boards with activities requiring varied levels of technology
                      access. For students with extremely limited internet access, schools may wish to
                      provide materials and assignments on a flash drive or other file storage device.

Resources
  • Aurora Institute (Formerly iNACOL) Continuity of Learning Resources
  • CoSN Guidance and Resources
  • ISTE Providing Effective and Equitable Digital Learning for all Students: Key Considerations for
     Districts
  • Joint Statement of Education and Civil Rights Organizations Concerning Equitable Education
     During the COVID-19 Pandemic School Closures and Beyond
  • NYSED: Funding Educational Technology
  • SETDA E-Learning Coalition




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TEACHING AND LEARNING
 New York students are entitled to a free
public education, even as we face the un-
precedented challenges presented by the
COVID-19 pandemic. All students must have
the opportunity to feel safe, engaged, and
excited about their learning, whether in-per-
son, remote, or some combination of the two.
At the heart of teaching and learning are the
relationships that students have with their
peers, teachers, and school community mem-
bers. Students are searching for a return to
their routines and a sense of normalcy, so all
efforts should acknowledge the importance of
setting a positive routine and welcoming envi-
ronment that supports students during this unpredictable time. During the upcoming school year, it is
of the utmost importance that individual student needs and equity are put at the center of all learning
experiences. Flexibility is essential when planning for the fall, and schools should be prepared to shift
between in-person, remote learning, and a hybrid model in a way that is least disruptive to students.
All schools must provide 180 days of instruction each school year to their students. Instructional days
shall be counted for programs that are delivered in-person, remotely, or through a hybrid model.
The following section includes information about the mandatory requirements and recommended
practices for schools as they prepare for the 2020-2021 school year, including information about Pre-
kindergarten, K-12 Programs, and Career and Technical Education.


Reopening Plan Mandatory Requirements13
    5 All schools must ensure that they have a continuity of learning plan for the 2020-2021 school
      year. Such plan must prepare for in-person, remote, and hybrid models of instruction.
    5 Instruction must be aligned with the outcomes in the New York State Learning Standards.
    5 Equity must be at the heart of all school instructional decisions.  All instruction should be devel-
      oped so that whether delivered in-person, remotely, or through a hybrid model due to a local or
13 Charter schools are required to develop re-opening plans that adhere to the principles set forth in the school’s charter. The charter
school will be required to comply with authorizer specific requirements including, but not limited to, authorizer approval or review of the
school’s re-opening plan. Pursuant to Article 56 of the Education Law not all Commissioner’s Regulations set forth in this guidance are
applicable to charter schools and schools should confer with their authorizer.



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    state school closure, there are clear opportunities for instruction that are accessible to all stu-
    dents. Such opportunities must be aligned with State standards and include routine scheduled
    times for students to interact and seek feedback and support from their teachers.
  5 Instruction aligned to the academic program must include regular and substantive interaction
    with an appropriately certified teacher regardless of the delivery method (e.g., in person, re-
    mote or hybrid).
  5 Schools must create a clear communication plan for how students and their families/caregivers
    can contact the school and teachers with questions about their instruction and/or technology.
    This information needs to be accessible to all, available in multiple languages based on district
    or charter school need, widely disseminated, and include clear and multiple ways for students
    and families to contact schools and teachers (e.g., email, online platform, and/or by phone).  


Considerations for Reopening plans
  •   Develop instructional experiences that are inclusive, culturally responsive, consider the
      needs of all students, and adhere to all established state regulations and guidelines
      (please see the Special Education and English Language Learner sections for more specific
      guidance).
  •   Develop a plan for how to support students who, due to the 2019-2020 school closure,
      need additional social, emotional, or academic support to ensure success in the 2020-2021
      school year. Students and their families should be involved in the planning for any remediation
      or support whenever practicable.  
  •   Maintain a positive mindset about student learning loss during the 2020 school closure. Allow
      ample time for students to re-adjust to the school setting. Before students are assessed, spend
      time on socialization and creating a climate of safety, comfort, and routine.
  •   Use a locally determined formative or diagnostic assessment to determine individual stu-
      dent needs and target extra help to ensure both academic and social-emotional needs are
      addressed.
  •   Provide opportunities for staff to meet prior to the start of school to discuss individual student
      needs and share best practices with in-person, remote, or hybrid models of learning.
  •   Identify any additional professional development needs for administrators, teachers, and teach-
      ing assistants for the upcoming school year, particularly those needs related to teaching re-
      motely and the use of technology.  
  •   Offer training and support for students and families/caregivers to ensure comfort and ease
      with instructional programs and any technological platforms and devices used to deliver in-
      struction.  




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Early Learning

Prekindergarten
All children are capable of learning, achiev-
ing, and making developmental progress
through access to a high-quality Prekin-
dergarten program. When planning for the
reopening of Prekindergarten programs, care
must be taken to ensure that the needs of our
youngest learners are addressed, whether
instruction is provided in- person, remote-
ly, or through a hybrid model. It is essential
that districts, schools, and eligible agencies,
including Community Based Organizations
(CBOs), operating Prekindergarten programs
create a plan for providing continuity of in-
struction for in-person, remote, and hybrid
learning models.

Reopening Plan Mandatory Requirements
  5 Districts and schools operating Prekindergarten programs must include Prekindergarten in the
     mandatory requirements outlined under Teaching and Learning above.
   5 All Prekindergarten programs that have a direct contract or a Memorandum of Understanding
     (MoU) with NYSED must submit a Reopening Plan to the Office of Early Learning. Additional
     information on the format and submission requirements will be forthcoming.
   5 Districts that contract with eligible agencies, including CBOs, to provide Prekindergarten
     programs must attest that they have measures in place to ensure eligible agencies with whom
     they contract will follow health and safety guidelines outlined in this guidance and required by
     the New York State Department of Health. The district must also ensure their eligible agencies
     have a Continuity of Learning plan that addresses in-person, remote, and hybrid models of
     instruction.

Health and Safety Considerations
State-administered Prekindergarten Programs should follow all guidelines set forth by the New York
State Department of Health when planning for 2020-21 Prekindergarten programming. The following


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health and safety guidance should also be considered:
   •   Family style eating should not be practiced due to social distancing requirements and for health
       and safety requirements.
   •   For classrooms without an interior bathroom, an adult should accompany each child to and from
       the bathroom outside the classroom and ensure that proper handwashing protocols are followed.
   •   Napping materials should be sanitized daily and, to the extent practicable, assigned to individual
       students for the school year.
   •   Center-based and small group learning is a critical component of a Prekindergarten instructional
       program. Districts, schools, and eligible agencies (including CBOs) should:
          o avoid centers that include multiple students using it at one time, such as water/sand
            tables, sensory tables, etc.;
          o provide students with individual sets of materials to avoid sharing of common items; and
          o follow proper sanitation guidelines from the Department of Health after children have been
            at a learning center or in small groups.

Instructional Practices and Programming Considerations
   • While the Department recognizes the importance of teacher and student interaction and peer
      interaction as part of the best practices of Early Learning, districts, schools and eligible agencies
      (including CBOs) should refrain from strategies and practices that encourage physical contact,
      such as hand-holding buddy systems.
   •   When developing remote learning plans, districts, schools and eligible agencies, (including
       CBOs), should be cognizant of the amount of time young learners are spending directly viewing
       screens. Time spent learning remotely can be devoted to authentic learning activities at home.
       For suggestions on websites and activities, please visit NYSED’s Continuity of Learning
       webpage.

Budget and Fiscal Considerations
  • For Universal Prekindergarten (UPK) and Statewide Universal Full-Day Prekindergarten
     (SUFDPK) programs that intend to operate in person, the maximum grant payable will continue
     to be based on a system of 1.0 Full Time Equivalency (FTE) calculated by combining the number
     of prekindergarten students in full-day and half-day programming.
          o If a program decides to convert Prekindergarten seats from full-day to half-day, the


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              maximum grant payable would be proportionately reduced based on the decreased FTE.
          o The FTE calculation and maximum grant payable will be determined by the number of full-
            day and half-day students enrolled as of December 1, 2020, not on Basic Education Data
            System (BEDS) day only for the 2020-2021 school year.
   •   As set forth in Education Law 3602-e, districts receiving UPK funding will continue to be required
       to set aside at least 10% of their allocation to collaborate with eligible agencies, including CBOs,
       to deliver prekindergarten instruction. To make available as many Prekindergarten seats as
       possible, while keeping social distancing factors in place for in-person learning, districts should
       consider partnering with eligible agencies, as defined in Education Law 3602-e, beyond the 10%
       minimum collaboration requirement.
   •   If a district or program decides that it is not feasible to operate a UPK or SUFDPK program in the
       2020-2021 school year, the UPK allocation/SUFDPK grant award will remain available for the
       2021-2022 school year unless action is taken by the legislature.
   •   Districts and schools that operate a full-day Prekindergarten must describe in their reopening
       plan how they will provide Continuity of Learning in an in-person, hybrid, or remote model that is
       aligned to the Prekindergarten standards. Regardless of the instructional model chosen, districts
       can count such participating students as 1.0 FTE.
          o Eligible agencies, (including CBOs), that are running an in-person, full-day program must
            submit to the district they contract with a Continuity of Learning plan should they have to
            move to a hybrid or remote model in order to continue to be paid for their services.

Staffing Regulatory Flexibilities
To provide flexibility for in-person Prekindergarten programs in the 2020-2021 school year, the following
will be allowable:
   •   Primary Instruction
          o Primary instruction should be delivered by a certified teacher as outlined in Education Law
            sections 3602-e and 3602-ee.
          o For flexibility and to comply with social distancing requirements for the 2020-21 school
            year, another staff member can oversee students during learning centers in an alternate
            learning space so the lead teacher can provide primary instruction to students.
   •   Staffing Ratios
          o 8 NYCRR 151-1.3 requires that for classes with 18 or fewer students, 1 teacher and


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             1 paraprofessional are required to be in the classroom. For classes with more than
             18 students, but not exceeding 20 students, 1 teacher and 2 paraprofessionals are
             required to be in the classroom. To provide flexibility and to maintain social distancing
             requirements, in the 2020-21 school year, districts may choose to offer smaller
             Prekindergarten class sizes with only 1 certified teacher in the room.
                   For districts and programs outside of New York City:
                        •    For 3-year-olds: 1 teacher in a classroom with up to 7 students including, but
                             not limited to, preschoolers with disabilities and English Language learners.
                        •    For 4-year-olds: 1 teacher in a classroom with up to 8 students including, but
                             not limited to, preschoolers with disabilities and English Language learners.
                        •    For districts and programs receiving UPK/SUFDPK funding, any class size
                             above 7 students for 3-year-olds or 8 students for 4-year-olds must adhere
                             to the staffing ratios required by 8 NYCRR 151-1.3 (as described above).
                   For New York City:
                        •    For 3-year-olds: 1 teacher in the classroom with up to 10 students including,
                             but not limited to, preschoolers with disabilities and English Language
                             learners to comply with New York City Health Code 47.23.
                        •    For 4-year-olds: 1 teacher in the classroom with up to 12 students including,
                             but not limited to, preschoolers with disabilities and English Language
                             learners, to comply with New York City Health Code 47.23.
                        •    For districts and programs receiving UPK/SUFDPK funding, any class size
                             above 10 students for 3-year-olds and 12 students for 4-year-olds must
                             adhere to the staffing ratios required by 8 NYCRR 151-1.3.

Cohorts Consideration
         o To the extent practicable, districts, schools, and eligible agencies (including CBOs),
           should “cohort” students to limit the potential exposure to the COVID-19 virus. For the
           younger students, this means that they are self-contained, preassigned groups of students
           with reasonable group size limits.
                   Responsible parties should enact measures to prevent intermingling between
                    cohorts, to the extent possible and make reasonable efforts to ensure that the
                    cohorts are fixed – meaning containing the same students – for the duration of the
                    COVID-19 public health crisis.

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                    Faculty may instruct more than one cohort so long as appropriate social distancing
                     is maintained.

Flexibility in Duration of Half-Day and Full Day Programs
   • While many half-day programs operate two sessions for 3 hours a day, school districts may
      consider operating their half-day Prekindergarten and Kindergarten classes for 2.5 hours of
      instructional time per day to allow for proper sanitization of the classroom between sessions.
   •   While many full-day programs operate for 6 hours a day, these programs may operate at a mini-
       mum of 5 hours of instructional time per day under existing regulations. For information regarding
       the 180-day requirement please refer to [page #]

Prekindergarten/Kindergarten Screening Considerations and Flexibility
   • Prekindergarten and Kindergarten screening should be done as soon as possible, following
      guidance from the New York State Department of Health.
   •   Under NYCRR 117.3(b), districts have until December 1, 2020 to complete screening of new
       students. Students who were screened by the district as a Prekindergarten student, under
       regulations, do not have to be screened in Kindergarten.
   •   To allow for flexibility, in the event schools are closed due to COVID-19, any student entering
       New York State public schools for the first time or who are re-entering a New York State public
       school with no prior screening record after December 1, 2020, should be screened as soon as
       practicable.
   •   To the greatest extent possible, the Emergent Multilingual Learner language profile to assess
       home language exposure should be administered to newly enrolled Prekindergarten students as
       soon as practical.

Considerations for Volunteers, Visitors, and Service Providers
  • Districts, schools, and eligible agencies (including CBOs) should limit the number of volunteers
     and unnecessary visitors to Prekindergarten classrooms.
   •   Districts, schools, and eligible agencies (including CBOs) should communicate clearly to
       volunteers and visitors any protocols that must be followed prior to entering prekindergarten
       classrooms.
   •   While in prekindergarten classrooms, volunteers and visitors should follow all the health
       guidance and protocols set forth by the Department of Health, districts, and eligible agencies


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       (including CBOs).
   •   Disability service providers for preschoolers should follow all health and safety protocols set
       forth by the Department of Health, districts, and eligible agencies (including CBOs) prior to
       entering the classroom.

Nursery Schools
Voluntary Registered Nursery Schools and Kinder-
   gartens (VRNS/Ks)
   •   The maximum class size should be no more
       than the number determined by the New York
       State Department of Health.
   •   Parent Cooperatives that are VRNS/Ks
       should follow the New York State Department
       of Health guidelines for health and safety
       to allow parents to continue to fulfill their
       commitment to the VRNS/Ks throughout the school year.
   •   For further guidance on volunteers and visitors in VRNS/Ks, please see the above section.

Grades K-6
Per Commissioner’s regulations, all students shall receive instruction that is designed to facilitate their
attainment of the State learning standards. Schools must insure that students receive high quality
rigorous, standards based instruction that will meet their acadmicacademic needs and allow them to
attain the learning standards in all curricular areas.
There are no subject specific time requirements in grades K-6 for any subject with the exception of
physical education (PE) (see separate section on PE). Educational programs delivered in these
grades should employ the best available instructional practices and resources and be mindful of max-
imizing instructional time and supports with these young learners.
Schools must plan for the possible contingency of fully remote learning. Remaining connected with
a methodology in place to support student learning while at home must be considered in a school’s
reopening plan. All students should have access to and interaction with an appropriately certified
teacher on a regular basis. Understanding that there are challenges with remote instruction that are
particular to certain school communities as well as individual students, schools should strive to en-
sure teachers have daily contact with students in some format in order to support both their academic
needs and social emotional wellbeing. Schools are responsible for developing a reporting mechanism


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to track teacher/student contact regardless of the instructional setting. (See Attendance section of this
guide)

Grades 7–12 – Units of Study
Per Commissioner’s regulations Part
100.4 and 100.5, all students shall be pro-
vided instruction designed to enable them to
achieve the State’s learning standards. These
regulations outline specific time (unit of study)
requirements for various subject areas. The
unit of study definition (180 minutes per week
or the equivalent) provides a framework for
the instructional entitlement for our students in
these grades. The intention is to provide a ma
ndated minimum amount of instruction (contact
hours) a school must provide in order to give
students the opportunity to master a body of
content in a certain subject.  Under normal
circumstances, in a face-to-face, in-person teaching environment, the State requires that school sched-
ules for students be built in adherence to this time requirement.
As a result of the COVID-19 pandemic, schools must plan for various contingencies that may make
it impossible for a specified amount of face-to-face contact between teachers and students. In or-
der for schools to plan for various types of instructional models, including remote and hybrid models,
schools should consider the time requirement of 180 minutes of instruction/week as a benchmark for
comparison when designing and delivering instruction aligned to the intermediate and commencement
level standards. It is important to ensure that all students have equitable access to high quality rigorous
instructional opportunities, and experiences, provided by highly qualified, certified teaching profession-
als, competent in the content or discipline of the course. The key question that districts should consider
when developing or adopting new modalities of instruction is the following:   


Are the instructional experiences, when considered as a whole, comparable in rigor, scope and magni-
                   tude to a traditionally delivered (180 minutes/week) unit of study?


Instructional experiences are not defined solely as a student’s time spent in front of a teacher or in front
of a screen, but time engaged in standards-based learning under the guidance and direction of a teach-
er. These experiences might include, but are not limited to: completing online modules or tasks; viewing

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instructional videos; responding to posts or instructor questions; engaging with other class participants
in an online or phone discussion; conducting research; doing projects; or meeting with an instructor
face to face, via an online platform or by phone. Schools must ensure that the learning is supported,
and students have access to assistance from a qualified teacher when they need it.


The definition of a “unit of study” has been revised in Commissioner’s Rregulations to further clarify
what may be considered in the design of such units of study.


       Unit of study means at least 180 minutes of instruction per week throughout the school year,
       or the equivalent. Equivalent shall mean at least 180 minutes of instructional time for instruc-
       tion delivered in a traditional face to face model or through alternative instructional experienc-
       es, including but not limited to through digital technology or blended learning, that represents
       standards-based learning under the guidance and direction of an appropriately certified teach-
       er. Instructional experiences shall include, but not be limited to: meaningful and frequent inter-
       action with an appropriately certified teacher; academic and other supports designed to meet
       the needs of the individual student and instructional content that reflects consistent academic
       expectations as in-person instruction. Any alternative instructional experience must include
       meaningful feedback on student assignments and methods of tracking student engagement.

Units of Credit
The priority for the instruction should be that which best prepares students to meet the learning out-
comes for the course. The design of the course, the selection of the curriculum, and the student ex-
pectations are set locally by the school or district. Any student who achieves the learning outcomes
for the course must be granted the unit of credit for such course if applicable.

Science Laboratory Requirements
Per Commissioner’s Regulations, courses that culminate
in a Regents examination in science must include 1200
minutes of laboratory experiences. Due to the possibility
of a hybrid or fully remote model of instruction as a result
of COVID-19, the 1200-minute lab requirement can be met
through hands-on laboratory experiences, virtual laboratory
experiences, or a combination of virtual and hands-on lab-
oratory experiences coupled with satisfactory lab reports
for the 2020-21 school year. This laboratory requirement


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is in addition to the course requirement and entitles a student to admission to a culminating Regents
Exam. The school district is responsible for aligning laboratory experiences specific to each science
course; determining the mode or modes of instruction; and identifying a viable vetted list of acceptable
virtual labs or a combination of virtual and hands-on labs that a student would need to complete for
each science course that culminates in a Regents examination. Schools must determine a method
for students to record laboratory experiences and satisfactory lab reports. In a virtual environment,
emphasis should be placed on the quality of the experience and the satisfactory completion of each
laboratory experience rather than the time spent in completing such laboratory experience. Any stu-
dent who has completed all laboratory experiences in accordance with teacher expectations shall be
deemed to have met the 1200-minute requirement.

Arts
Due to the hands-on nature of Arts instruction, additional considerations should be given to both the
managing of Arts instructional spaces, as well as the development of instructional methods to teach
the Arts via remote or hybrid models.



In-person Instructional Model
   • Consider what students have already learned when
      designing curricula for next year. What artistic process-
      es have students focused on during previous remote
      learning? What might need to be emphasized in the
      2020-2021 school year?
   • Prepare possible remote lessons in advance that en-
      hance and align to classroom instruction to prepare for
      possible future school closures.
   • Arts classrooms, sinks, costumes, instruments, mirrors,
      props, and other shared materials and surfaces should be cleaned following appropriate CDC
      State and local guidelines. This includes drying racks, changing rooms, easels, stage/dance
      studio floors, and music stands.
   • As with speaking loudly, singing can transmit the virus. Consider taking extra precautions such
      as having chorus outside and increasing the distance between students.
   • Consider asking students to maintain individual kits of “high touch” supplies such as scissors,
      markers, pencils, erasers, etc. to limit sharing of supplies between students. These supplies
      could also be taken home and used should schools or students return to remote learning.
   • Do not share instruments among students or staff.
   • Responsible Parties should ensure that a distance of twelve feet in all directions is maintained


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       between individuals while participating in activities requires projecting the voice (e.g., singing),
       playing a wind instrument.
   •   Consider limiting use of or alternatives for hard-to-clean supplies that are usually recycled such
       as clay.
   •   Create visuals and markings on the floor to reinforce social distancing and manage the flow of
       students in the classroom.
   •   Have hand hygiene supplies close to shared materials and surfaces.
   •   Increase transition time to account for time needed for cleaning.

Remote Instructional Model
  • Prepare for remote learning by planning individualized projects that can connect and reinforce
     in-person classroom learning.
  • Consider in advance what materials might be suggested for students to have on hand at home or
     create assignment that can be completed with items easily found at home.
  • Create a plan for how to give students assignments, feedback, and track their progress.
  • Consider combining synchronous and asynchronous learning opportunities to maintain commu-
     nity and teacher access.
  • Develop digital and non-digital options for sharing student’s creative works within the classroom
     community and with the broader school community.

Hybrid Instructional Model
  • Organize curricular lessons according to which must be done in person and which might be com-
      pleted remotely to support in-person instruction.
  • Anchor standards, Creating and Presenting lend themselves more so to in-person instruction,
      while Responding and Connecting are standards that may be able to be addressed in a remote
      instructional model.
  • Determine methodologies to connect with students and support learning while students are at
      home.
  • During in-person instruction, prepare students with the skills and knowledge they will need when
      working remotely (e.g., online platforms, tools, available resources, etc.).
  • Use digital platforms and other methodologies that will enable students to collaborate on group
      projects even if at home.
  • Focus on personalized learning.
  • Utilize resources such as digital field trips and online arts collections. Resources such as these
      can be found on the Continuity of Learning Website.




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Arts Resources
   • COVID-19 instrument Cleaning Guidelines by National Federation of State High School Associa-
      tions, National Associations for Music Education, and the NAMM foundation.
   • Guidance for Return to High School Marching Band from the National Federation of State High
      School Associations Music Committee and Sports Medicine Advisory Council.
   • School Bands Committee of the American Bandmasters Association has released Consider-
      ations and Program Ideas for Band Teachers.
   • National Art Education Association’s Preparing for the 2020-2021 School Year published by the
      National Art Education Association
   • Educational Theatre Associations Recommendations for Reopening School Theatre Programs
   • Dance USA Return to Dancing and Training Considerations due to Covid-19


Physical Education
Participating in Physical Education (PE) is important for our
students’ health and wellbeing. Not only do PE activities
benefit students’ physical health, but research indicates
regular physical activity improves students’ mental health as
well as contributes to academic success. School re-open-
ing plans should ensure that whether in-person, remote, or
hybrid models are utilized, students should be participating
in physical activity under the direction and supervision of
a certified physical education teacher to the extent prac-
ticable. Understanding that hybrid schedules may lim-                                                        it
face-to-face class time with a certified PE instructor, such
instructors should plan, to the best of their ability, a menu of learning activities for students to engage in
under the direction of their classroom teachers, other staff, or independently.
The Society of Health and Physical Educators (SHAPE) has released a website outlining school reentry
considerations for returning to school in the 2020-2021 school year. The website provides a number of
excellent resources including, but not limited to: equipment and safety; personal hygiene; recess; class-
room-based activity; social emotional learning; trauma-sensitive learning environments; and student
assessments. They also give suggestions for instructional strategies for in-person, remote and hybrid
models. Several considerations are listed below, however, all resources can be found at the link above.

In-Person Learning
   ● Per New York State Health Department Guidelines districts and schools should ensure that a dis
      tance of twelve feet in all directions is maintained between individuals while participating in activi


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       ties that require aerobic activity and result in heavy breathing (e.g., participating in gym classes).
   •   Consider using a microphone and speaker when delivering instruction to students. The use of
       face coverings and the need for students to spread out to accommodate physical distancing may
       make it more difficult for teacher instructions to be heard.
   •   Focus more on individual pursuits or skills rather than traditional team sports or activities (e.g.,
       dance and rhythms, exercises without equipment, fitness, mindfulness, outdoor pursuits, track
       and field, throwing underhand, kicking, and target games).
   •   Use games and activities that require no physical contact and do not require students to be in
       close physical proximity to each other.
   •   Include opportunities for student choice and incorporate student-suggested activities when ap-
       propriate.
   •   Ensure lessons are planned around the available space for instruction.

Remote Learning
  • Create opportunities for students to share and connect with one another.
  • Review current curriculum and determine which lessons or activities can be repurposed as at-
     home work or completed online (depending on students’ access to technology).
  • Consider if students can participate safely in the selected activities. (Will students have enough
     space? Will an adult need to help or supervise the activity?)
  • Consider if regular daily classroom routines and procedures can be translated into a remote ac-
     tivities. This will help students feel a sense of familiarity while reinforcing the sense of community
     for the class.
  • Consider special events or activities that can be done remotely (e.g., At-Home Family Field Day).
  • Consider using videos or images demonstrating activities or skills.

Hybrid Model
  • Consider assigning tasks for at-home completion and then have students apply the knowledge
      gained in the school setting (i.e., have students practice a skill at home and then apply it during a
      class activity).
  • In school, have students participate in individual physical activities (e.g., dance, yoga, track
      and field, fitness stations) that comply with physical distancing guidelines and require little or no
      equipment. When students are at home, have them focus on activities for motor skill develop-
      ment (e.g., underhand throwing, self-toss and catch, catching with a parent or sibling).
  • Consider a flipped classroom approach where students first learn about a topic at home and then
      come prepared to learn more about it in class (e.g., students watch a video about The Haka at
      home, then in school the teacher answers questions and teaches in more depth).
  • Consider switching from providing direct instruction to more of a student-directed instruction ap-


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       proach (e.g., project-based learning or flipped classroom).
   •   Provide synchronous learning opportunities (distance learning that happens in real time) with op-
       portunities for asynchronous learning as much as possible; record lessons to provide to students
       who may not have access in real time.
   •   Allow for optimal student choice and provide opportunities for students to engage with teachers
       directly and often. This will be crucial to keep students motivated. Additionally, students are more
       interested in seeing videos created by their own teachers than shared videos created by other
       teachers.

Physical Education Resources
  CDC Consideration for Youth Sports, Guidance as of June 12, 2020 from the CDC COVID-19 Youth
  Sports Web Page.

   CDC Cleaning and Disinfection Community Facilities, Guidance as of June 12, 2020 from the CDC
   Covid-19 Cleaning and Disinfection Web Page.

   SHAPE- K-12 Physical Education Health Education and Physical Activity Re-entry: https://www.sha-
   peamerica.org/advocacy/K-12_School_Re-entry_Considerations.aspx

   CDC- Guidance as of 5/19/20: https://www.cdc.gov/coronavirus/2019-ncov/community/schools-child-
   care/schools.html



CAREER AND TECHNICAL EDUCATION (CTE)

CTE Content and Delivery
While planning for CTE instruction, whether through in-per-
son, remote, or hybrid models, school districts and BOCES
must ensure that all applicable NYS Learning Standards are
met and content that is critical for meeting these standards
as well as requirements for applicable industry certifications
or other postsecondary credentialing is identified. Addition-
ally, for those programs in fields such as health sciences,
barbering, and appearance enhancement where specific
curricula and/or clinical hours are mandated by other state
agencies (Department of Health and Department of State respectively), consideration must be given to
ensuring requirements of the programs are met. All planning should be done within the context of meet-

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ing NYS Department of Health guidelines for health and safety and social distancing policies. CTE
laboratory spaces should be set up to accommodate all such policies.
CTE coursework must continue to be taught by appropriately certified CTE teachers. Instructors who
are required to hold a NYS professional license for a particular content area (i.e., health sciences, bar-
bering, appearance enhancement) must maintain such license without lapse. All CTE laboratory/clini-
cal instruction and supervision must be delivered by the appropriately certified CTE teacher. Flexibility
is allowed for other staff (under the guidance of the CTE teacher) to supervise student groups in a
non-laboratory/clinical setting to better adhere to social distancing guidelines. Considerations for CTE
content and delivery include:

Modifying learning for social distancing and/or remote learning
  • Identify content that takes precedence in the event instructional capabilities are modified and/or
      changed throughout the year.
  • Identify those activities that must take place in a classroom and those that can be completed
      independently.
  • Determine what students need to complete all learning activities and how to provide access to
      necessary materials.
  • Consider providing individualized student “to go” kits to enable students to pivot to remote
      learning if necessary. These kits could be assembled by learning module and exchanged out
      as students complete each module.
  • Utilize online platforms when teaching in person to build practice among students in the event
      that districts may need to switch to remote learning.
  • Create instructor videos demonstrating skills or teaching content for use both in and outside of
      the classroom.
  • Consider livestreaming video of what is taking place inside the classroom in the event some
      students are home, and some are present.
  • Consider opportunities for instructors to operate portable video cameras during lessons. For
      example, when an instructor is providing a laboratory demonstration, he or she can display to
      students in their seats instead of them standing closely watching the demonstration.
  • Consider modifications to laboratory skills or clinical days to reduce risk of transmission (i.e.,
      designated lab/clinical days)
  • Determine procedures for sharing, disinfection, and decontaminating materials and equipment

Keeping students engaged remotely
  • Create a set schedule for class meeting times. Class meeting times should be used to address
     large group instruction and/or issues impacting the whole class.
  • Schedule small group and/or individual check-ins around full class meeting times.


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   •   Consider incorporating current topics into the field of study to aid in interest and engagement
       along with incorporating current industry safety and infection control practices within curricula.
   •   Ensure a positive and respectful classroom culture exists to support students’ social-emotional
       needs. (link to the SEL section)


Work-based Learning
School districts and BOCES will need to collaborate with all business and industry partners to identify
and ensure safe and healthy work-based learning opportunities. Students should be provided opportu-
nities to participate in work-based learning, either in-person or remotely to the extent possible. In imple-
menting work-based learning for the 2020-2021 school year, consider the following:

Supervision
         • All registered work-based learning programs must be supervised by an appropriately certi-
            fied work-based learning coordinator.
         • Refer to the work-based learning manual for guidelines on certification and how frequently
            students should be supervised.

Work-Site Placements
         • Depending on the region or industry, business and industry partners may have a reduced
            ability to sponsor students for work-based learning experiences. Priority for experiences
            should be given to those students who need work-based learning hours to meet gradua-
            tion or CDOS exit credential requirements. The work-based learning coordinator should
            remain actively engaged with the needs of business and industry as they may change
            rapidly.

Flexibility in Program Requirements
           • Registered Internship Programs (CEIP, Co-op, GEWEP, and WECEP): Internship hours
               for registered programs may be completed in a fully remote format where practical. The
               work-based learning coordinator and other interested school staff should determine, in
               collaboration with business and industry partners, where remote and/or hybrid (some on-
               site, some remote) experiences are practical given a student’s training plan.
           • Non-Registered Work-Based Learning Experiences: Where practical, and when super-
               vised by school staff, non-registered work-based learning experiences may be conducted
               in a remote or hybrid format.
           • For those programs which require a minimum number of work-based learning hours,
               schools should strive to provide comprehensive and thorough work-based learning expe-

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              riences that meet the needs of the students (may be through remote or hybrid means, if
              practical). However, schools may exercise discretion if a student is not able to meet the
              minimum hours requirement set for the program and/or credential being sought.
          •   Health Sciences students are required to complete supervised clinical hours under reg-
              ulations set forth by the Department of Health. All regulations from the Department of
              Health must be followed when planning and supervising clinical experiences.
          •   Supervised clinical experiences for students in appearance enhancement programs
              must meet all guidelines set forth by the Department of State.
          •   School-based enterprises must follow all NYS Department of Health guidelines for
              cleaning and social distancing. Consider alternative methods of transactions (e.g., di-
              rect deliveries, e-commerce, etc.).


Considerations for Students with Disabilities
          •   The work-based learning coordinator, transition coordinator, and all other service provid-
              ers must work collaboratively to design work-based learning experiences that are in line
              with students’ individualized education program (IEP) goals.
          •   Where practical, remote or hybrid experiences may be used towards work-based learn-
              ing hours.
          •   Consider placements in the school building if participating outside businesses are not
              able to meet students’ IEP requirements (job coaching, PPE, etc.).
          •   Additional guidance and best practices are available from the National Technical Assis-
              tance Center on Transition


Business and Community Partnerships
A high quality CTE program is planned with input from business and community partners. Consider
the following for the 2020-2021 school year to continue business and community partner engagement:
   •   Continue to have business and community participation in advisory council meetings. Utilize
       videoconferencing if necessary.
   •   Establish and communicate clear safety protocols that will be expected prior to student and in-
       structor participation at internship or clinical sites. Determine who will provide appropriate PPE
       for students and instructors.
   •   Incorporate industry partners into virtual student interactions, student career development, and
       instruction to the extent possible.
   •   Seek legal counsel regarding potential changes and the implementation of those changes into
       existing agreements and waivers, especially in light of COVID-19.


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   •   Re-evaluate labor market needs with business and industry partners and adapt curriculum and
       program offerings as appropriate.


Student Career Development
CTE programs of study should continue to provide high quality career advisement and exploration op-
portunities to students through either an in-person, remote, or blended instruction environment. Con-
sider the following when planning student career development experiences in the 2020-2021 school
year:
   •   Using the CTE Career and Financial Management framework to enrich career development if
       hands-on learning and skill practice may not be feasible in person.
   •   Using virtual options to facilitate career exploration including, but not limited to, job shadowing;
       guest speakers; career fairs; interview skills; job training; professionalism and proper use of virtu-
       al platforms; and other activities that allow safety guidelines to be followed by all involved.
   •   Utilizing school counselors and other school staff to facilitate and support career development
       and advisement within the district or BOCES.


Career and Technical Student Organizations (CTSOs)
   •   Consult with the respective state and national organizations for each CTSO to determine what
       their policies and procedures are for a COVID-19 impacted school year.
   •   Consider if conferences, meetings, service projects, programs of work, and events can be con-
       ducted remotely if face to face meetings cannot take place. NYS Department of Health guide-
       lines regarding social distancing, equipment, and events must be followed when planning CTSO
       events.
   •   Consult with local legal counsel regarding any concerns regarding EdLaw 2D and any other
       questions regarding allowable platforms for teleconferencing.
   •   Consult the NYSED CTSO page for additional information as it becomes available.


Program Approval, Data Reporting, Perkins, and Civil Rights

Program Approval
   • Program applications for reapproval and/or initial approval of CTE programs, work-based learn-
      ing programs, and health science operational approvals will continue to follow established sched-
      ules and deadlines.
   • Digital signatures and/or a PDF of a signed application(s) are acceptable for the initial electronic
      submission of re-approval and initial approval forms. Original signatures should be on the paper

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       applications which still need to be mailed to the CTE Office.
   •   Any changes to NYSED-approved CTE programs will require a submission of a program amend-
       ment form to the Office of CTE for approval.

CTE Data Reporting
   • CTE data reported for the 2019-20 school year will be reported only for NYSED-approved CTE
      programs using streamlined procedures found on the Office of CTE data reporting page.
   • CTE data will be reported to the SIRS by the program provider—the agency that operates the
      NYSED-approved CTE program (i.e., BOCES will report on the programs they deliver).
   • BEDS Business/Employer/Community Involvement data collection for Grades 7 and 8 will be
      discontinued starting with the 2020-21 school year. Reporting of work-based learning experienc-
      es for Grades 9-12 will continue.

Perkins
   • Grant documentation submission deadlines are posted on the Office of CTE home page.
   • Amendments to submitted Comprehensive Local Needs Assessments (CLNA) will be considered
      for COVID-19 related needs.
   • Digital signatures and/or a PDF of a signed application are acceptable for the initial electronic
      submission of the CLNA, CLNA Summary, and application with budget forms FS-10 and FS-10A.
      Original signatures should be on the paper grant applications and FS10s which still need to be
      mailed to the CTE Office.

Civil Rights
No flexibilities in the compliance with federal civil rights laws will be granted. Districts and BOCES must
continue to comply with federal civil rights requirements, including Title VI of the Civil Rights Act of
1964, Title IX of the Education Amendments of 1972, Section 504 of the Rehabilitation Act of 1973, Title
II of the Americans with Disabilities Act, and requirements under the Individuals with Disabilities Educa-
tion Act. It is New York’s responsibility to comply with these civil rights requirements, including through
the State’s Methods of Administration State Plan under 34 C.F.R. Part 100, Appendix B.
Remote procedures will be utilized for civil rights monitoring.

Resources
  High Quality CTE: Planning for a COVID-19 Impacted School Year, Association for Career and
  Tecnical Education (ACTE)

   CTE Technical Assistance Center of New York

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Academic Intervention Services
Students in grades 3-8, including students with disabilities and English Language learners, who are at
risk of not achieving State Learning Standards in English Language Arts, Mathematics, Social Studies,
and or Science are entitled to receive Academic Intervention Services in accordance with Commis-
sioner’s Regulations section 100.2(ee). As the New York State Assessments in grades 3-8 were not
administered in the 2019-20 school year, districts shall use a district developed procedure to be applied
uniformly at each grade level for determining which students are entitled to such services. Districts may
consider students’ scores on multiple measures of student performance, which include, but are not limit-
ed to, one or more of the following measures:
   •   Developmental reading assessment
   •   Benchmark and lesson embedded assessments
   •   Common formative assessments
   •   Unit and lesson assessments
   •   Results of psychoeducational evaluations
   •   Diagnostic screening for vision, hearing, and physical disabilities as well as screening for possi-
       ble disabilities pursuant to Commissioners Regulations Part 117


Grading
Determination of grading policies continues to be the purview of each local school or district. Due to
local control, these policies vary widely across the state. Given the flexible instructional models, schools
should develop grading policies applicable to each model that are clear and transparent to students,
parents, and caregivers. Such policies should align clearly to the outcomes of the course and the
State’s learning standards.


Assessment
As districts and charter schools develop instructional models under the three delivery methods (in-per-
son, remote and hybrid), attention must be paid to how students are assessed and further, how student
progress will be communicated to parents and caregivers.
The following are some criteria districts or charter schools may wish to consider when developing their
plan for assessments in the 2020-2021 school year:
   •   Focus on preassessment and embedded formative assessments to inform instruction
   •   Build in time and opportunities for educators to collaborate and plan for the creation of preas-
       sessments
   •   Consider the testing accommodation needs of some students when planning the approach to

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       assessments.
   •   Determine a suite of assessment tools that can be utilized in various instructional models, re-
       mote, hybrid and in-person
   •   Develop a strategy to determine those students who are in need of academic intervention ser-
       vices (AIS) in accordance with the Department’s guidance and plan to provide in-person, remote-
       ly, or in a hybrid model.


Libraries
School Libraries are an integral part of the learning ecosystem, and school library media specialists play
an essential role in helping students gain information, media, and digital fluency skills. Schools and dis-
tricts are encouraged to consider ways in which school library media specialists can support high-quali-
ty instruction in hybrid and remote models.


Resources
The following websites may be of assistance as districts and charter schools plan for the re-opening of
schools:
   •   Prekindergarten and Early Learning Resources
   •   Content Area Learning Standards/Office of Curriculum and Instruction
   •   Career and Technical Education
   •   Culturally Responsive Sustaining Education
   •   Continuity of Learning Resource Page
   •   Bilingual Education and World Languages
   •   Office of Special Education



ATHLETICS AND EXTRACURRICULAR ACTIVITIES
Interscholastic sports, and extracurricular activities are an important aspect of student life and the
school community. During the COVID shutdown students were unable to engage in and enjoy these
social activities that are part of the fabric of any school program. As schools plan for reopening in Sep-
tember, attention should be paid to bringing back activities that can be conducted in a safe environment
with appropriate social distancing protocols. In addition, schools might consider the creation of extracur-
ricular activities that can be continued remotely in the event of another shut down.
Per the reopening guidance issued by the NYS Department of Health, schools/districts must develop


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policies regarding extracurricular programs including which activities will be allowed, considering social
distancing, PPE usage, and cleaning and disinfection, as well as risk of COVID-19 transmission (e.g.,
interscholastic sports, assemblies, and other gatherings). Policies should consider how to maintain co-
horts, if applicable, or members of the same household. Schools/districts should refer to DOH’s “Interim
Guidance for Sports and Recreation During the COVID-19 Public Health Emergency” to assist in devel-
opment of these policies; however, interscholastic sports are not permitted at the time of publication of
this guidance, and additional information on athletic activities is forthcoming.


Interscholastic Athletics
Per the NYDOH Guidance Interscholastic sports are not permitted at the time of publication of this guid-
ance, and additional information on athletic activities is forthcoming.
The New York State Public High School Athletic Association (NYPSPHSAA) has established a
COVID-19 Task Force comprised of NYSPHSAA member superintendents, principals, athletic direc-
tors and executive directors in addition to representatives from New York State Athletic Administrators
Association and State Education Department. The Task Force will provide guidance when New York
high school student-athletes are allowed to return to athletics. The task force is reviewing State and
local health guidelines, as well as NYSED guidance, regarding the 2020-2021 school year to deter-
mine, among other things, the extent to which changes may be needed for each interscholastic sports
season. The COVID-19 Task Force will continue to review all aspects of the fall 2020 season and the
2020-2021 school year related to the COVID-19 crisis, such as practice requirements; fan attendance;
resocialization efforts; protocol; procedures; transportation; etc. As more information becomes available
it will be shared on the NYSPHSAA website


Considerations for Athletics and Extracurricular Activities
   •   Restrict and/or limit use of school/district facilities to district or school sponsored extracurricular
       activities and groups. If any external community organizations are permitted to use school/district
       facilities, schools/districts must ensure such organizations follow State and locally developed
       guidance on health and safety protocols.
   •   Maximize the use of technology and online resources to create or continue some extracurricular
       activities that may not need or has limited person-to-person contact.


Extracurricular Activities and Use of Facilities Outside of School Hours
All extracurricular activities and external community organizations that use school facilities must follow
State and local on health and safety protocols and must comply with applicable social distancing re-


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quirements and hygiene protocol.
   •   Follow New York State Department of Health guidelines and CDC guidelines on wearing of
       masks, handwashing and social distancing.
   •   For more information on cleaning and disinfection, review sanitation guidelines from CDC at
       CDC Cleaning and Disinfection Community Facilities , CDC Reopening Guidance on Cleaning
       and Disinfection Public Spaces Workplaces, Businesses Schools and Homes



SPECIAL EDUCATION
Students with disabilities were particularly
impacted by the closing of schools in spring
2020. In some cases, these students were
unable to fully access the programs and ser-
vices they needed to progress academically,
particularly those programs and services that
are best delivered in person. School reopen-
ing plans must always consider the special
needs and requirements of students with
disabilities.
Special education programs and services
provide equity and access for students with
disabilities to be involved in and to participate and progress in the general education curriculum. School
reopening plans must provide a framework to ensure that all students with disabilities continue to have
available to them a free appropriate public education (FAPE) that emphasizes special education and
related services designed to meet their unique needs and prepare them for further education, employ-
ment, and independent living. In consideration of the health, safety, and well-being of students, fam-
ilies, and staff, school reopening plans must be designed to enable transitioning between in-person,
remote, and hybrid learning environments to ensure the provision of FAPE consistent with the changing
health and safety conditions that exist.
NYSED’s Office of Special Education (OSE) has created guidance documents to address frequently
asked questions raised by parents, educators, administrators, and other key stakeholders regarding
the implementation of special education programs and services and the provision of FAPE during this
public health crisis. The OSE guidance is based on current information released from the United States
Department of Education (USDE) as well as information contained in New York State Executive Orders
and New York State Department of Health guidance. For your reference, links to the relevant federal


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and NYS resources are included at the end of this section.


Reopening Plan Mandatory Requirements
   5 The school reopening plan, whether services are provided in-person, remote, and/or through
     a hybrid model, must address the provision of FAPE consistent with the need to protect the
     health and safety of students with disabilities and those providing special education and ser-
     vices.
   5 The school reopening plan must address meaningful parent engagement in the parent’s pre-
     ferred language or mode of communication regarding the provision of services to his/her child
     to meet the requirements of the IDEA.
   5 The school reopening plan must address collaboration between the committees on preschool
     special education (CPSE) and committees on special education (CSE) and program providers
     representing the variety of settings where students are served to ensure there is an under-
     standing of the provision of services consistent with the recommendations on individualized
     education programs (IEPs), plans for monitoring and communicating student progress, and
     commitment to sharing resources.
   5 The school reopening plan must ensure access to the necessary accommodations, modifi-
     cations, supplementary aids and services, and technology (including assistive technology) to
     meet the unique disability related needs of students.
   5 The school reopening plan must address how it will document the programs and services offered and
       provided to students with disabilities as well as communications with parents, in their preferred lan-
       guage or mode of communication.

Considerations for Reopening Plans
  • The school reopening plan encourages CPSEs/CSEs to prepare contingency plans to address
     students’ remote learning needs in the event of potential future intermittent or extended school
     closures.
   •   The school reopening plan considers in-person services a priority for high-needs students and
       preschool students with disabilities whenever possible.

Least Restrictive Environment (LRE)
Students with disabilities must have equal access to high-quality programs that are designed, based
on their individual needs and abilities, to enable them to achieve the desired learning results estab-
lished for all students. Schools are encouraged to be creative in ensuring that students with disabil-

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ities have opportunities for instruction with students without disabilities to the greatest extent possible
consistent with their IEP. If providing in-person instruction, schools must ensure that health and safety
requirements do not result in the unnecessary separation of students with disabilities from their non-dis-
abled peers.

LRE Documentation
As schools plan to reopen and make determinations about how students with disabilities will receive
access to the LRE, they must consider how that process is documented, including who is involved in
making those determinations. Schools should consider how the parent voice in making LRE consider-
ations is documented.


IEP Implementation
Until schools return to normal operating conditions, the same flexibility with respect to IEP implementa-
tion for delivery of services during school closures due to the COVID-19 outbreak continues to apply to
the programs and services whether delivered in-person and/or remotely (e.g., flexibility with respect to
the mode and/or manner; group or individual sessions; specific group size for related services, frequen-
cy, duration and location of related services, and special class size ratio etc.).

Provision of Services
Consistent with previously issued OSE guidance, school districts must ensure that, to the greatest ex-
tent possible, each student with a disability can be provided the special education and related services
identified in the student’s IEP. During the 2020-21 school year, due to the health and safety require-
ments that must be in place when schools resume, schools may not be able to provide all services
in the same mode and/or manner they are typically provided. Schools will need to determine what
methods of delivery of services will be utilized to deliver special education programs and services to
meet the needs of students with disabilities as they plan for various types of instructional models includ-
ing in-person and remote learning. When providing remote services, schools should continue to use
the information included in OSE’s March 27, 2020 and April 27, 2020 guidance documents.

Progress Monitoring
Teachers and service providers must continue to collect data, whether in-person or remotely, and use
these data to monitor each student’s progress toward the annual goals and to evaluate the effective-
ness of the student’s special education services. Determining student progress is necessary for un-
derstanding the student’s present levels of academic achievement and functional performance, and for
determining whether, and to what extent, the school closures may have disrupted the student’s learning.
Reports of progress to parents may be made via telephone or other electronic means if progress report-
ing procedures specified in the student’s IEP cannot be met with reasonable efforts.

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Best Practice for Contingency Plans
In March 2020, NYSED provided guidance in conformance with the federal Office of Special Education
Programs (OSEP) that IEPs did not need to be amended as schools converted to online or virtual learn-
ing platforms. As the COVID-19 pandemic evolves, CPSE/CSE should prepare for all contingencies
and consider plans to address students’ remote learning needs in the event of potential future intermit-
tent or extended school closures.

Compensatory Services
Because schools were required to provide FAPE consistent with the need to protect health and safety
in the first instance, students may have experienced a loss of skills despite best intentions, efforts and
creative solutions when providing educational programs and services. In these circumstances, CPSEs/
CSEs must make an individualized determination whether and to what extent compensatory services
are to be provided once school reopens; how those services will be provided in conjunction with the
school’s reopening plan and continue if the school must close again over the next school year.

IEP Implementation Documentation
   • Schools must determine how they will process and maintain the additional documentation re-
      garding changing student needs due to the period of remote instruction and a return to a tradi-
      tional classroom environment after a lengthy period away from in-person instruction.
   • Schools must determine how documentation will be maintained on the instruction and services
      that were provided to each student so that it may be communicated to the CPSE/CSE for consid-
      eration when making any individualized determinations of subsequent student needs, including
      transition services.
   • Schools must consider how formative assessment and ongoing monitoring of student progress
      will be documented and maintained and how that documentation will be available to the CPSE/
      CSE and parents, in their preferred language or mode of communication.
   • Schools must maintain documentation of collaboration with parents to develop any contingency
      remote learning plans that may be implemented during a school closure.
   •   Schools must document the ongoing provision of compensatory services to individual students
       upon the reopening of schools. Documentation will then be available to parents, CPSE/CSE and
       other relevant parties, in their preferred language or mode of communication.

Child Find
As schools reopen, it is important for school districts to remember their responsibilities under IDEA to
identify, locate, and evaluate all students with disabilities who are in need of special education and relat-
ed services while keeping in mind the impact that school closures may have had on all students.


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Referral
Before referring a student for special education, school districts should take into consideration all
factors that may have influenced the student’s progress during school closures due to COVID-19. If
the school district suspects a student of having a disability, it must refer the student for an initial spe-
cial education evaluation and obtain parent consent for the evaluation. However, a referral may not be
warranted if the reason for underperformance is due to school closures and a change in the provision
of education. All parent referrals and request for referrals by school staff should be considered as usu-
al per the procedures in Commissioner’s Regulations section 200.4(a).

Initial Evaluation/Reevaluation
Reopening plans must ensure that special education evaluations (i.e., initial and reevaluations) are
conducted whether in-person or remotely within required timelines. The use of technology should
be considered to meet timelines for evaluations and reevaluations that must be conducted remotely.
CPSEs/CSEs should review records to determine which students are due for an initial evaluation or
reevaluation and have a plan to address any backlog of evaluations. Schools should continue to fol-
low OSE’s March 27, 2020 and April 27, 2020 guidance for conducting evaluations and reevaluations
during the COVID-19 pandemic to meet the special education timelines.

Eligibility Determination/Annual Review Meetings
School districts should develop clear procedures and expectations for CPSEs/CSEs to meet as re-
quired including to make eligibility determinations following initial evaluations and to review and, if
appropriate, revise each student’s IEP at least annually. When conducting CPSE/CSE meetings, the
parent of a student with a disability and a school district may agree to use alternative means of meet-
ing participation requirements, such as video conferences and teleconferences..


Communication/Coordination
Ensuring clear, ongoing, and shared communication and collaboration is critical to ensuring equitable
access to special education programs and services and the continued offer of FAPE for students with
disabilities. School districts and approved programs serving students with disabilities must collabo-
rate with parents and families to ensure that students continue to be provided FAPE consistent with
the need to protect the health and safety of students and their service providers.

Meaningful Outreach and Engagement with Parents of Students with Disabilities
In addition to the communication efforts schools make for all students, parents of students with dis-
abilities have a legal right to be informed regarding the identification, evaluation, educational place-
ment, and the provision of FAPE to their child. Whether special education programs and services are

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provided in-person, remotely, or through a hybrid model, effective communication between school
personnel and parents includes the following:
   •   Working collaboratively and creatively to help ensure there is an understanding of the school’s
       efforts to provide services consistent with the recommendations on the IEP and monitor student
       progress; and
   •   Communicating with parents in their preferred language or mode of communication and docu-
       menting outreach efforts.

Procedural Safeguards and Prior Written Notice Requirements
   • School districts must continue to provide the procedural safeguards notice to parents.
   • School districts must continue to provide parents with prior written notice in a reasonable time
     before a change in the identification, evaluation, educational placement or provision of FAPE to
     the student.
   • The procedural safeguards notice, prior written notice, and CPSE/CSE meeting notice may be
     provided to the parent by email if the parent elected to receive documents by email.
   • Prior written notice is not required if instruction or related services continue to be provided
     remotely or through a hybrid model because remote learning and telepractice is considered
     an alternate mode of instructional delivery and not considered a change in the student’s edu-
     cational placement. If, however, based on current circumstances, revisions or additions to a
     student’s IEP need be made to continue to meet the student’s needs while school is closed due
     to COVID-19, such changes must be made by the CPSE/CSE at a meeting or through a written
     agreement with the parent to amend the IEP without a meeting (with the expectation that par-
     ents must be provided a copy of the document amending the IEP and prior written notice of the
     proposed changes to the IEP).

Partnership and Collaboration to Reflect All Settings Where Students are Served
The diverse educational needs of students with disabilities are reflected through the continuum of
services that are provided in a variety of settings. As school districts are ultimately responsible for the
provision of FAPE, frequent opportunities to interact with representatives from all applicable school
settings will best facilitate the collective review of effective service delivery and student progress
monitoring. For those students who are receiving special education programs and services in a char-
ter school, Board of Cooperative Educational Services (BOCES) program, independent or religious
school, approved school-age program serving students with disabilities, or for approved preschool
special education providers contracted by the county, each school district must conduct outreach ef-
forts to remain informed regarding the planned activities for the nature and delivery of instruction and
related services and to identify shared resources, materials, and technology that may be available to
students, as appropriate.

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For those special education programs and services delivered via a contract with a school district or
county, the provision of instruction and related services must continue to be documented by the stu-
dent’s contracting school district program, BOCES program, nonpublic school with an approved spe-
cial education program, Special Act school district, State-operated school, State-supported school,
preschool special class or preschool special class in an integrated setting program, preschool special
education itinerant service provider, or related service provider, as applicable, so that these activities
may be communicated to the school district responsible for developing students’ IEPs. This documen-
tation is necessary for consideration when making individualized determinations as to whether changes
to the IEP recommendation or compensatory services are needed, under applicable standards and
requirements. Successful and continued partnerships between program providers and school districts
will reflect coordinated efforts necessary to best respond to student needs.

Accommodations and Modifications
Schools must review their instructional practices to plan for the necessary accommodations and modifi-
cations for students with disabilities to progress in the general education curriculum. Accommodations
are alterations in the way tasks and/or assignments are presented. Modifications are changes in what
students are expected to learn. Both accommodations and modifications ensure equity and access to
the general education curriculum in consideration of a student’s unique disability related needs.

Supplementary Aids and Services
Supplementary aides and services means aids, services, and other supports that are provided in regu-
lar education classes, other education-related settings and in extracurricular and nonacademic settings
to enable students with disabilities to be educated with nondisabled students to the maximum extent
appropriate in accordance with the least restrictive environment. Schools must ensure students with
disabilities have access to supplementary aids and services to meet their unique instructional and social
emotional needs.

Technology
Schools should be aware of the students with disabilities requiring assistive technology that is used to
increase, maintain, or improve their functional capabilities. Consideration needs to be given to ensure
students have access to their working technology and any accompanying programs. Protocols detailing
availability of an assistive technology service are necessary to directly assist a student in the selection,
acquisition or use of an assistive technology device. Schools should consider providing parents and
families with a list of individuals, including their contact information, available to respond to questions
and concerns regarding the assistive technology device and/or service for their child(ren).




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Budget and Finance Provisions for Approved Providers of Preschool and School-
Age Programs Serving Students with Disabilities
Preschool and School-Age approved programs receiving funding under Article 81 and/or Article 89 of
the Education Law pursuant to tuition rate setting methodology are subject to specific attendance and
reimbursement rules. The Department remains committed to ensuring its guidance is responsive to
these essential programs and to the students they serve.

Attendance and Enrollment
All schools must follow the provisions outlined in the Attendance for Instructional Purposes section of
this report. For purposes of the tuition to be charged for nonpublic schools with approved special edu-
cation programs, State-supported Schools, State-operated Schools, Special Act School Districts, pre-
school special class and special class in an integrated setting programs, pursuant to NYS Education
Regulation §175.6, a student with a disability is deemed to be in attendance during the period of enroll-
ment. The full-time equivalent (FTE) enrollment starts on the first day students are physically present
or legally absent from the approved program. Student absences due to school closure per Governor
Executive Order due to the COVID-19 outbreak are considered legal absences per §175.6. Billing can
occur the first week of the student’s enrollment (physical presence or legal absence) after three consec-
utive days.

180-Day and 30-Day Requirement
 • 8 NYCRR 200.7(b)(5) and 200.16(a)(6) provides that “[i]nstruction for not less than 180 days each
    year shall be provided for each student.” Emergency regulations adopted in April 2020 further
    amended these regulations to waive the 180-day requirement in accordance with the terms of Ex-
    ecutive Order(s) of the Governor to close schools due to the State of emergency for the COVID-19
    crisis. The Division of the Budget has agreed to provide 2019-20 reconciliation rate waivers via a
    streamlined approval process to hold providers harmless for the impact of reduced care days due
    to the 10-month 2019-20 session operating less than 180 days as a result of COVID-19 closures,
    pursuant to the terms of Executive Order(s) issued in response to the COVID-19 emergency.
 • For the purposes of the 2019-20 school year, consistent with the 180-day waiver, regulatory
    amendment, and applicable Executive Orders, session days are the sum of the following days:
    o Those days in-person instruction was provided during the 2019-20 school year at the approved
        school site per the student’s IEP;
     o Those days the program was previously scheduled to be open but was closed prior to March
       18, 2020 at the direction of state or local health officials as a result of the COVID-19 virus, or
       pursuant to a properly executed declaration of an emergency for the COVID-19 crisis;
     o Those days the program was previously scheduled to be open but was closed during the peri-

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        od of March 18, 2020 through March 31, 2020; and
     o Those days during the period of April 1, 2020 through June 30, 2020 where continuity of
       learning and IEP services were delivered remotely via distance learning and telepractice.
 •   For the 2020-21 extended school year program, days where programs and services are provid-
     ed remotely count toward the 30 days of service requirement. Flexibility has also been provided
     for the 2020-21 extended school year program to allow amended calendars beginning at a later
     start date and/or operating less than five days of instruction per week provided that amended
     calendars reflect as least six weeks of instruction and will be funded for 30 days of programs and
     services.  Prior approval from NYSED is not required and the new start and end dates must be
     updated in the System to Track and Account for Children (STAC).
 •   Further direction and authorization on how to satisfy session day requirements for the 2020-21
     10-month program will be issued under separate cover.

Tuition Rate Setting
 • During the Reopening Task Force meetings, stakeholders provided feedback that tuition rate
     flexibility is needed to better respond and prepare for school reopening.  Interim tuition rates for
     the 2020-21 school year have been authorized and published on the RSU website. To the extent
     additional funding is made available, the Department has advocated that approved programs
     serving students with disabilities receive an amount commensurate with the growth provided
     in state aid to school districts.
 • The Department does not have unilateral authority to approve flexibility in reimbursement meth-
     odology but has proposed changes to better respond to program needs. In terms of flexibility to
     allow approved programs to retain short-term surpluses to apply against short term deficits, and
     offer flexibility with the direct/non-direct parameter, the Department recommended an approach
     to discontinuing the issuance of annual reconciliation rates effective with the 2020-21 tuition rate
     year. The Department is also recommending that the prospective tuition rates for years 2021-22
     through 2024-25 be established based on the prior year’s prospective tuition rate plus approved
     annual trend factors plus approved targeted funding initiatives. Pursuant to the proposal, at the
     conclusion of the 5-year period 2020-21 through 2024-25, a reconciliation will be performed for
     the 5-year period of the allowable expenses as compared to the provided funding for the 5-year
     period. If allowable expenses are less than the provided funding by more than 1%, the Depart-
     ment will calculate an adjustment to recoup the surplus funding exceeding the 1% surplus. This
     proposal is not currently approved for implementation and the Department will provide additional
     information when it is available.
 • The OSE and the Rate Setting Unit continue to have scheduled meetings with stakeholders rep-
     resenting the approved programs serving students with disabilities to obtain feedback and seek


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     input regarding ongoing operational concerns. Any future guidance will continue to reflect this
     essential communication.

Resources
Links to the relevant federal and NYS resources that are available to schools for the delivery of special
education programs and services:

Federal
• US Department of Education (USDE) COVID-19 (“Coronavirus”) Information and Resources for
   Schools and School Personnel – Provides “Program Information: FAQs and Responses” from OSEP
   and the Office of Civil Rights as well as resources for learning at home and remote learning resources
   for educators, administrators, and related service providers.
• National Center for Systemic Improvement’s COVID-19 Resources for Supporting Students with Dis-
   abilities – Designated by the USDE as resource hub for COVID-19 policy guidance, remote learning
   and tele-practice/tele-therapy.
• Early Childhood Technical Assistance Center (ECTA): COVID-19 Resources and Information Web-
   page – Designated by USDE as a resource hub for information for state’s early intervention Part C and
   early childhood special education IDEA Part B Section 619 programs.
• OSEP Ideas that Work Continuity of Learning During COVID-19 – Provides information, tools, and
   resources to help educators, parents and families, and related service providers meet the education-
   al, behavioral, and emotional needs of children and youth with disabilities through remote and virtual
   learning. A searchable database is available to filter these resources by age, audience and topic.

Office of Special Education
• Provision of Services to Students with Disabilities During Statewide School Closures Due to Novel
   Coronavirus (COVID-19) Outbreak in New York State (March 27, 2020) – Provides guidance regard-
   ing the provision of services to students with disabilities, including English Language Learners with
   disabilities.
• Supplement #1 (April 27, 2020) – Provides follow-up questions and answers to the March 2020 guid-
   ance.
• Supplement #2 (June 20, 2020) – Provides considerations for CPSEs and CSEs when making recom-
   mendations for extended school year services; revisions to IEPs to ensure the continued provision of
   a free appropriate public education due to a student’s changing needs; and compensatory services.
• Supplement #3 (June 20, 2020) – Provides information regarding the Governor’s Executive Order
   202.37 which indicates that special education services and instruction required under federal, State
   or local laws, rules, or regulations, may be provided in person for the summer term in school districts.



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BILINGUAL EDUCATION AND WORLD LANGUAGES
The spring 2020 COVID-19 crisis was extremely challenging for all students, but created particular
difficulties for our most vulnerable students, including English Language Learners (ELLs)., These
challenges exacerbated existing educational
inequities, like a lack of access to technology
and reliable Wi-Fi needed for remote learning.
It is critical that school reopening plans address
the special needs of ELLs, and that all commu-
nications with ELL students and their families
be in their preferred language and mode of
communication.
As schools prepare to reopen schools in
2020-21, they must remain mindful of legal
requirements and proactively address inequi-
ties, including, to the greatest extent feasible,
providing support and instruction to all parents/
guardians regarding the use of technology in their preferred language of communication. ELLs must
be provided with the supports needed to close the potential learning loss that may have been a result
of the school closures due to COVID-19.
As schools design their reopening plans, ELLs must be afforded the opportunity for full and equal par-
ticipation whether it be through an in-person, remote, or hybrid model of instruction. While many ELLs
may have benefitted from learning through remote learning platforms, it is important to consider their
unique needs and to strengthen the home language and supports necessary for English language
development utilizing synchronous and asynchronous learning.
Schools are strongly encouraged to examine resources available on the NYSED Office of Bilingual
Education and World Languages website as they develop their plans, as their curriculum is reviewed,
as instructional plans are developed, and as educational materials are selected. Districts and schools
should contact their Regional Bilingual Education Resource Networks (RBERNs) if they need addi-
tional guidance/support during this process.

Mandatory Requirements for Reopening
   5 Qualifying schools that reopen using in-person or hybrid instruction will be required to com-
     plete the ELL identification process within 30 school days of the start of the school year for all
     students who enrolled during COVID-19 school closures in 2019-20, as well as all students
     who enroll during summer of 2020 and during the first 20 school days of the 2020-21 school


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    year. After this 20day flexibility period, identification of ELLs must resume for all students within
    required 10 school days of initial enrollment as required by Commissioner’s Regulations Part
    154.
  5 Provision of required instructional Units of Study must be provided to all ELLs based on their
    most recently measured English language proficiency level during in-person or hybrid instruc-
    tion.
  5 Maintain regular communication with the parents/guardians and other family members of ELLs
    to ensure that they are engaged in their children’s education during the reopening process Pro-
    vide all communications for parents/guardians of ELLs in their preferred language and mode of
    communication


Considerations For Reopening Plans
  •   Ensure that all teachers and administrators receive professional learning on topics related to use of
      technology and hybrid or remote learning strategies in topics related to ELLs. Adopt policies to meet
      the guidelines outlined in the Blueprint for English Language Learner/Multilingual Learner Suc-
      cess in the delivery of remote and hybrid learning.
  •   Establish protocols that promote coordination among English as a New Language (ENL) and
      content area teachers for the delivery of remote and hybrid learning.
  •   Adopt or develop progress monitoring tools to provide data that identifies gaps in student learn-
      ing towards English language proficiency and towards content area proficiency in both English
      and students’ home languages.
  •   Resume and create programs to address the specific needs of Students with Interrupted/Incon-
      sistent Formal Education (SIFE), ELLs with IEPs, and other vulnerable populations during the
      reopening process.
  •   Prioritize 12th grade students who were unable to complete requirements in 2019-2020 to con-
      tinue work towards earning the New York State Seal of Biliteracy in 2020-2021.
  •   Continue to utilize educational technology when teaching ELLs in both in-person and hybrid
      models to reinforce students’ familiarity with these tools.
  •   Provide Emergent Multilingual Learners enrolled in Prekindergarten programs with instruction
      in their home languages during remote and hybrid learning.
  •   Actively engage students on a regular basis to assess their need for Social Emotional Well
      Being supports that address the unique experiences of ELLs and are delivered in or interpreted
      into students’ home languages during remote or hybrid learning.
  •   To the greatest extent possible, districts are to ensure that all ELLs and other vulnerable stu-
      dents can access technology and wi-fi needed for periods of remote learning so they do not fall
      further behind as a result of COVID-19 closures and remote/hybrid learning.
  •   Schools have the flexibility to provide additional units of study if they deem necessary based


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       on student need. This flexibility could take the form of additional ENL programming to address
       oral language development, writing and reading skills, and academic vocabulary development to
       provide more access to content.
   •   Schools are advised to keep the unique needs of parents of ELLs/MLLs in mind and provide sup-
       port and guidance on the logistics and functionality of a remote or hybrid learning model—includ-
       ing interpretation and translation needs as described above—to ensure that they have equitable
       access to critical information about their children’s education as they transition back to school in
       fall 2020.
   •   Implement the practices described in the Culturally Responsive-Sustaining Education Framework
       during hybrid or remote learning.


Initial Identification of Potential ELLs
NYSED has approved temporary emergency regulatory changes to the ELL identification process to
address the backlog of newly enrolled students who need to complete the ELL identification process
mandated by Part 154- 2.3(a) at the commencement of the 2020-21 school year.
   •   Qualifying schools that reopen using in-person instruction or blended/hybrid instruction will be required to
       complete the ELL identification process within 30 school days of the start of the academic school year for
       all students who enrolled during COVID-19 school closures in 2019-20, as well as all students who enroll
       during summer of 2020 and during the first 20 school days of the 2020-21 academic school year. After
       this 20- day flexibility period, all schools that reopen using in-person or hybrid instruction will be expected
       to complete identification of ELLs within the required 10 school days of initial enrollment for all students
       pursuant to Commissioner’s Regulations Part 154, including the ELL screening, identification, and place-
       ment processes. The initial screening process should be followed in person for new entrants following
       the district’s safety protocols to ensure compliance with the Governor’s Executive Orders and Center for
       Disease Control (CDC) health and safety guidelines after commencement of regional reopening.
   •   Any new entrant enrolling in a school district, to the extent feasible, must be provisionally placed in a Bi-
       lingual Education program while awaiting NYSITELL results, as this is the program of default for districts
       which meet the enrollment threshold set forth under Section 154-2.3(d).


Units of Study for English as a New Language (ENL) and Transitional Bilingual Ed-
ucation (BE) Programs
All ELLs must be provided the required instructional Units of Study in their ENL or BE program based
on their most recently measured English language proficiency level as evidenced in their most recent
NYSESLAT or their NYSITELL assessment during in-person or hybrid learning. Former ELLs at the
Commanding level of proficiency within two years of exiting ELL status are to continue receiving Former
ELL services in the form of Integrated ENL or other Former ELL services approved by the Commission-


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er under Part 154-2.3(h) during in-person or hybrid learning.

Districts and schools are encouraged to review the proficiency of students who are entering their third
year as a Former ELL at the Commanding level of proficiency in 2020-21 (students who achieved Com-
manding on the 2018 administration of the NYSESLAT) and to provide these students with supplemen-
tal Former ELLs services as they deem appropriate.


Communications and Language Access
All communications for parents/guardians of ELLs must be in their preferred language and mode of
communication. As discussed in previous guidance, language access obligations under federal and
state law – including but not limited to those pursuant to Part 154 – have remained in effect throughout
school closures, and schools continue to have the responsibility to ensure that parents/guardians of
ELLs/MLLS receive access and information available to other parents in the language or mode of com-
munication they best understand.
School districts should, to the greatest extent possible, provide interpretation and translation through a
qualified interpreter/translator in the languages most commonly spoken in the district, and at a minimum
in those languages spoken by a large number and percentage of ELLs.

Professional Learning for Educators
As districts design professional learning opportunities for reopening, special consideration must be
given to promote an understanding of Bilingual Education, use of home language, and the linguistical-
ly diverse needs of ELLs. In order to ensure that all NYS educators are aware of and able to address
ELL needs, all teachers and administrators must receive professional learning related to serving ELLs
as required by Commissioner’s Regulations Part 154. Districts must adhere to professional learning
requirements set forth under Section 154-2.3(k), pursuant to which – unless the district is eligible for
and NYSED has approved a waiver – 15% of all teachers’ professional learning hours, and 50% of all
professional learning hours for Bilingual Education and ENL teachers, must be targeted to the specific
needs of ELLs.
In addition to continuing their usual course of ELL-focused professional learning, teachers of ELLs
(including ENL and Bilingual Education teachers, as well as content area teachers in non-ELL specif-
ic classes in which ELLs are enrolled) may require focused professional learning to strengthen their
knowledge and skills to address new learning challenges that ELLs may face as a result of spring 2020
COVID-19 closures. In order to address these challenges, schools should consider targeted profession-
al learning focused on utilizing technology to promote student independence and engagement, provid-
ing effective and meaningful feedback, and promoting peer to peer interaction. For ELLs, collaboration
or cooperative learning with peers who have mastery in English or are non-ELLs is an impactful practice

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that should become a part of their learning. OBEWL recommends that focused professional learning
opportunities be offered in, but not limited to, the following areas:
•   Implementing collaborative models of instruction: co-planning, sharing best practices to support
    standards-based curriculum accessibility for ELLs;
•   Progress monitoring: analyzing and interpreting data to inform instructional decisions; differentiating
    instruction; designing lessons that accelerate learning; and utilizing formative and summative as-
    sessments to identify and address instructional gaps;
•   Implementing language-based strategies in all four modalities and teaching language skills across a
    standards-based curriculum;
•   Utilizing digital tools that cultivate independent learning, critical thinking, and student engagement;
    and
•   Building positive relationships/rapport among teachers, students and parent/guardians.


The Regional Bilingual Education Resource Networks (RBERNs) are available to provide technical
assistance and resources and are in the process of identifying and developing additional professional
learning opportunities to address the needs of ELLs. Please see the section on Special Education for
information regarding the particular needs of ELLs with disabilities.

Guiding Principles for Ensuring the Success of ELLs/MLLs
The Blueprint for English Language Learner/ Multilingual Learner Success is a statewide framework
that sets expectations for administrators, policymakers, and practitioners to prepare ELLs/MLLs for
academic success, beginning in prekindergarten, and to lay the foundation for college, career, and civic
readiness. The Blueprint sets forth eight principles of ELL education within which mandates of the Every
Student Succeeds Act (ESSA) and Part 154 of the Regulations of the Commissioner are implemented.
These principles provide guidance and resources to districts, schools, and teachers as they promote a
better understanding and appreciation of Bilingual Education, English as a New Language (ENL), and
World Language studies (including the indigenous languages of NYS). As schools plan for reopening, it
is appropriate to build pedagogical best practices in which every teacher is prepared to design units of
study in their own content area capitalizing on the home language and the English linguistic demands of
ELLs. ELLs encounter many teachers and staff in school beyond the language development instructors
in ENL and BE programs, which is why the Blueprint for ELL/MLL Success declares that “All teachers
are teachers of ELLs/MLLs and must plan accordingly.” Districts are expected to continue to apply the
principles of the Blueprint in planning for the reopening of schools in 2020-21.




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Progress Monitoring
With the cancelation of the 2020 NYSESLAT, schools must determine new methods to measure the
English language proficiency levels of their ELLs to ensure that these students are receiving the
appropriate level of instruction. Districts and schools are encouraged to identify and adopt addition-
al progress monitoring tools to track language skills progress toward English Language Proficiency.
Some options for schools to consider are provided below.
   •   Local Progress Monitoring Assessment Tool: District leaders are encouraged to formalize the
       use of their existing local informal progress monitoring tools, implement tools that will allow the
       monitoring and collection of student performance data to inform instruction, develop instruction-
       al goals for English and Home Language development, and help accelerate the learning. These
       progress monitoring tools can be used to plan, modify, and/or differentiate instruction. Refer
       to the Checklist for Developing or Selecting an English Language Proficiency (ELP) Progress
       Monitoring (Interim) Assessment provided by NYSED to guide the selection of progress moni-
       toring tools to measure English Language Proficiency.
   •   Multilingual Literacy SIFE (MLS) Screener: The MLS, which is generally used in NYS for identi-
       fication of SIFE, can also be administered for a general literacy evaluation. The MLS is a mul-
       tilingual screener that determines students’ home language literacy and math skills to identify
       SIFE and design appropriate instruction. However, it can also be used by districts to conduct a
       general literacy screening of any newly identified ELL – even if they are not considered SIFE.
       This tool will provide a baseline of their academic and literacy level in their home language.
       Districts that use the MLS for this purpose are to use it to gain a snapshot of a student’s initial
       literacy level when school resumes for 2020-21, but not as an assessment of a student’s knowl-
       edge for the purpose of informing ongoing instruction.


A district that chooses to use the MLS as an initial literacy screener must take the following steps
to ensure that the analysis does not impact their SIFE recordkeeping and data (i.e., to ensure that
an ELL who undergoes the MLS for this purpose is not accidentally included in its SIFE count). If a
district has never administered the MLS, they must first create an account on the MLS website and
individually register each student (please see the MLS User Manual for detailed instructions). When
answering the question “Why is the school district administering this test?” during registration of a stu-
dent for an initial literacy screener, the district must select “This is going to help NYSED collect data
about the usage of the MLS and the correct number of SIFE identified through the MLS” on the drop-
down menu of four multiple choice options.

Educational Technology
In order to help students prepare for potential future closures, and to familiarize them with new tech-
nological trends in learning that will enhance their college, career, and civic readiness, NYSED strong-

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ly suggests the continued use of technology, including online learning, and other educational digital
tools, to not only address the needs of and build on ELLs’ knowledge, but to help ELLs become digital
learners.14 Strategically including online resources, digital tools, and media in daily in-person or hybrid
routines and lessons will facilitate a smoother transition into any future school closure.
OBEWL has created a Resource Collection for ELLs and World Language Students to support edu-
cators in adapting and developing lessons and units of study to meet the needs of ELLs at all levels
of proficiency and develop appropriate scaffolds for use in the virtual classroom. In addition, the Region-
al Bilingual Education Resource Networks (RBERNs) have created a repository of professional learning
videos, known as RBERN on Demand, which includes a section on technology integration for ELLs.

Students with Interrupted/Inconsistent Formal Education (SIFE)
SIFE15 are among the most vulnerable ELL subgroups, having already endured interruptions in their
education prior to their arrival in NYS. Many SIFE are refugees and others may have left family and
friends behind when they immigrated to the US. While school closures have been difficult on all stu-
dents, SIFE have been among those having the hardest time adjusting, and many were not able to
remain engaged with their learning. In response, NYSED has approved a temporary emergency reg-
ulatory change that time out of school due to COVID closures do not count toward the 12 months that
SIFE may be enrolled in US schools prior to initial identification as a SIFE pursuant to Part 154-2.2(y),
regardless of whether they were engaged in remote schooling during that time.


NYSED recognizes the complex additional educational needs of SIFE and has created and provided
numerous resources to guide and support educators in addressing the unique needs of these students.
Tools, resources, and strategies for supporting and scaffolding instruction for SIFE identified in previous
guidance for districts to utilize during COVID-19 closures remain relevant and useful to support SIFE
instructional needs during and after the transition to reopen schools in 2020-21.

Emergent Multilingual Learners in Prekindergarten
As more children in New York State begin their education in prekindergarten, there is an increasing
14         When using online tools, districts must be aware of their responsibility to ensure compliance with all applicable laws and regula-
tions, including student privacy laws such as the Family Educational Rights and Privacy Act (FERPA), the Children’s Online Privacy Protec-
tion Act (COPPA), Education Law § 2-d, and Commissioner’s Regulations Part 121. Education Law § 2-d and Commissioner’s Regulations
Part 121 outline requirements for educational agencies related to the protection of the personally identifiable information (PII) of students in
the student’s records, as well as PII related to annual professional performance reviews (APPR).

15          Under Section 154-2.2(y), SIFE are defined as ELLs “who have attended schools in the United States (the 50 States and the
District of Columbia) for less than twelve months and who, upon initial enrollment in such schools are two or more years below grade level
in literacy in their home language and/or two or more years below grade level in Math due to inconsistent or interrupted schooling prior to
arrival in the United States (the 50 States and the District of Columbia).”



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need to support children from families who speak a language other than English at home in order
to ensure that they have equitable access to these programs’ advantages. As discussed in previous
guidance, the Emergent Multilingual Learners (EMLLs), profile process allows prekindergarten pro-
grams to assess the home language exposure of children in Prekindergarten. EMLLs are identified
by the Profile as having exposure to a language other than English but are not assessed for English
proficiency (which occurs in kindergarten when the ELL identification process is conducted).
Prekindergarten programs are expected to continue to implement best practices to leverage the home
language in instruction, as well as to implement culturally responsive-sustaining education, in accor-
dance with NYSED’s Culturally Responsive-Sustaining Education Framework. This practice will help
set the foundation for positive self-identity and acceptance.

Family Partnerships and Communication
Stakeholders who participated in the Reopening Schools Taskforce consistently stressed the need to
provide information to families of ELLs in a language they understand in order to ensure that they can
actively participate in their children’s education. Also, as described above, the obligation of districts to
provide language access remains in effect throughout COVID-19 closures and during the school re-
opening process. Educators, administrators, and parents/guardians must continue to work together to
meet the needs of all ELLs/MLLs as seamlessly as possible as schools reopen in the fall. Collabora-
tion and communication with parents/guardians and other family members must continue to be main-
tained and provided in their language of preference, in accordance with federal and state language
access obligations.

Schools are advised to continue to create and disseminate parent/guardian resources in the lan-
guage(s) most frequently spoken by a school’s ELL/MLL population on how to access technology
used in on-line education. Such resources should be posted on districts’ websites, and/ or via social
media platforms.

New York State English Language Learner Parent Hotline: Parents and students can contact the
NYS ELL/MLL Parent Hotline if they have questions or concerns related to language access or other
aspects of parents and students’ educational rights. This resource is operated by the New York State
Language RBERN and it serves as a way for parents of ELLs/MLLs and persons in parental relation
to inquire about their rights and the delivery of services for their children based on state regulations.
It is intended to allow parents/guardians and students to inquire and receive responses in the top ten
ELL/MLL home languages in NYS. The Parent Hotline can be reached via phone at (800) 469-8224 or
via email at nysparenthotline@nyu.edu.




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Culturally Responsive-Sustaining Education Framework
NYSED has created the Culturally Responsive-Sustaining (CR-S) Education Framework to help ed-
ucators create student-centered learning environments that affirm racial, linguistic and cultural identi-
ties, prepare students for rigor and independent learning, develop students’ abilities to connect across
lines of difference, elevate historically marginalized voices, and empower students as agents of social
change. The Framework provides guidelines that address contributions to be made by multiple stake-
holders—including teachers, administrators, students, and community partners—in developing a strong
CR-S education. Districts are encouraged, to the greatest extent possible, to continue to apply the prin-
ciples of the CR-S Framework in planning for the reopening of schools in 2020-21.


Documents and Resources
OBEWL and RBERNs resources are available to support ELLs/MLLs and World Language students
and their parents/guardians as schools transition from COVID-19 closures to the reopening of schools
in an in-person, remote, or hybrid model.
   •   OBEWL Home Page
   •   OBEWL ELL Resource Collection
   •   RBERN Contact Information
   •   The Blueprint For ELL/MLL Success
   •   Provision of Services to English Language Learners and World Languages Students During Statewide
       School Closures Due to the Novel Coronavirus (COVID-19) Outbreak in New York State
   •   Bridges SIFE Resources
   •   Interpretation and Translation Supports
   •   NYSESLAT Cancelation Parent Notification Letter




STAFFING
Among school-based factors, teaching and school leadership are the two
greatest influences on student learning. As LEAs create their plans for the
2020-2021 school year, they: must ensure that all teachers, school and
district leaders, and pupil personnel service professionals hold a valid and
appropriate certificate for their assignment; can continue to utilize incidental
teaching when determining how to staff their classrooms; can also employ
substitute teachers to address staffing needs for the allowable number
of days, given their qualifications and teaching assignment; should work
with educator preparation programs to identify appropriate ways in which
student teachers can support classroom instruction; and should consider

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whether their currently approved APPR plans may need to be revised to be consistent with their plans
for reopening, whether in-person, remote, or a combination of the two.



TEACHER AND PRINCIPAL EVALUATION SYSTEM (EDUCATION LAW
§3012-D/APPR)
Consistent with research and best practices, the Department believes that well-designed and imple-
mented teacher and principal evaluations (“Annual Professional Performance Review”; “APPR”) are an
important tool to help support educator growth and development. With this goal in mind, the measures
that are used as part of an annual evaluation should provide useful information to district administrators
and the educators who are being evaluated that helps support educators and leverage their expertise.
In turn, this helps ensure equitable access to effective educators for all students so that students are
given the skills to succeed.
In this unprecedented time of school closures, LEAs are facing new challenges in evaluating and sup-
porting their professional staff. Although LEAs should not penalize their educators as a result of the
challenges to learning presented by the COVID-19 crisis, they must still make sure students are being
taught as effectively as is practical to expect. Therefore, providing support that teachers and school
leaders require is critical at this time.
Providing feedback and support to educators through the evaluation process can both equip them as
they adjust their practice to distance learning, as well as guide focus areas for future growth once stu-
dents and teachers return to their physical classrooms.
The following section includes information about the mandatory requirements and recommended prac-
tices for LEAs as they prepare for the 2020-2021 school year.


Reopening Plan Mandatory Requirements
    5 Pursuant to Education Law 3012-d, each school district and BOCES must fully implement its
      currently approved APPR plans in each school year16.

Considerations for Reopening Plans
  • Each educator’s evaluation must include at least one required student performance measure
     (SLOs for teachers; SLOs or an input model for principals). The Commissioner’s regulations for
16        Governor Andrew Cuomo’s Executive Order (202.39) related to APPR only suspended the requirement to complete APPRs for the 2019-20
school year.



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    student performance measures are inherently flexible and are designed to encourage educa-
    tors to be systematic and strategic in their instructional decisions. These measures are intend-
    ed to increase the quality of discussions taking place in LEAs, schools, and classrooms that
    focus on student growth and learning, provide clearer indications of when and how to adjust
    instruction to meet students’ needs, and support more targeted professional learning opportuni-
    ties.
        o LEAs should review their current systems for developing and implementing student per-
            formance measures in light of their plans for teaching and learning. Doing so can help
            to streamline the evaluation process by reducing unnecessary paperwork or time taken
            away from instructional preparation.
        o LEAs should also review the assessment(s) that were chosen as the evidence of stu-
            dent growth in the approved APPR plan to ensure that these assessment(s) are aligned
            with their instructional plans for the coming school year and do not result in any test-
            ing of students that is not necessary to support teaching and learning. Similarly, LEAs
            should review their processes for setting growth targets and measuring student growth
            to ensure strong alignment to instructional priorities.
                 Understanding that learning and demonstrating understanding during the
                    COVID-19 crisis has taken on new complexities, what is locally determined to be
                    a year’s worth of growth may look different from previous years.
•   The Observations/School Visits subcomponent for educators can also be adapted to meet local
    needs depending on whether instruction happens in-person, remotely, or in a hybrid model.
        o Elements of the teacher and principal practice rubrics locally selected by the LEA should
            be reviewed to determine the priority areas depending on the given instructional model.
                 As a reminder, LEAs must designate the subcomponents of a rubric that they
                    deem to be observable. This may be all subcomponents in the rubric, or a limited
                    number of observable rubric subcomponents for focus.
        o LEAs should review the practice rubrics in collaboration with their educators to deter-
            mine the types of evidence that could be collected and used for evaluation in each
            instructional model with the priority on collecting authentic evidence of practice that can
            be used to provide feedback and support to educators.
•   For those LEAs who desire greater flexibility when designing an evaluation system that is re-
    sponsive to local context, the most recent APPR regulations adopted by the Board of Regents
    include an option for LEAs to submit an APPR Variance to develop and implement a new and
    innovative evaluation plan.
        o While some aspects of New York State’s evaluation system are prescribed by the law,
            several key decisions are described in regulations. The variance process allows an LEA
            to implement a system which varies from what is outlined in the Commissioner’s regula-
            tions and through the Department’s guidance documents, so long as it is still consistent
            with the minimum statutory requirements. This additional flexibility may be especially

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               important to LEAs as they work to re-open schools.
             o LEAs may apply for an APPR variance through the NYSED Business Portal for one or
               more of the requirements of APPR (e.g., student performance category, observations)
               that meets the specific needs of the applicant17.

Resources
Please visit the Office of Educator Quality and Professional Development’s website for further infor-
mation related to Teacher and Principal Evaluation, including:
     •   APPR Guidance
     •   SLO Guidance, Tools, and Resources
     •   Memos to the Field

CERTIFICATION, INCIDENTAL TEACHING, AND SUBSTITUTE
TEACHING
The following section provides information regarding certification for prospective and practicing educa-
tors as well as personnel who are involved with staffing at the school, district, and/or BOCES levels.

Reopening Plan Mandatory Requirements  
     5 Pursuant to Education Law 3001, individuals employed to teach in New York State public
       schools must hold a valid certificate. School districts, BOCES, and charter schools can review
       the SIRS 329 Staff Certifications report, which is available in Cognos for authorized users, to
       ensure that teachers hold the appropriate certificates for their teaching assignments. This re-
       port is refreshed weekly and lists all valid certificates for all staff identified in the school district,
       BOCES, or charter school Staff Snapshot.


Considerations for Reopening plans
     •   In response to the COVID-19 crisis, a superintendent of schools may assign certified teach-
         ers to teach a subject not covered by their certificate (incidental teaching) for a period not to
         exceed ten classroom hours a week during the 2020-2021 school year, when no certified or
         qualified teacher is available after extensive and documented recruitment. BOCES review and
         approve the requests for incidental teaching. Additional information about incidental teaching is
         available on the Empoyment Authorization webpage.

17       Subject to collective bargaining and approval by the Commissioner.




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   •   Substitute teachers may be an important resource for schools during the COVID-19 crisis and
       currently fall into one of the three following categories.
       o   Substitute teachers with a valid teaching certificate can work in any capacity, for any number
           of days. If they are employed for more than 40 days by a school district or BOCES in a school
           year, they must be employed in an area for which they are certified.  
       o   Substitute teachers without a valid certificate, but who are working towards certification (tak-
           ing college coursework) at a rate of not less than six semester hours per year,can work in any
           capacity, for any number of days, in any number of school districts. If they are employed for
           more than 40 days by a school district or BOCES in a school year, they must be employed in
           the area for which they are seeking certification.  
       o   Substitute teachers who do not hold a valid teaching certificate and are not working towards
           certification may work for no more than 40 days in a school district or BOCES in a school
           year, except as described below.
              During the 2020-2021 school year, due to the COVID-19 crisis, substitute teachers who
               do not hold a valid teaching certificate and are not working towards certification, but hold
               a high school diploma or its equivalent, may be employed by the school district or BOCES
               beyond the 40-day limit, for up to an additional 50 days (90 days total in a school year),
               if the district superintendent (for BOCES’s and districts that are a component district of a
               BOCES) or the superintendent (for school districts that are not a component district of a
               BOCES) certifies that the district or BOCES, as applicable, has conducted a good faith
               recruitment search for a properly certified candidate and there are no available certified
               teachers that can perform the duties of such position. In rare circumstances, a district or
               BOCES may hire a substitute teacher beyond the 90 days, if a district superintendent or
               superintendent attests that a good faith recruitment search has been conducted and that
               there are still no available certified teachers who can perform the duties of such position
               and that a particular substitute teacher is needed to work with a specific class or group of
               students until the end of the school year.


Resources
For information about certification, please see the Office of Teaching Initiatives (OTI) website through
the following link. The “Topics A-Z” and “Search Certification Requirements” web pages may be partic-
ularly helpful. Updates about certification, including changes in response to the COVID-19 crisis, are
posted on the OTI website homepage.
   •   OTI website


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   •   Topics A-Z
   •   Search Certification Requirements

Contact Information
Prospective and practicing educators who have questions about certification, including their certificate
application, can contact OTI at tcert@nysed.gov.



STUDENT TEACHING
Commissioner’s Regulations Section 52.21(b)(1) (xvi) defines student teaching as follows:
       Student teaching means a structured, college-supervised learning experience for a student in
       a teacher education program in which the student teacher practices the skills being learned in
       the teacher education program and gradually assumes increased responsibility for instruction,
       classroom management, and other related duties for a class of students in the area of the
       certificate sought. These skills are practiced under the direct supervision of the certified teacher
       who has official responsibility for the class.


Considerations for Reopening Plans
   •   The Board of Regents and State Education Department strongly encourage school districts
       to continue to welcome student teachers into schools and classrooms, whether in person or
       remote, during the 2020-2021 school year.
   •   Student teachers can play important roles in terms of bridging gaps related to remote/online
       instruction, and in supporting the teachers of record and the students, especially during these
       challenging times.
   •   School districts should work with the College/University Educator Preparation Programs to
       identify appropriate ways in which student teachers can support classroom instruction while en-
       suring that the student teacher is given the opportunity to develop critical knowledge and skills.
           o It is important to remember that a student teacher may not serve as the teacher of re-
               cord in a classroom and must be under the direct supervision of a certified teacher who
               is the teacher of record.  
Please visit the Office of College and University Evaluation’s web site for further information.
Contact the Office of College and University Evaluation at ocueinfo@nysed.gov.


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GLOSSARY OF TERMS BY TOPIC

Bilingual Education and World Languages
Bilingual Education Program (BE): A research-based educational program comprised of the follow-
ing instructional components: 1) Language Arts, which includes Home and English Language Arts; 2)
English as a New Language; and 3) Bilingual content areas.
Emergent Multilingual Learner (EMLL): Students who are identified by the Emergent Multilingual
Learner Profile Process as prekindergarten students whose home or primary language is other than
English. The English language proficiency of prekindergarten students is not assessed, and therefore
EMLLs may or may not be identified as ELLs when the ELL identification process is conducted in kin-
dergarten.
English As a New Language (ENL) Program: A research-based English language development
program comprised of two components: 1) Integrated ENL: Students receive core content area and
English language development instruction including home language supports and appropriate ELL
scaffolds; and 2) Stand-alone ENL: Students receive English language development instruction taught
by a New York State certified English for Speakers of Other Languages (ESOL) teacher in order to
acquire the English language needed for success in core content areas.
English Language Learner: A student who, by foreign birth or ancestry, speaks or understands a
language other than English and who scores below a NYS designated level of proficiency on the
NYSITELL or the NYSESLAT. The federal Every Student Succeeds Act (ESSA) refers to ELLs as “En-
glish Learners,” and ELLs are also sometimes referred to as Emergent Bilinguals or Dual Language
Learners.
Former ELL: Once an ELL has reached the Commanding level of English language proficiency, that
student is designated as a Former ELL and is entitled to receive two years of Former ELL services in
the form of a ½ unit of Integrated ENL or other services as approved by the Commissioner.
Multilingual Learner: All students who speak or are learning one or more language(s) other than
English, including: 1) current ELLs, 2) students who were once ELLs but have exited out ELL status,
3) students who were never ELLs but are heritage speakers of a language other than English, and 4)
World Languages students.
Multilingual Literacy SIFE Screener (MLS): A state-wide diagnostic tool that was created to deter-
mine SIFEs’ literacy levels in their home language in order to provide or to design appropriate instruc-
tion for SIFE.



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New York State English As a Second Language Achievement Test (NYSESLAT): The New York
State English As a Second Language Achievement Test is an assessment designed to annually assess
the English language proficiency of all ELLs enrolled in grades kindergarten through 12th grade.
New York State English As a Second Language Identification Test for English Language Learn-
ers (NYSITELL): An assessment that is administered once during the ELL identification process (or
during reentry after an absence of two or more years from NYS schools). It is designed to determine if
a student is an ELL at the time of the student’s enrollment in the NYS public school system.
Students with Inconsistent or Interrupted Formal Education (SIFE): ELLs who have attended
schools in the U.S. for less than twelve months and who, upon initial enrollment in schools are two or
more years below grade level in literacy in their home language and/or two or more years below grade
level in math due to inconsistent or interrupted schooling prior to arrival in the U.S. (NYSED is currently
pursuing regulatory flexibility in order that time spent in remote learning during COVID-19 closures do
not count toward the twelve months of enrollment at the time of SIFE identification).
World Languages: Languages other than English, which are broken down into two categories: mod-
ern languages and classical languages. Modern languages include any language that has living, na-
tive speakers, such as Romance Languages (Spanish, French, Italian, Portuguese, etc.), Germanic
languages (German, etc.), Asian languages (Chinese, Japanese, Korean, etc.), Indigenous languages
(Mohawk, Seneca, Oneida, etc.), American Sign Language, and many more. Modern languages are
contrasted with classical languages, which no longer have living, native speakers such as Latin, ancient
Greek, ancient Hebrew, and others from earlier time periods in human history.


Career and Technical Education
Career and Technical Education (CTE): A kindergarten through adult program area of study that
includes rigorous academic content closely aligned with career and technical subject matter, using the
State learning standards of career development and occupational studies as a framework. It includes
the specific disciplines of agricultural education, business and marketing education, family and consum-
er sciences education, health sciences education, technology education, and trade/technical education.
 Career and Technical Student Organization: An organization for individuals enrolled in a career and
technical education program that engages in career and technical education activities as an integral
part of the instructional program.
Career Exploration Internship Program (CEIP): A registered work-based learning program that offers
unpaid career exploration experiences in the business setting. The focus is on hands-on career explora-
tion rather than on skill development. The experience assists students in choosing courses that will help
them to reach their college and career objectives. It also assists students in understanding the linkages
among school, work, and post-secondary education. Students may earn ¼, ½, or 1 unit of elective or

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CTE sequence credit.
CDOS Credential: An exit credential that meets the definition under section 100.6(b) of Commission-
er’s Regulations
CDOS 4+1 Graduation Pathway: A Regents Diploma graduation pathway which allows a student
to graduate with a high school diploma if the student meets the graduation course and credit require-
ments; passes four required Regents Exams or Department approved alternative assessments (one in
each of the following subjects: English, mathematics, science, and social studies); and meets the re-
quirements to earn the NYS CDOS Commencement Credential.
Cooperative Career and Technical Education Work Experience (CO-OP): A registered work-based
learning program that provides an important link between the classroom and the workplace for students
age 16 and older. The CO-OP is essentially a partnership that links school, community, and business/in-
dustry to provide a real-world environment in which students have the opportunity to apply, and thereby
augment, the knowledge and skills obtained in the classroom.
General Education Work Experience Program (GEWEP): A registered work-based learning program
open to any student 16-21 years of age who is enrolled in school. These work experiences can be a
paid or unpaid and must be registered with the NYSED Career and Technical Education Team and be
re-registered every five years.
NYSED-Approved CTE Program: An approved program of study that meets both the requirements
under Perkins V for a program of study as well as Section 100.5(d)(6) of Commissioner’s Regulations.
Approved programs may be utilized to meet the 4+1 CTE graduation pathway.
Perkins Act: The primary Federal source of CTE funding to support CTE instruction and field support.
The act was reauthorized for the fifth time in 2018 as the Strengthening Career and Technical Education
for the 21st Century Act (Perkins V)
School-Based Enterprise: A school-based business enterprise exists within a school to provide ser-
vices for students, staff, and/or customers from the community. No additional credit is awarded for par-
ticipation in this experience; the credit exists within the related course.
Supervised Clinical Experience: Supervised clinical experience involves students performing health
care services in a work setting after having instruction and practice in a supervised skills laboratory.
The services must be performed under the supervision of an instructor who holds the appropriate NYS
license/certification in the health care discipline for which the students are being prepared.
Training Plan: A document developed by the work-based learning coordinator in conjunction with the
student and other appropriate school personnel that outlines the tasks, goals, and objectives to be ac-
complished during a student’s work-based learning experiences.


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Work-Based Learning: Sustained interactions with industry or community professionals in real work-
place settings, to the extent practicable, or simulated environments at an educational institution that
foster in-depth, first-hand engagement with the tasks required in a given career field that are aligned to
curriculum and instruction.  
Work Experience Career Exploration Program (WECEP): A registered work-based learning program
open to students 14-15 years of age who are considered “at risk”.   These work experiences must be
paid and must be registered with the NYSED Office of Career and Technical Education and be re-regis-
tered every two years.


Early Learning (Prekindergarten)
Diagnostic Screening: A preliminary method of distinguishing from the general population those stu-
dents who may possibly be gifted, those students who may be suspected of having a disability and/or
those students who possibly are limited English proficient; as defined in 8 NYCRR 117.2(f).
Eligible Agencies: An eligible agency, as defined in 8 NYCRR 151-1.2(b), are providers of child care
and early education, a day care provider, early childhood program or center or community-based orga-
nization including, but not limited to, approved preschool special education program, Head Start, nurs-
ery schools, libraries and museums which meet the minimum standards and requirements.
Statewide Universal Full-Day Prekindergarten: Programs for three- and four-year-old students that
incentivize and fund state-of-the-art innovative prekindergarten programs to encourage program creativ-
ity.
Universal Prekindergarten: Programs that provide three- and four-year-old children with universal
opportunity to access Prekindergarten programs as set forth in 8 NYCRR 151-1.
Voluntary Registered of Nonpublic Nursery Schools and Kindergartens: Programs for preschool
children between the ages of three and five years as outlined in 8 NYCRR Part 125.


Health and Safety
Aerosol Generating Procedures: Procedures performed on patients which are more likely to generate
higher concentrations of infectious respiratory aerosols than coughing, sneezing, talking, or breathing.
Cleaning: The removal of germs, dirt, and impurities from surfaces. Cleaning does not kill germs, but
by removing them, it lowers their numbers and the risk of spreading infection.
Cloth Face Covering: Masks made from fabric, preferably tightly woven cotton. Cloth masks should
include multiple layers of fabric.


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Disinfection: A process using chemicals to kill germs on surfaces. This process does not necessarily
clean dirty surfaces or remove germs, but by killing germs on a surface after cleaning, it can further
lower the risk of spreading infection.
Fit Testing: A process in which all people who are required to wear negative-pressure respirators are
examined and interviewed to determine which mask best conforms to their facial features; a rigorous
protocol in which the tester challenges the face-to-facepiece seal with a chemical agent.
Hand Hygiene: Hand washing with soap and water or alcohol-based hand sanitizer
Metered Dose Inhaler (MDI): A device that sprays a pre-set amount of aerosolized medicine through
the mouth to the airways.
*N95 mask: A type of respirator, an N95 mask offers more protection than a surgical mask does be-
cause it can filter out both large and small particles when the wearer inhales. As the name indicates, the
mask is designed to block 95% of very small particles.
Nebulizer: An air compressor machine when used with a nebulizer cup, tubing, and mouthpiece or face
mask delivers aerosolized medicine to the airways in a fine, steady mist.
Peak Flow Meter: An asthma management device used to measure a person’s ability to push air out of
the lungs.
Personal Protective Equipment (PPE): Wearable equipment that is designed to protect from expo-
sure to or contact with infectious agents. PPE that is appropriate for various types of patient interactions
and effectively covers personal clothing and skin likely to be soiled with blood, saliva, or other poten-
tially infectious materials (OPIM) should be available. These include gloves, face masks, protective eye
wear, face shields, and protective clothing (e.g., reusable or disposable gown, jacket, laboratory coat).
Respiratory Hygiene: Cough etiquette infection prevention measures designed to limit the transmis-
sion of respiratory pathogens spread by droplet or airborne routes. Apply to anyone with signs of illness
including cough, congestion, runny nose, or increased production of respiratory secretions.
Spacer: A device that attaches to the mouthpiece of a quick-relief inhaler to create space between the
mouth and the MDI. The space created helps the medicine break into smaller droplets allowing the
asthma medication to move easier and deeper into the lungs of the student when he/she breathes in
the quick-relief or controller medicine formulated in an MDI.
Standard Precautions: A group of infection prevention practices that apply to all patients and resi-
dents, regardless of suspected or confirmed infection status, in any setting in which healthcare is deliv-
ered and include: hand hygiene; use of gloves, gown, mask, eye protection, or face shield, depending
on the anticipated exposure; respiratory hygiene/cough etiquette, safe injection practices, and use of
masks. Standard Precautions combine the major features of Universal Precautions and Body Sub-
stance Isolation and are based on the principle that all blood, body fluids, secretions, excretions except
sweat, non-intact skin, and mucous membranes may contain transmissible infectious agents.

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Surgical Mask: Also called a medical mask, a surgical mask is a loose-fitting disposable mask that
protects the wearer’s nose and mouth from contact with droplets, splashes and sprays that may con-
tain germs. A surgical mask also filters out large particles in the air.
Transmission Precautions: When Standard Precautions alone cannot prevent transmission, they
are supplemented with Transmission-Based Precautions. This second tier of infection prevention is
used when patients have diseases that can spread through contact, droplet or airborne routes (e.g.,
skin contact, sneezing, coughing) and are always used in addition to Standard Precautions.
Valved Holding Chamber: A type of spacer that has a one-way valve at the mouthpiece. A VHC also
traps and holds the medicine giving more time for the student to take a slow, deep breath reducing the
amount that settles in the mouth and throat.

*Some N95 masks, and even some cloth masks, have one-way valves that make them easier to
breathe through. But because the valve releases unfiltered air when the wearer breathes out, this type
of mask doesn’t prevent the wearer from spreading the virus.


Social Emotional Learning
Adverse Childhood Experiences (ACEs): Potentially traumatic events that occur in childhood (0-17
years).18
Multi-Tiered Systems of Support (MTSS): An evidence-based approach to comprehensive program
delivery that addresses academic and behavioral challenges including proactive activities for all stu-
dents (universal interventions), targeted activities for students identified at-risk (secondary interven-
tions) and intensive activities for students identified at high risk (tertiary interventions).
Pupil Personnel Services (PPS): Staff which includes school counselors, school social workers,
school psychologists, mental health counselors and school nurses.
Restorative Practices: Processes and approaches designed to build community and meaningful
relationships, develop shared values, help students better understand their behavior, how it impacts
themselves and others, and ultimately to use that self- and social awareness to repair damage caused
to relationships as a result of inappropriate behavior.
Social Emotional Learning (SEL): The Collaborative for Academic, Social, and Emotional Learning
(CASEL) defines SEL as, “the process through which children and adults understand and manage
emotions, set and achieve positive goals, feel and show empathy for others, establish and maintain
positive relationships, and make responsible decisions.”19
18     Centers for Disease Control, (2020) Preventing Adverse Childhood Experiences

19     Collaborative for Academic, Social, and Emotional Learning. (2020) What is SEL?


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Restorative Practices: Processes and approaches designed to build community and meaningful rela-
tionships, develop shared values, help students better understand their behavior, how it impacts them-
selves and others, and ultimately to use that self- and social awareness to repair damage caused to
relationships as a result of inappropriate behavior.
Trauma-Responsive Practices: Practices that help shift negative reactions to inappropriate student
behavior to thoughtful responses that consider the root causes of behavior and help to support individu-
al student needs to address those causes.


Special Education
Annual Review: An evaluation, conducted at least annually by the committee on preschool special
education (CPSE)/committee on special education (CSE), of the status of each student with a disability
and each student thought to have a disability who resides within the school district for the purpose of
recommending the continuation, modification or termination of the provision of special education pro-
grams and services for the student to the board of education.
Assistive Technology Devices: Any item, piece of equipment, or product system, whether acquired
commercially off the shelf, modified, or customized, that is used to increase, maintain, or improve the
functional capabilities of a student with a disability. Such term does not include a medical device that is
surgically implanted or the replacement of a surgically implanted device.

Assistive Technology Service: Any service that directly assists a student with a disability in the selec-
tion, acquisition, or use of an assistive technology device.

Child Find: A process which requires all school districts to identify, locate and evaluate all students with
disabilities, including students with disabilities who are homeless or wards of the State, regardless of
the severity of their disability and who are in need of special education and related services.
Committee on Preschool Education (CPSE)/Committee on Special Education (CSE): A multidis-
ciplinary team established in accordance with the provisions of Education Law that determines a stu-
dent’s special education needs and services. The CPSE is responsible for children with disabilities ages
3-5. The CSE is responsible for children with disabilities ages 5-21.
Compensatory Services: Services provided to students with disabilities to remedy the school district’s
failure to provide a student with a disability with “appropriate services” during the time the student was
entitled to FAPE and was denied appropriate services.
Free Appropriate Public Education (FAPE): Special education programs and related services that are
provided at public expense, under public supervision and direction, and without charge to the parent,
and are provided in conformity with an individualized education program.

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Individualized Education Program (IEP): A written statement for a student with a disability that is
developed, reviewed and revised by a CSE, Subcommittee on Special Education or CPSE to meet the
unique educational needs of a student with a disability.
Individuals with Disabilities Education Act (IDEA): The IDEA is a federal law that provides students
with disabilities the right to receive a free appropriate public education in the least restrictive environ-
ment from age 3 through the end of the school year in which the student turns 21 years or graduates
with a high school diploma.
Initial Evaluation: Any procedures, tests or assessments used selectively with an individual student,
including a physical examination, an individual psychological evaluation, except where a school psy-
chologist has determined that a psychological evaluation is unnecessary to evaluate a student of school
age, a social history and other appropriate assessments or evaluations as may be necessary to deter-
mine whether a student has a disability and the extent of his/her special education needs, but does not
include basic tests administered to, or procedures used with, all students in a school grade or class.
Least Restrictive Environment (LRE): Placement of students with disabilities in special classes, sepa-
rate schools or other removal from the regular educational environment occurs only when the nature or
severity of the disability is such that, even with the use of supplementary aids and services, education
cannot be satisfactorily achieved.
Reevaluation: The evaluation procedures that are conducted at least once every three years, except
where the school district and the parent agree in writing that such reevaluation is unnecessary to review
the student’s need for special education programs and services and to revise the IEP, as appropriate. A
reevaluation may also occur when conditions warrant or when requested by a parent or teacher.
Special class: A class consisting of students with disabilities who have been grouped together because
of similar individual needs for the purpose of being provided specially designed instruction.
Supplementary Aids and Services and/or Program Modifications: Aids, services and other supports
that are provided in general education classes or other education-related settings to enable students
with disabilities to be educated with nondisabled students to the maximum extent appropriate in the
least restrictive environment.

Telepractice: Although not specifically defined in Part 200 of the Regulations of the Commissioner of
Education, the NYSED Office of the Professions defines telepractice as the provision of professional
service over geographical distances by means of modern telecommunications technology. This meth-
odology engages audio and/or video technology to connect providers with students, parents or other
caregivers in ways that support the student’s learning and development.




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Teaching and Learning:
Academic Intervention Services: Additional instruction which supplements the instruction provided
in the general curriculum and assists students in meeting the State learning standards; services may
include guidance, counseling, attendance, and study skills which are needed to support improved
academic performance.
Device: A computing device, such as a laptop, desktop, Chromebook, iPad, or full-size tablet.
Phones and mini-tablets are not sufficient devices for learning purposes.
Equivalent : At least 180 minutes of instructional time for instruction delivered in a traditional face to
face model, or a comparable amount of time for instructional experiences, taken as a whole when the
student is engaged in standards-based learning under the guidance and direction of an appropriately
certified teacher, for instruction delivered in an online or blended model.   
Hybrid (blended) model: A combination of in person and remote learning.
In-person instruction: Instruction that takes place with students in attendance at the school building.
Remote learning: Instruction that takes place outside of the school building while the students are
not in attendance at the school.
Unit of Credit: The mastery of the learning outcomes set forth in a New York State-developed or
locally developed syllabus for a given high school subject, after a student has had the opportunity to
complete a unit of study in the given subject matter area.
Unit of Study: means at least 180 minutes of instruction per week throughout the school year, or the
equivalent. Equivalent shall mean at least 180 minutes of instructional time for instruction delivered
in a traditional face to face model or through alternative instructional experiences, including but not
limited to through digital technology or blended learning, that represents standards-based learning
under the guidance and direction of an appropriately certified teacher. Instructional experiences shall
include, but not be limited to: meaningful and frequent interaction with an appropriately certified teach-
er; academic and other supports designed to meet the needs of the individual student and instruc-
tional content that reflects consistent academic expectations as in-person instruction. Any alternative
instructional experience must include meaningful feedback on student assignments and methods of
tracking student engagement.
All the Time access is a reference to the National Educational Technology Plan, which states the
expectation that technology-enabled learning should be available for all students, everywhere, all the
time (NETP 2017).
Sufficient access to the internet means that the student or teacher does not regularly experience is-
sues (slowdowns, buffering, disconnections, unreliable connection, etc.) while participating in required
or assigned instruction and learning activities.

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 The Board of Regents and the State Education Department would like to extend our
sincerest gratitude to all of the participants of the Regional Task Force meetings and
 the Youth Forum for their valuable contributions that informed this guidance. The
Department will release a separate document that will include participant comments
                            that helped guide the work.
